Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 1 of 148




                         EXHIBIT A
   Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 2 of 148

                                                                                                        35270990




                          UNITED STATES DISTRICT COURT                                              Jan 7 2011
                          EASTERN DISTRICT OF LOUISIANA                                               8:27PM




IN RE: OIL SPILL by the                                MDL NO. 2179
OIL RIG “DEEPWATER
HORIZON” in the GULF OF                                SECTION: J
MEXICO, on
APRIL 20, 2010                                         JUDGE BARBIER



THIS DOCUMENT RELATES TO ALL CASES

        DEFENDANT ANADARKO PETROLEUM CORPORATION’S
 INTERROGATORIESAND REQUESTS FOR PRODUCTION OF DOCUMENTS
    TO BP AMERICA INC., BP AMERICA PRODUCTION COMPANY, BP
EXPLORATION AND PRODUCTION INC., B.P. P.L.C. (COLLECTIVELY, “BP”)


          Pursuant to Rules 26, 33 and 34 of the Federal Rules of Civil Procedure, Defendant

ANADARKO PETROLEUM CORPORATION (“ANADARKO”) through undersigned

Counsel, requests that Defendant BP answer the following interrogatories under oath and

produce the documents specified hereinafter, in accordance with the following Instructions and

Definitions, within thirty (30) days hereof, at the offices of Bingham McCutchen LLP, 355

South Grand Avenue, Suite 4400, Los Angeles, California 90071-3106, or at such other time

and place as may be agreed upon by counsel for the aforesaid parties.

                                       INSTRUCTIONS

          (a)   Pursuant to Rule 26(e) of the Federal Rules of Civil Procedure, these

interrogatories and requests for production are continuing in nature so that if, after answering,

YOU acquire additional responsive knowledge or information or determine that an answer

YOU provided was false, incomplete, or misleading, YOU are to serve supplemental or

amended answers as soon as reasonably possible after acquiring such additional knowledge or



A/73578677.7
   Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 3 of 148




information.        Furthermore,      DOCUMENTS       or    ELECTRONICALLY          STORED

INFORMATION (“ESI”) prepared prior to or subsequent to the period covered by these

interrogatories, but which nonetheless RELATE or REFER thereto, are to be included in

YOUR response.

          (b)   As defined below, YOU are to produce all DOCUMENTS in YOUR

possession, custody or CONTROL.              Production of DOCUMENTS shall be in

conformance with all procedures and formats set forth by the Court.

          (c)   All ESI responses to these discovery requests shall be produced in accordance

with Pretrial Order No. 16.

          (d)   All produced DOCUMENTS shall have a legible, unique page identifier (“Bates

Number”) electronically “burned” onto each image at a location that does not obliterate,

conceal, or interfere with any information from the source DOCUMENT. No other legend or

stamp will be placed on the DOCUMENT image other than a confidentiality legend (where

applicable) redactions (consistent with the Stipulated Protective Order in this matter, or any

other protective orders agreed to in the future), and the Bates Number identified above. The

confidential legend shall be “burned” onto the DOCUMENT’S image at a location that does

not obliterate or obscure any information from the source DOCUMENT. WITH RESPECT

TO the identification of files produced in their native format, the parties shall confer on an

appropriate method for applying a unique identifier to each file produced.

          (e)   Each page image file shall be named with the unique Bates Number of the page

of DOCUMENT, followed by the extension “.TIF.” In the event the Bates Number contains a

symbol and/or character that cannot be included in a file name, the symbol and/or character

will be omitted from the file name.

          (f)   If YOU refuse to respond to any of these interrogatories or requests for

                                                2
A/73578677.7
   Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 4 of 148




production based on a claim of privilege, YOU shall provide a “Privilege Log” that complies

with the provisions of Pretrial Order No. 14.

          (g)   If YOU or any of YOUR attorneys, agents, or representatives at any time had

possession or CONTROL of a DOCUMENT requested and that DOCUMENT has been lost,

destroyed, or purged or is not presently in YOUR possession, custody, or CONTROL,

IDENTIFY the DOCUMENT and DESCRIBE the circumstances surrounding the loss,

destruction, purge, or separation from YOUR possession, custody, or CONTROL, indicating

the dates that those circumstances occurred.

          (h)   If YOU allege that any request is in any manner ambiguous, YOU are instructed

to DESCRIBE in detail the reasons for YOUR allegations, including but not limited to, each

interpretation to which YOU allege the specific request for discovery is subject.

Notwithstanding any of the foregoing, YOU are instructed to respond, to the best of YOUR

ability, to the request for production and produce the DOCUMENTS requested.

                                            DEFINITIONS

As used herein, the following terms are defined as follows:

          (i)   “DEEPWATER HORIZON” means, without limitation, the mobile offshore

drilling unit (MODU) of that name involved in the drilling of the MACONDO WELL, or any

component thereof, as well as any vessel, vehicle, aircraft, or other equipment used in

connection with the process of drilling, developing, exploring for and/or producing oil and gas

resources.

          (j)   “MACONDO WELL” means, without limitation, the Macondo Prospect

(Mississippi Canyon Block 252, abbreviated MC252) an oil and gas prospect in the Gulf of

Mexico, off the coast of Louisiana. The prospect was the site of the DEEPWATER HORIZON

drilling rig explosion in April 20, 2010.

                                                3
A/73578677.7
   Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 5 of 148




          (k)   “DEEPWATER WELL” means, without limitation, a well drilled in excess of

5000’ water depth.

          (l)   “INCIDENT” means, without limitation, the loss of control of the MACONDO

WELL leading to the explosion that occurred on the DEEPWATER HORIZON on or around

April 20, 2010.

          (m)   “BOP” or “BLOWOUT PREVENTER” means, without limitation, the large

valve device(s) designed and used to ensure safety through the sealing, controlling, and

monitoring of oil and gas wells including the associated, monitoring, warning, electronic, and

hydraulic systems.

          (n)   “DEEPWATER HORIZON BLOWOUT PREVENTER” means, without

limitation, the large valve device(s) specifically created by CAMERON to ensure safety

through the sealing, controlling, and monitoring of the MACONDO WELL including the

associated, monitoring, warning, electronic, and hydraulic systems for the DEEPWATER

HORIZON rig.

          (o)   “YOU,” “YOUR,” or “BP,” means, without limitation, BP EXPLORATION

AND PRODUCTION, INC., BP AMERICA, INC., BP AMERICA PRODUCTION

COMPANY, and BP, P.L.C., including its predecessors, successors, subsidiaries, departments,

divisions, attorneys, accountants, and current and former directors, officers, EMPLOYEES,

agents, representatives and PERSONS acting on its behalf.

          (p)   “CAMERON” means, without limitation, CAMERON INTERNATIONAL,

CAMERON           INTERNATIONAL        CORPORATION,          and    COOPER       CAMERON

CORPORATION, including its predecessors, successors, subsidiaries, departments, divisions,

attorneys, accountants, and current and former directors, officers, EMPLOYEES, agents,

representatives and PERSONS acting on its behalf.

                                               4
A/73578677.7
   Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 6 of 148




          (q)   “WEATHERFORD”           means,       without   limitation,   WEATHERFORD

INTERNATIONAL, LTD., WEATHERFORD U.S., L.P. and any entity names and any

variations thereof of those entities including its predecessors, successors, subsidiaries,

departments, divisions, attorneys, accountants, and current and former directors, officers,

EMPLOYEES, agents, representatives and PERSONS acting on its behalf.

          (r)   “TRANSOCEAN” means, without limitation, TRITON ASSET LEASING

GMBH, TRANSOCEAN HOLDINGS LLC, TRANSOCEAN OFFSHORE DEEPWATER

DRILLING INC., and TRANSOCEAN DEEPWATER INC., as owners, managing owners,

owners pro-hac vice, and/or operators of the MODU DEEPWATER HORIZON, including its

predecessors, successors, subsidiaries, departments, divisions, attorneys, accountants, and

current and former directors, officers, EMPLOYEES, agents, representatives and PERSONS

acting on its behalf.

          (s)   “PERSON” means, without limitation, any and every natural individual, each

and every association, partnership, joint venture, corporation, professional corporation, trust

and any and every other identifiable entity.

          (t)   “EMPLOYEE” means, without limitation, any current or former officer,

director, executive, manager, secretary, staff member, messenger or other PERSON who is or

was employed or subcontracted by YOU or has acted on YOUR behalf.

          (u)   “GOVERNMENT” means, without limitation, any branch, department, or

agency of federal or state GOVERNMENT, including the United States Coast Guard, Minerals

Management Service, Bureau of Ocean Energy Management, Office of Natural Resources

Revenue, Environmental Protection Agency, Senate Committee on Energy and Natural

Resources and House Committees on Energy and Commerce, Chemical Safety Board, the

Department of the Interior, National Oceanic and Atmospheric Administration, Department of

                                                 5
A/73578677.7
   Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 7 of 148




Energy, and Joint Investigation Team, including any committee, subcommittee, or advisory

committee thereof, together with all current or former officials, directors, staff members or

other PERSONS employed by the GOVERNMENT, or purporting to act on its behalf.

          (v)   “COMMUNICATION” means, without limitation, any writing transmitted

between PERSONS or any oral conversation of any kind or character, including, by way of

example and without limitation, personal conversations, telephone conversations, letters,

MEETINGS,         memoranda,        telegraphic,        telex,   COMPUTER          and    facsimile

COMMUNICATIONS or transmittals of DOCUMENTS, ESI (as defined in section (y)) and

all      DOCUMENTS        CONCERNING               such     writings   or   oral     conversations.

“COMMUNICATION” as used herein specifically includes internal writings, oral

conversations or MEETINGS among the officers, board members, EMPLOYEES or other

representatives of any defendant.

          (w)   “MEETING” means, without limitation, any assembly, convocation, encounter

or contemporaneous presence of two or more PERSONS for any purpose, whether planned or

scheduled in advance, including written exchanges through internet/web based chat, including

AOL Instant Messenger, or similar programs, electronic “bulletin board” programs, or

internet/web based video chat, including Skype, or similar programs.

          (x)   “DOCUMENT” means, without limitation, the original and all non-identical

copies of all writings, including any and all drafts, alterations and modifications, changes and

amendments of any of the foregoing whether handwritten, typed, printed or otherwise

produced in any format including, but not limited to, paper or ESI. This definition also

includes, without limitation, books, records, manuals, statements, minutes, letters,

correspondence, memoranda, legal pleadings, calendars, diaries, travel records, lists, tax

returns, schedules, press releases, directives, agreements, contracts, print-outs, studies,

                                                    6
A/73578677.7
   Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 8 of 148




summaries, records of telephone conversations, telegrams, notes, reports, compilations,

notebooks, work papers, graphs, graphics, transcripts, charts, blueprints, timelines, pamphlets,

brochures, circulars, manuals, instructions, ledgers, drawings, sketches, photographs,

videotapes, film and sound reproductions, COMPUTER discs (including but not limited to,

CDs, CD-Rs, DVDs, DVD-Rest, floppy discs, hard discs and hard drives), flash drives, pen

drives, thumb drives, programming instructions, sales, advertising and promotional literature,

agreements or minutes of MEETINGS, telephone conversations or other conversation or

COMMUNICATION in YOUR possession, custody or CONTROL, or in the possession,

custody or CONTROL of YOUR predecessors, successors, officers, directors, shareholders,

EMPLOYEES, agents, representatives and attorneys. This definition also includes non-printed

matter such as voice records and reproductions, film impressions, photographs, videos,

negatives, slides, microfilms, microfiches, e-mail, and other things that DOCUMENT or record

ideas, words or impressions. The term “DOCUMENT” further includes all punch cards, tapes,

disks, or records used in electronic data processing, together with the programming instructions

and other written materials necessary to understand or use such punch cards, tapes, disks or

other recordings, and further includes ESI (as defined in section (y)) data or data compilation

in electronic or other form that can be printed through proper programming or decoding of the

electronic or mechanical data storage facility, including metadata.

          (y)   “ELECTRONICALLY STORED INFORMATION” or “ESI” means the

original (or identical duplicate when the original is not available), and any non-identical copies

whether non-identical because of notes made on copies or attached comments, annotations,

marks, transmission notations, or highlighting of any kind) of writings and data compilations in

any form, and of every kind and description whether inscribed by mechanical, facsimile,

electronic, magnetic, digital or other means. ESI includes, by way of example only,

                                                 7
A/73578677.7
   Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 9 of 148




COMPUTER programs (whether private, commercial, or work-in progress), programming

notes or instructions, activity listings of electronic mail receipts and transmittals, output

resulting from the use of any software program, including word processing DOCUMENTS,

spreadsheets, database files, charts, graphs and outlines, electronic mail displaying full email

aliases (not merely “display names”), electronic calendars, IM logs, PBX logs, DOCUMENT

management system data, operating systems, all metadata, source code of all types, peripheral

drivers, PIF files, batch files, ASCII files, and any and all miscellaneous files and file

fragments, regardless of the media on which they reside and regardless of whether said ESI

consists in an active file, deleted file or fragment. ESI includes any and all items stored on

COMPUTER memories, hard disks, floppy disks, CD-ROMs, removable media such as Zip

disks, Jaz cartridges, Bernoulli Boxes and their equivalent, magnetic tapes of all types,

microfiche, punched cards, punched tape, COMPUTER chips, including, EPROM, PROM

RAM and ROM, on or in any other vehicle for digital data storage and transmittal. The term

ESI also includes the file, folder tabs and containers and labels appended to, or associated with,

any physical storage device associated with each original and copy.

          (z)    “COMPUTER” means, without limitation, all devices utilizing microchips to

facilitate processing, analysis, or storage of data, including micro COMPUTERS (also known

as personal COMPUTERS), laptop COMPUTERS, portable COMPUTERS, notebook

COMPUTERS, palmtop COMPUTERS (also known as personal digital assistants or PDA’s),

iPads, mini COMPUTERS and mainframe COMPUTERS.

          (aa)   “CONTROL” means, without limitation, the ownership, possession, or custody

of the DOCUMENT, or the right to secure the DOCUMENT or copy thereof from any

PERSON or public and private entity having physical possession thereof.

          (bb)   “RELATING TO,” “RELATED TO,” “REGARDING,” “CONCERNING,” or

                                                 8
A/73578677.7
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 10 of 148




“WITH RESPECT TO” means, without limitation, the following concepts: discussing,

describing, reflecting, dealing with, pertaining to, analyzing, evaluating, estimating,

constituting, studying, surveying, projecting, assessing, recording, summarizing, criticizing,

reporting, commenting or otherwise involving, in whole or in part.

          (cc)   “IDENTIFY” and “IDENTITY” when used in reference to a PERSON means to

STATE the PERSON’S:

                 (1)   Full name;

                 (2)   Present or last known employment position, including the employer

                       name;

                 (3)   Job title and/or description; and

                 (4)   Contact information.

          (dd)   “IDENTIFY” and “IDENTITY” when used in reference to a DOCUMENT or

ESI means to STATE:

                 (1)   The type of DOCUMENT or ESI;

                 (2)   Its date;

                 (3)   Its author(s) and author(s) address(es), including every author involved,

                       whether or not such PERSON signed the DOCUMENT;

                 (4)   Its subject matter or response;

                 (5)   Its present location or custodian;

                 (6)   Every PERSON to whom such DOCUMENT or ESI, or any copy

                       thereof, was given or sent;

                 (7)   Every PERSON known to YOU to have received the DOCUMENT or

                       information, or to have learned the substance of its contents; and

                 (8)   If any such DOCUMENT or ESI was, but is no longer, in YOUR

                                                 9
A/73578677.7
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 11 of 148




                        possession or subject to YOUR CONTROL, STATE what disposition

                        was made of it.

          (ee)   “IDENTIFY” and “IDENTITY” when used WITH RESPECT TO a

COMMUNICATION other than a writing means to STATE:

                 (1)    The full name of any PERSON who was a party to the

                        COMMUNICATION;

                 (2)    The type of COMMUNICATION, e.g., telephone conversation, letter,

                        telegram,   teletype,   telecopy,   written   memorandum,    face-to-face

                        conversation, or any other form; and The full name of any PERSONS

                        participating therein, along with the date, duration, location(s) and the

                        substance of the COMMUNICATION.

          (ff)   “DESCRIBE” means, in the case of an act, event, transaction, relationship,

thing or occurrence, to IDENTIFY dates, places, PERSONS involved, and means employed;

IDENTIFY YOUR sources of information CONCERNING such act, event, transaction, thing

or occurrence, including the date YOU received such information; IDENTIFY each PERSON

having knowledge of such act, event, transaction, thing or occurrence; and IDENTIFY each

COMMUNICATION and each DOCUMENT RELATING TO such act, event, transaction,

thing or occurrence.

          (gg)   “STATE” means, without limitation, to set forth in full and complete detail all

knowledge and information in YOUR possession, custody or CONTROL RELATING TO the

subject matter of the interrogatory, including without limitation the source and basis of YOUR

knowledge and information if not otherwise evident from YOUR answer to the interrogatory

and the IDENTITY of each DOCUMENT and each COMMUNICATION on which YOU rely

to any extent in making YOUR answer.

                                                  10
A/73578677.7
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 12 of 148




          (hh)   When an interrogatory calls for YOUR or any other PERSON’S “basis” or

“bases,” or “sources,” “sources of knowledge,” “sources of information,” or “source(s) of

information or belief,” YOU are to STATE when, where, and the IDENTITY of the PERSON

from whom the information was learned or received, and if by means of one or more

DOCUMENTS or COMMUNICATIONS, the IDENTITY of each such DOCUMENT and

COMMUNICATION.

          (ii)   “And” as well as “or” should be construed either disjunctively or conjunctively

so that each request is given its broadest possible application. If, for example, a request calls

for information about “A” or “B,” YOU should produce all information about A and all

information about B, as well as all information about collectively A and B. In other words,

both “and” and “or” should be read as “and/or.”

          (jj)   “Any” should be construed, when possible, to mean “any and all.”

          (kk)   “Including” is used to emphasize the type of information requested and should

not be construed as limiting the interrogatory or requests for production in any way.

“Including” should be read as “including, but not limited to.”

          (ll)   “Each” should be construed to include the word “every,” and “every” should be

construed to include the word “each.”

          (mm)   A plural noun or pronoun should be construed as a singular noun, and a

singular noun should be construed as a plural noun or pronoun, so that each request should be

given its broadest possible application.

          (nn)   The use of a verb in any tense should be construed to be the use of a verb in all

other tenses so that each request should be given its broadest possible applications.

          (oo)   Words of one gender shall be construed to include words of all genders so that

each request in the request for production of DOCUMENTS shall be given its broadest

                                                 11
A/73578677.7
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 13 of 148




possible application.

          (pp)   Definitions provided herein apply to any grammatical variance of the term or

phrase defined.

                                    INTERROGATORIES

INTERROGATORY NO. 1:

          Please IDENTIFY each PERSON to whom YOUR EMPLOYEES communicated or

sent COMMUNICATIONS or from whom they received COMMUNICATIONS, on or before

April 20, 2010, that any of the alarm systems on the DEEPWATER HORIZON were inhibited

or bypassed, IDENTIFY all other PERSONS involved in the COMMUNICATION and

DESCRIBE in detail the substance of each such COMMUNICATION and any response to or

result from such COMMUNICATION.

INTERROGATORY NO. 2:

          Please IDENTIFY each PERSON with whom YOUR EMPLOYEES communicated, on

or before April 20, 2010, REGARDING the functionality of each system on the DEEPWATER

HORIZON’S BOP and marine riser, including but not limited to the battery packs, solenoid

valves and coils, yellow and blue control pods, shear rams, bore rams, test rams, choke/kill

lines and valves, and annular preventers; IDENTIFY all other PERSONS involved in those

COMMUNICATIONS; and DESCRIBE in detail the substance of each COMMUNICATION.

INTERROGATORY NO. 3:

          Excluding the MACONDO WELL, please IDENTIFY and DESCRIBE in detail

(including, but not limited to, the name and location of the well, the date, and the IDENTITY

of YOUR well site leader and well team leader for each well identified) any and all instances in

YOUR drilling of DEEPWATER WELLS in the last 10 years in which YOU directed YOUR

cement contractor to proceed with a cement job when Opticem or similar modeling showed the

                                               12
A/73578677.7
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 14 of 148




well would have a severe gas flow problem.

INTERROGATORY NO. 4:

          Excluding the MACONDO WELL, please IDENTIFY and DESCRIBE in detail each

instance in the last 10 years in which an Opticem or similar modeling report indicated that,

with the number of centralizers YOU chose to use (and actually did use) in a well, there was a

severe gas flow problem, including but not limited to, the name and location of the well, the

date, the names of YOUR well site leader and well team leader for each well identified, the

number of centralizers used and the gas flow potential indicated by modeling.

INTERROGATORY NO. 5:

          Excluding the MACONDO WELL, please IDENTIFY and DESCRIBE in detail

(including the name and location of the well, the date, and the IDENTITY of YOUR well site

leader and well team leader for each well identified) any and all instances in YOUR drilling of

DEEPWATER WELLS or use of MODUs in the last 10 years in which YOU had no onshore

real-time monitoring process to assess what was happening in the well on a continuing basis.

INTERROGATORY NO. 6:

          Excluding the MACONDO WELL, please IDENTIFY and DESCRIBE in detail

(including the name and location of the well, the date, and the IDENTITY of YOUR well site

leader and well team leader) any and all instances in YOUR drilling of DEEPWATER WELLS

or use of MODUs in the last 10 years in which YOU changed YOUR well site leader within

one week of the commencement of temporary abandonment procedures.

INTERROGATORY NO. 7:

          Excluding the MACONDO WELL, please IDENTIFY and DESCRIBE in detail

(including the name and location of the well, the date, and the IDENTITY of YOUR well site

leader and well team leader) any and all instances in YOUR drilling of DEEPWATER WELLS

                                               13
A/73578677.7
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 15 of 148




or use of MODUs in the last 10 years in which YOU failed to keep track of fluid losses or

gains in the well and the riser (including via monitoring of pit levels or of fluids being pumped

into the well and flowing out of the well).

INTERROGATORY NO. 8:

          Excluding the MACONDO WELL, please IDENTIFY and DESCRIBE in detail

(including the name and location of the well, the date, and the IDENTITY of YOUR well site

leader and well team leader) any and all instances in YOUR drilling of DEEPWATER WELLS

or use of MODUs in the last 10 years in which YOU chose to use a long string in lieu of a liner

in a deep high-pressure well being installed in formations exhibiting different pore pressures in

the open-hole interval.

INTERROGATORY NO. 9:

          Excluding the MACONDO WELL, please IDENTIFY and DESCRIBE in detail

(including the name and location of the well, the date, and the IDENTITY of YOUR well site

leader and well team leader) any and all instances in YOUR drilling of DEEPWATER WELLS

or use of MODUs in the last 10 years in which YOU did not conduct a full bottoms-up

circulation of drilling mud prior to cementing.

INTERROGATORY NO. 10:

          Excluding the MACONDO WELL, please IDENTIFY and DESCRIBE in detail

(including the name and location of the well, the date, and the IDENTITY of YOUR well site

leader and well team leader) any and all instances in YOUR drilling of DEEPWATER WELLS

or use of MODUs in the last 10 years in which YOU used a pressure greater than 2000 psi to

establish sufficient circulation to convert the float collar in preparation for cementing.

INTERROGATORY NO. 11:

          Excluding the MACONDO WELL, please IDENTIFY and DESCRIBE in detail

                                                  14
A/73578677.7
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 16 of 148




(including the name and location of the well, the date, and the IDENTITY of YOUR well site

leader and well team leader) any and all instances in YOUR drilling of DEEPWATER WELLS

or use of MODUs in the last 10 years in which YOU had to attempt more than five (5) times to

convert the float collar before it was declared converted prior to cementing.

INTERROGATORY NO. 12:

          Excluding the MACONDO WELL, please IDENTIFY and DESCRIBE in detail any

and all instances in YOUR drilling of DEEPWATER WELLS or use of MODUs in the last 10

years in which YOU used nitrogen foamed cement, including the name and location of the

well, the date, the IDENTITY of YOUR well site leader and well team leader for each well

identified, and the length of time YOU permitted the cement to set prior to a negative pressure

test.

INTERROGATORY NO. 13:

          Excluding the MACONDO WELL, please IDENTIFY and DESCRIBE in detail

(including the name and location of the well, the date, and the IDENTITY of YOUR well site

leader and well team leader for each well identified) any and all instances of drilling of

DEEPWATER WELLS or use of MODUs in the last 10 years in which YOU performed a

temporary abandonment procedure that differed from the one YOU actually submitted to, and

that was approved by, the US Minerals Management Service (MMS) or Bureau of Ocean

Energy Management (BOEM).

INTERROGATORY NO. 14:

          Please IDENTIFY and DESCRIBE in detail every instance in which a temporary

abandonment procedure substantially like that performed on the MACONDO WELL

(including displacement to more than 2000’ below mud level before negative testing) on or

about April 19-20, 2010 was performed by YOU on any other DEEPWATER WELL,

                                                15
A/73578677.7
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 17 of 148




including in YOUR response the name and location of the well, the date(s) the temporary

abandonment procedure was performed on such well, and the names of the well site leader and

well team leader for each such well identified.

INTERROGATORY NO. 15:

          Please STATE whether, in YOUR view, the blind shear ram of the DEEPWATER

HORIZON BLOWOUT PREVENTER failed to operate properly during the INCIDENT and

DESCRIBE in detail the basis of YOUR answer.

INTERROGATORY NO. 16:

          Please STATE the density of the base oil spacer fluid used during the MACONDO

WELL cement job performed on April 19 - 20, 2010; whether it was the correct density to

prevent inversion, and whether contamination occurred, and DESCRIBE in detail the basis of

YOUR answer.

INTERROGATORY NO. 17:

          Please DESCRIBE in detail why YOUR EMPLOYEES decided not to spot heavy mud

(16.5 ppg or higher) in the rat hole prior to the MACONDO WELL cement job performed on

April 19-20, 2010, the data upon which they based that decision, and any other basis for their

decision, and IDENTIFY each PERSON who made or was involved in that decision.

INTERROGATORY NO. 18:

          Excluding the MACONDO WELL, please IDENTIFY and DESCRIBE in detail

(including the name and location of the well, the date, and the IDENTITY of YOUR well site

leader and well team leader for each well identified) any and all instances in YOUR drilling of

DEEPWATER WELLS or use of MODUs in the last 10 years in which YOU have not spotted

heavy mud (16.5 ppg or higher) in the rat hole prior to performing a cement job on a final

casing string.

                                                  16
A/73578677.7
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 18 of 148




INTERROGATORY NO. 19:

          Please STATE whether the float collar was converted prior to the start of the

MACONDO WELL cement job that was performed on April 19 - 20, 2010 and DESCRIBE in

detail the reasons and basis for whatever action was taken or not taken in this respect.

INTERROGATORY NO. 20:

          Please STATE whether, following the ninth attempt to convert the float collar, the

circulating pressure of the MACONDO WELL was lower than expected, including in YOUR

response the expected range of circulating pressure after conversion of the float collar and the

actual circulating pressure that was obtained.

INTERROGATORY NO. 21:

          Please STATE whether the annular preventer did or did not seal around the drill pipe,

and whether the annular preventer allowed spacer to leak down below the annular preventer

during the first negative pressure test of April 20, 2010, and DESCRIBE in detail the basis of

YOUR answer.

INTERROGATORY NO. 22:

          IDENTIFY which of YOUR EMPLOYEES communicated or transmitted your audit

report to TRANSOCEAN, on what date, and DESCRIBE in detail what TRANSOCEAN did in

response to that report, including what maintenance it performed, and any follow up YOU

requested.

INTERROGATORY NO. 23:

          Please DESCRIBE all systems, procedures, or protocols in place so that BP would be

notified or otherwise made aware of any maintenance on, modifications to, or malfunctions

with any part of the DEEPWATER HORIZON or the BOP.



                                                 17
A/73578677.7
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 19 of 148




INTERROGATORY NO. 24:

          Please DESCRIBE all information and instructions provided to Mr. Kaluza regarding

the role, purpose of, scope, and nature of his assignment on the DEEPWATER HORIZON, who

provided such information or instructions, and when such information or instructions were pro-

vided.

INTERROGATORY NO. 25

          Please IDENTIFY any internal reorganizations that occurred within BP in 2009 or 2010

that involved personnel responsible for any activities RELATING TO the MACONDO WELL

or the DEEPWATER HORIZON. For each reorganization, please IDENTIFY the reason for the

reorganization and whose positions, titles, or job responsibilities were changed and how they

were changed, including any changes in the supervisor or person to whom the individual

reported.

                     REQUEST FOR PRODUCTION OF DOCUMENTS

REQUEST FOR PRODUCTION NO. 1:

          With regard to activities involving the DEEPWATER HORIZON and the MACONDO

WELL, please produce all DOCUMENTS and COMMUNICATIONS REGARDING,

referencing or RELATING TO all participation, contribution, comment, input, planning,

evaluation and roles YOU played in the design and utilization of approximately 400 barrels of

lost circulation material spacer fluid “pills” as spacer during the MACONDO WELL activities

of April 19 - 20, 2010.

REQUEST FOR PRODUCTION NO. 2:

          Please produce any DOCUMENTS RELATING TO the DEEPWATER HORIZON or

the MACONDO WELL which were considered by YOU for transmission to but were not in

fact sent to the MMS or another GOVERNMENT agency between September 2009 and April

                                                18
A/73578677.7
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 20 of 148




20, 2010.

REQUEST FOR PRODUCTION NO. 3:

          Please produce any test conducted on the casing for the MACONDO WELL that was

not sent to the MMS or another GOVERNMENT agency.

REQUEST FOR PRODUCTION NO. 4:

          Please produce Mr. Robert Kaluza’s telephone records for April 20 and 21, 2010.

REQUEST FOR PRODUCTION NO. 5:

          Please produce Mr. Donald Vidrine’s telephone records for April 20 and 21, 2010.

REQUEST FOR PRODUCTION NO. 6:

          Please produce records of all telephone calls YOU received from anyone on board the

DEEPWATER HORIZON on April 20, 2010.

REQUEST FOR PRODUCTION NO. 7:

          Please produce all DOCUMENTS YOU prepared following the MACONDO WELL

control event of March 8, 2010 to acknowledge or address the response time recorded during

that event.

REQUEST FOR PRODUCTION NO. 8:

          Please produce all DOCUMENTS reviewed by YOU in connection with preparation of

YOUR responses to each of the Interrogatories set forth above.

REQUEST FOR PRODUCTION NO. 9:

          Please produce any and all diagrams or depictions of the well and/or drilling process of

the well that YOU used during the Marine Board of Investigation hearings.

REQUEST FOR PRODUCTION NO. 10:

          Please produce a diagram of the mud pit layout on the DEEPWATER HORIZON,

indicating the location of the active and reserve pits.

                                                 19
A/73578677.7
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 21 of 148




REQUEST FOR PRODUCTION NO. 11:

          Please produce YOUR policies and procedures REGARDING use of the diverter

system on the DEEPWATER HORIZON and on YOUR other owned, contracted, or leased

deepwater drilling rigs.

REQUEST FOR PRODUCTION NO. 12:

          Please produce YOUR policies and procedures for the use of the annular preventer

during well control events on the DEEPWATER HORIZON and on YOUR other owned,

contracted, or leased deepwater drilling rigs.

REQUEST FOR PRODUCTION NO. 13:

          Please produce a copy of the flow diagram of the DEEPWATER HORIZON surface

mud system.

REQUEST FOR PRODUCTION NO. 14:

          Please produce all post-INCIDENT pictures, video recordings, X-rays, audio

recordings, samples, measurements and/or testing results of or for the DEEPWATER

HORIZON rig or any of its equipment or components, including but not limited to the riser,

drill pipe and BOP used in connection with the MACONDO WELL.

REQUEST FOR PRODUCTION NO. 15:

          Please produce all post-INCIDENT pictures, video recordings, X-Rays, audio

recordings, samples, measurements and/or testing results of or for the MACONDO WELL or

any equipment or component used in connection with the MACONDO WELL, including but

not limited to the casing and casing hanger seal assembly.

REQUEST FOR PRODUCTION NO. 16:

          Please produce all raw data, in native format, that was input to produce the final, and

any earlier iteration, of the OLGA gas flow model discussed in BP’s September 8, 2010

                                                 20
A/73578677.7
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 22 of 148




Accident Investigation Report.

REQUEST FOR PRODUCTION NO. 17:

          Please produce all drafts or other iterations of the OLGA gas flow model produced in

connection with the investigation that culminated in BP’s September 8, 2010 Accident

Investigation Report.

REQUEST FOR PRODUCTION NO. 18:

          Please produce all DOCUMENTS, data, notes, tests, modeling studies or other

information, including but not limited to drafts of same, reviewed in connection with the

investigation conducted by BP that culminated in the September 8, 2010 Accident

Investigation Report.

REQUEST FOR PRODUCTION NO. 19:

          Please   produce    all   tests,   data,     models,   measurements,   results,   logs,

COMMUNICATIONS, DOCUMENTS, or work, RELATED TO or done for YOU by CSI

since April 20, 2010, REGARDING the MACONDO WELL, including but not limited to tests

at actual measured bottom hole temperatures, tests on slurry strength, and numerical models to

estimate a bottom hole circulating temperature.

REQUEST FOR PRODUCTION NO. 20:

          Please   produce    all   tests,   data,     models,   measurements,   results,   logs,

COMMUNICATIONS, DOCUMENTS, or work, RELATED TO or done for YOU since April

20, 2010, REGARDING the MACONDO WELL, including but not limited to “Well Cat”

numerical model estimations or runs of bottom hole circulating temperature.

REQUEST FOR PRODUCTION NO. 21:

          Please produce all DOCUMENTS RELATING TO the potential use of the

DEEPWATER HORIZON in connection with activities on the Nile or Kaskida wells.

                                                  21
A/73578677.7
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 23 of 148




REQUEST FOR PRODUCTION NO. 22:

          Please produce all COMMUNICATIONS CONCERNING the Kaskida or Nile wells

during April 2010.

REQUEST FOR PRODUCTION NO. 23:

          Please produce all DOCUMENTS RELATING TO the type, shipment, delivery and/or

return of the centralizers ordered from WEATHERFORD for the MACONDO WELL in April

2010, and to YOUR decision REGARDING return of these centralizers or their use on rigs

other than DEEPWATER HORIZON.

REQUEST FOR PRODUCTION NO. 24:

          Please produce all DOCUMENTS RELATING TO the use or potential use of Form-a-

Set, Form-a-Squeeze, or any combination of the two, as a spacer in any well, including

DOCUMENTS discussing any benefits or risks associated with such use.

REQUEST FOR PRODUCTION NO. 25:

          Please produce all DOCUMENTS RELATING TO the required method of disposal of

unused Form-a-Set or Form-A-Squeeze material.

REQUEST FOR PRODUCTION NO. 26:

          Please produce all DOCUMENTS, COMMUNICATIONS or directions REGARDING

the use of the mud-gas separator on any rig operated by YOU in the event of gas flow from a

well.

REQUEST FOR PRODUCTION NO. 27:

          Please produce all DOCUMENTS or COMMUNICATIONS RELATING TO the

potential for cement contamination in the MACONDO WELL.




                                             22
A/73578677.7
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 24 of 148




REQUEST FOR PRODUCTION NO. 28:

          Please produce all DOCUMENTS RELATING TO THE COMMUNICATIONS

referenced in Interrogatory Nos. 1 and 2.

Dated: January 7, 2011

                                                 Respectfully submitted,

                                                 ________/s/ Ky E. Kirby__________

                                                 Ky E. Kirby
                                                 Ky.Kirby@bingham.com
                                                 Warren Anthony Fitch
                                                 Tony.Fitch@bingham.com
                                                 Michael B. Wigmore
                                                 Michael.Wigmore@bingham.com
                                                 BINGHAM MCCUTCHEN LLP
                                                 2020 K Street, NW
                                                 Washington, DC 20006-1806
                                                 Telephone (202) 373-6000
                                                 Facsimile (202) 373-6001

                                                 James J. Dragna
                                                 Jim.Dragna@bingham.com
                                                 BINGHAM MCCUTCHEN LLP
                                                 355 South Grand Avenue
                                                 Suite 4400
                                                 Los Angeles, California 90071-3106
                                                 Telephone (213) 680-6436
                                                 Facsimile (213) 680-8636

                                                 Deborah D. Kuchler, T.A. (La. Bar No.
                                                 17013)
                                                 Janika Polk (La. Bar No. 27608)
                                                 Robert Guidry (La. Bar No. 28064)
                                                 KUCHLER POLK SCHELL
                                                 WEINER & RICHESON, LLC
                                                 1615 Poydras Street, Suite 1300
                                                 New Orleans, LA 70112

                                                 ATTORNEYS FOR ANADARKO
                                                 PETROLEUM CORPORATION




                                            23
A/73578677.7
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 25 of 148




                               CERTIFICATE OF SERVICE


          I hereby certify that the above and foregoing Defendant ANADARKO PETROLEUM

CORPORATION’S Interrogatories and Requests for Production of Documents to Defendants

BP AMERICA INC., BP AMERICA PRODUCTION COMPANY, BP EXPLORATION

& PRODUCTION INC., and B.P., P.L.C., have been served on All Counsel by electronically

uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order No. 12,

on this 7th day of January, 2011.


                                          __________/s/_Ky E. Kirby____________




                                           24
A/73578677.7
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 26 of 148

                                                                                                        35270990




                          UNITED STATES DISTRICT COURT                                              Jan 7 2011
                          EASTERN DISTRICT OF LOUISIANA                                               8:27PM




IN RE: OIL SPILL by the                                MDL NO. 2179
OIL RIG “DEEPWATER
HORIZON” in the GULF OF                                SECTION: J
MEXICO, on
APRIL 20, 2010                                         JUDGE BARBIER



THIS DOCUMENT RELATES TO ALL CASES

   DEFENDANT MOEX OFFSHORE 2007 LLC’S INTERROGATORIES AND
 REQUESTS FOR PRODUCTION OF DOCUMENTS TO BP AMERICA INC., BP
AMERICA PRODUCTION COMPANY, BP EXPLORATION AND PRODUCTION
            INC., AND B.P. P.L.C. (COLLECTIVELY, “BP”)


          Pursuant to Rules 26, 33 and 34 of the Federal Rules of Civil Procedure, Defendant

MOEX OFFSHORE 2007 LLC (“MOEX OFFSHORE”), through undersigned Counsel,

requests that Defendant BP answer the following interrogatories under oath and produce the

documents specified hereinafter, in accordance with the following Instructions and Definitions,

within thirty (30) days hereof, at the offices of Bingham McCutchen LLP, 355 South Grand

Avenue, Suite 4400, Los Angeles, California 90071-3106, or at such other time and place as

may be agreed upon by counsel for the aforesaid parties.

                                       INSTRUCTIONS

          (a)   Pursuant to Rule 26(e) of the Federal Rules of Civil Procedure, these

interrogatories and requests for production are continuing in nature so that if, after answering,

YOU acquire additional responsive knowledge or information or determine that an answer

YOU provided was false, incomplete, or misleading, YOU are to serve supplemental or

amended answers as soon as reasonably possible after acquiring such additional knowledge or



A/73621580.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 27 of 148




information.        Furthermore,      DOCUMENTS       or    ELECTRONICALLY          STORED

INFORMATION (“ESI”) prepared prior to or subsequent to the period covered by these

interrogatories, but which nonetheless RELATE or REFER thereto, are to be included in

YOUR response.

          (b)   As defined below, YOU are to produce all DOCUMENTS in YOUR

possession, custody or CONTROL.              Production of DOCUMENTS shall be in

conformance with all procedures and formats set forth by the Court.

          (c)   All ESI responses to these discovery requests shall be produced in accordance

with Pretrial Order No. 16.

          (d)   All produced DOCUMENTS shall have a legible, unique page identifier (“Bates

Number”) electronically “burned” onto each image at a location that does not obliterate,

conceal, or interfere with any information from the source DOCUMENT. No other legend or

stamp will be placed on the DOCUMENT image other than a confidentiality legend (where

applicable) redactions (consistent with the Stipulated Protective Order in this matter, or any

other protective orders agreed to in the future), and the Bates Number identified above. The

confidential legend shall be “burned” onto the DOCUMENT’S image at a location that does

not obliterate or obscure any information from the source DOCUMENT. WITH RESPECT

TO the identification of files produced in their native format, the parties shall confer on an

appropriate method for applying a unique identifier to each file produced.

          (e)   Each page image file shall be named with the unique Bates Number of the page

of DOCUMENT, followed by the extension “.TIF.” In the event the Bates Number contains a

symbol and/or character that cannot be included in a file name, the symbol and/or character

will be omitted from the file name.

          (f)   If YOU refuse to respond to any of these interrogatories or requests for

                                                2
A/73621580.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 28 of 148




production based on a claim of privilege, YOU shall provide a “Privilege Log” that complies

with the provisions of Pretrial Order No. 14.

          (g)   If YOU or any of YOUR attorneys, agents, or representatives at any time had

possession or CONTROL of a DOCUMENT requested and that DOCUMENT has been lost,

destroyed, or purged or is not presently in YOUR possession, custody, or CONTROL,

IDENTIFY the DOCUMENT and DESCRIBE the circumstances surrounding the loss,

destruction, purge, or separation from YOUR possession, custody, or CONTROL, indicating

the dates that those circumstances occurred.

          (h)   If YOU allege that any request is in any manner ambiguous, YOU are instructed

to DESCRIBE in detail the reasons for YOUR allegations, including but not limited to, each

interpretation to which YOU allege the specific request for discovery is subject.

Notwithstanding any of the foregoing, YOU are instructed to respond, to the best of YOUR

ability, to the request for production and produce the DOCUMENTS requested.

                                            DEFINITIONS

As used herein, the following terms are defined as follows:

          (i)   “DEEPWATER HORIZON” means, without limitation, the mobile offshore

drilling unit (MODU) of that name involved in the drilling of the MACONDO WELL, or any

component thereof, as well as any vessel, vehicle, aircraft, or other equipment used in

connection with the process of drilling, developing, exploring for and/or producing oil and gas

resources.

          (j)   “MACONDO WELL” means, without limitation, the Macondo Prospect

(Mississippi Canyon Block 252, abbreviated MC252) an oil and gas prospect in the Gulf of

Mexico, off the coast of Louisiana. The prospect was the site of the DEEPWATER HORIZON

drilling rig explosion in April 20, 2010.

                                                3
A/73621580.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 29 of 148




          (k)   “DEEPWATER WELL” means, without limitation, a well drilled in excess of

5000’ water depth.

          (l)   “INCIDENT” means, without limitation, the loss of control of the MACONDO

WELL leading to the explosion that occurred on the DEEPWATER HORIZON on or around

April 20, 2010.

          (m)   “BOP” or “BLOWOUT PREVENTER” means, without limitation, the large

valve device(s) designed and used to ensure safety through the sealing, controlling, and

monitoring of oil and gas wells including the associated, monitoring, warning, electronic, and

hydraulic systems.

          (n)   “DEEPWATER HORIZON BLOWOUT PREVENTER” means, without

limitation, the large valve device(s) specifically created by CAMERON to ensure safety

through the sealing, controlling, and monitoring of the MACONDO WELL including the

associated, monitoring, warning, electronic, and hydraulic systems for the DEEPWATER

HORIZON rig.

          (o)   “YOU,” “YOUR,” or “BP,” means, without limitation, BP EXPLORATION

AND PRODUCTION, INC., BP AMERICA, INC., BP AMERICA PRODUCTION

COMPANY, and BP, P.L.C., including its predecessors, successors, subsidiaries, departments,

divisions, attorneys, accountants, and current and former directors, officers, EMPLOYEES,

agents, representatives and PERSONS acting on its behalf.

          (p)   “ANADARKO” means, without limitation, ANADARKO PETROLEUM

CORPORATION and ANADARKO E&P COMPANY, including its predecessors, successors,

subsidiaries, departments, divisions, attorneys, accountants, and current and former directors,

officers, EMPLOYEES, agents, representatives and PERSONS acting on its behalf.

          (q)   “TRANSOCEAN” means, without limitation, TRITON ASSET LEASING

                                               4
A/73621580.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 30 of 148




GMBH, TRANSOCEAN HOLDINGS LLC, TRANSOCEAN OFFSHORE DEEPWATER

DRILLING INC., and TRANSOCEAN DEEPWATER INC., as owners, managing owners,

owners pro-hac vice, and/or operators of the MODU DEEPWATER HORIZON, including its

predecessors, successors, subsidiaries, departments, divisions, attorneys, accountants, and

current and former directors, officers, EMPLOYEES, agents, representatives and PERSONS

acting on its behalf.

          (r)   “CAMERON” means, without limitation, CAMERON INTERNATIONAL,

CAMERON          INTERNATIONAL        CORPORATION,         and    COOPER       CAMERON

CORPORATION, including its predecessors, successors, subsidiaries, departments, divisions,

attorneys, accountants, and current and former directors, officers, EMPLOYEES, agents,

representatives and PERSONS acting on its behalf.

          (s)   “MOEX OFFSHORE” means, without limitation, MOEX OFFSHORE 2007,

LLC including its predecessors, successors, subsidiaries, departments, divisions, attorneys,

accountants, and current and former directors, officers, EMPLOYEES, agents, representatives

and PERSONS acting on its behalf.

          (t)   “MOEX USA” means, without limitation, MOEX USA CORPORATION

including its predecessors, successors, subsidiaries, departments, divisions, attorneys,

accountants, and current and former directors, officers, EMPLOYEES, agents, representatives

and PERSONS acting on its behalf.

          (u)   “HALLIBURTON” means, without limitation, HALLIBURTON ENERGY

SERVICES, including its predecessors, successor, subsidiaries, departments, divisions,

attorneys, accountants, and current and former directors, officers, EMPLOYEES, agents,

representative and PERSON acting on its behalf.

          (v)   “PLAINTIFFS” include all “PERSONS” as defined herein who have filed or

                                              5
A/73621580.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 31 of 148




will file a claim in the Multi-District Litigation entitled “In Re: Oil Spill by the Oil Rig

“DEEPWATER HORIZON” in the Gulf of Mexico, on April 20, 2010” bearing Civil Action

No. MDL No. 2179 pending in the Eastern District of Louisiana, as well as any “PERSON”

who has or may file a claim in the Limitation of Liability action filed in the Southern District

of Texas bearing Civil Action No. 1001721 and subsequently transferred to the Eastern District

of Louisiana.

          (w)   “PERSON” means, without limitation, any and every natural individual, each

and every association, partnership, joint venture, corporation, professional corporation, trust

and any and every other identifiable entity.

          (x)   “EMPLOYEE” means, without limitation, any current or former officer,

director, executive, manager, secretary, staff member, messenger or other PERSON who is or

was employed or subcontracted by YOU or has acted on YOUR behalf.

          (y)   “COMMUNICATION” means, without limitation, any writing transmitted

between PERSONS or any oral conversation of any kind or character, including, by way of

example and without limitation, personal conversations, telephone conversations, letters,

MEETINGS,         memoranda,        telegraphic,        telex,   COMPUTER          and    facsimile

COMMUNICATIONS or transmittals of DOCUMENTS, ESI (as defined in section (bb)) and

all      DOCUMENTS        CONCERNING               such     writings   or   oral     conversations.

“COMMUNICATION” as used herein specifically includes internal writings, oral

conversations or MEETINGS among the officers, board members, EMPLOYEES or other

representatives of any defendant.

          (z)   “MEETING” means, without limitation, any assembly, convocation, encounter

or contemporaneous presence of two or more PERSONS for any purpose, whether planned or

scheduled in advance, including written exchanges through internet/web based chat, including

                                                    6
A/73621580.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 32 of 148




AOL Instant Messenger, or similar programs, electronic “bulletin board” programs, or

internet/web based video chat, including Skype, or similar programs.

          (aa)   “DOCUMENT” means, without limitation, the original and all non-identical

copies of all writings, including any and all drafts, alterations and modifications, changes and

amendments of any of the foregoing whether handwritten, typed, printed or otherwise

produced in any format including, but not limited to, paper or ESI. This definition also

includes, without limitation, books, records, manuals, statements, minutes, letters,

correspondence, memoranda, legal pleadings, calendars, diaries, travel records, lists, tax

returns, schedules, press releases, directives, agreements, contracts, print-outs, studies,

summaries, records of telephone conversations, telegrams, notes, reports, compilations,

notebooks, work papers, graphs, graphics, transcripts, charts, blueprints, timelines, pamphlets,

brochures, circulars, manuals, instructions, ledgers, drawings, sketches, photographs,

videotapes, film and sound reproductions, COMPUTER discs (including but not limited to,

CDs, CD-Rs, DVDs, DVD-Rest, floppy discs, hard discs and hard drives), flash drives, pen

drives, thumb drives, programming instructions, sales, advertising and promotional literature,

agreements or minutes of MEETINGS, telephone conversations or other conversation or

COMMUNICATION in YOUR possession, custody or CONTROL, or in the possession,

custody or CONTROL of YOUR predecessors, successors, officers, directors, shareholders,

EMPLOYEES, agents, representatives and attorneys. This definition also includes non-printed

matter such as voice records and reproductions, film impressions, photographs, videos,

negatives, slides, microfilms, microfiches, e-mail, and other things that DOCUMENT or record

ideas, words or impressions. The term “DOCUMENT” further includes all punch cards, tapes,

disks, or records used in electronic data processing, together with the programming instructions

and other written materials necessary to understand or use such punch cards, tapes, disks or

                                                7
A/73621580.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 33 of 148




other recordings, and further includes ESI (as defined in section (bb)) data or data compilation

in electronic or other form that can be printed through proper programming or decoding of the

electronic or mechanical data storage facility, including metadata.

          (bb)   “ELECTRONICALLY STORED INFORMATION” or “ESI” means the

original (or identical duplicate when the original is not available), and any non-identical copies

whether non-identical because of notes made on copies or attached comments, annotations,

marks, transmission notations, or highlighting of any kind) of writings and data compilations in

any form, and of every kind and description whether inscribed by mechanical, facsimile,

electronic, magnetic, digital or other means. ESI includes, by way of example only,

COMPUTER programs (whether private, commercial, or work-in progress), programming

notes or instructions, activity listings of electronic mail receipts and transmittals, output

resulting from the use of any software program, including word processing DOCUMENTS,

spreadsheets, database files, charts, graphs and outlines, electronic mail displaying full email

aliases (not merely “display names”), electronic calendars, IM logs, PBX logs, DOCUMENT

management system data, operating systems, all metadata, source code of all types, peripheral

drivers, PIF files, batch files, ASCII files, and any and all miscellaneous files and file

fragments, regardless of the media on which they reside and regardless of whether said ESI

consists in an active file, deleted file or fragment. ESI includes any and all items stored on

COMPUTER memories, hard disks, floppy disks, CD-ROMs, removable media such as Zip

disks, Jaz cartridges, Bernoulli Boxes and their equivalent, magnetic tapes of all types,

microfiche, punched cards, punched tape, COMPUTER chips, including, EPROM, PROM

RAM and ROM, on or in any other vehicle for digital data storage and transmittal. The term

ESI also includes the file, folder tabs and containers and labels appended to, or associated with,

any physical storage device associated with each original and copy.

                                                 8
A/73621580.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 34 of 148




          (cc)   “COMPUTER” means, without limitation, all devices utilizing microchips to

facilitate processing, analysis, or storage of data, including micro COMPUTERS (also known

as personal COMPUTERS), laptop COMPUTERS, portable COMPUTERS, notebook

COMPUTERS, palmtop COMPUTERS (also known as personal digital assistants or PDA’s),

iPads, mini COMPUTERS and mainframe COMPUTERS.

          (dd)   “CONTROL” means, without limitation, the ownership, possession, or custody

of the DOCUMENT, or the right to secure the DOCUMENT or copy thereof from any

PERSON or public and private entity having physical possession thereof.

          (ee)   “RELATING TO,” “RELATED TO,” “REGARDING,” “CONCERNING,” or

“WITH RESPECT TO” means, without limitation, the following concepts: discussing,

describing, reflecting, dealing with, pertaining to, analyzing, evaluating, estimating,

constituting, studying, surveying, projecting, assessing, recording, summarizing, criticizing,

reporting, commenting or otherwise involving, in whole or in part.

          (ff)   “IDENTIFY” and “IDENTITY” when used in reference to a PERSON means to

STATE the PERSON’S:

                 (1)   Full name;

                 (2)   Present or last known employment position, including the employer

                       name;

                 (3)   Job title and/or description; and

                 (4)   Contact information.

          (gg)   “IDENTIFY” and “IDENTITY” when used in reference to a DOCUMENT or

ESI means to STATE:

                 (1)   The type of DOCUMENT or ESI;

                 (2)   Its date;

                                                 9
A/73621580.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 35 of 148




                 (3)   Its author(s) and author(s) address(es), including every author involved,

                       whether or not such PERSON signed the DOCUMENT;

                 (4)   Its subject matter or response;

                 (5)   Its present location or custodian;

                 (6)   Every PERSON to whom such DOCUMENT or ESI, or any copy

                       thereof, was given or sent;

                 (7)   Every PERSON known to YOU to have received the DOCUMENT or

                       information, or to have learned the substance of its contents; and

                 (8)   If any such DOCUMENT or ESI was, but is no longer, in YOUR

                       possession or subject to YOUR CONTROL, STATE what disposition

                       was made of it.

          (hh)   “IDENTIFY” and “IDENTITY” when used WITH RESPECT TO a

COMMUNICATION other than a writing means to STATE:

                 (1)   The full name of any PERSON who was a party to the

                       COMMUNICATION;

                 (2)   The type of COMMUNICATION, e.g., telephone conversation, letter,

                       telegram,   teletype,   telecopy,    written   memorandum,    face-to-face

                       conversation, or any other form; and The full name of any PERSONS

                       participating therein, along with the date, duration, location(s) and the

                       substance of the COMMUNICATION.

          (ii)   “DESCRIBE” means, in the case of an act, event, transaction, relationship,

thing or occurrence, to IDENTIFY dates, places, PERSONS involved, and means employed;

IDENTIFY YOUR sources of information CONCERNING such act, event, transaction, thing

or occurrence, including the date YOU received such information; IDENTIFY each PERSON

                                                 10
A/73621580.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 36 of 148




having knowledge of such act, event, transaction, thing or occurrence; and IDENTIFY each

COMMUNICATION and each DOCUMENT RELATING TO such act, event, transaction,

thing or occurrence.

          (jj)   “STATE” means, without limitation, to set forth in full and complete detail all

knowledge and information in YOUR possession, custody or CONTROL RELATING TO the

subject matter of the interrogatory, including without limitation the source and basis of YOUR

knowledge and information if not otherwise evident from YOUR answer to the interrogatory

and the IDENTITY of each DOCUMENT and each COMMUNICATION on which YOU rely

to any extent in making YOUR answer.

          (kk)   When an interrogatory calls for YOUR or any other PERSON’S “basis” or

“bases,” or “sources,” “sources of knowledge,” “sources of information,” or “source(s) of

information or belief,” YOU are to STATE when, where, and the IDENTITY of the PERSON

from whom the information was learned or received, and if by means of one or more

DOCUMENTS or COMMUNICATIONS, the IDENTITY of each such DOCUMENT and

COMMUNICATION.

          (ll)   “And” as well as “or” should be construed either disjunctively or conjunctively

so that each request is given its broadest possible application. If, for example, a request calls

for information about “A” or “B,” YOU should produce all information about A and all

information about B, as well as all information about collectively A and B. In other words,

both “and” and “or” should be read as “and/or.”

          (mm) “Any” should be construed, when possible, to mean “any and all.”

          (nn)   “Including” is used to emphasize the type of information requested and should

not be construed as limiting the interrogatory or requests for production in any way.

“Including” should be read as “including, but not limited to.”

                                                11
A/73621580.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 37 of 148




          (oo)   “Each” should be construed to include the word “every,” and “every” should be

construed to include the word “each.”

          (pp)   A plural noun or pronoun should be construed as a singular noun, and a singular

noun should be construed as a plural noun or pronoun, so that each request should be given its

broadest possible application.

          (qq)   The use of a verb in any tense should be construed to be the use of a verb in all

other tenses so that each request should be given its broadest possible applications.

          (rr)   Words of one gender shall be construed to include words of all genders so that

each request in the request for production of DOCUMENTS shall be given its broadest

possible application.

          (ss)   Definitions provided herein apply to any grammatical variance of the term or

phrase defined.

                                     INTERROGATORIES

INTERROGATORY NO. 1:

          Please IDENTIFY every BP EMPLOYEE or other PERSON associated with BP who

concluded that the second, or any subsequent, negative pressure test at the MACONDO WELL

on April 20, 2010, was “successful” and DESCRIBE in detail each and every reason for such

conclusion.

INTERROGATORY NO. 2:

          Please IDENTIFY every BP EMPLOYEE or other PERSON associated with BP who

concluded that the difference in pressure of 1400 psi between the drill pipe and the

DEEPWATER HORIZON’S BLOWOUT PREVENTER’S kill line during the second negative

pressure test on April 20, 2010 was the result of “bladder effect.”

INTERROGATORY NO. 3:

                                                 12
A/73621580.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 38 of 148




          Please IDENTIFY and DESCRIBE every policy or standard practice existing at BP

prior to April 21, 2010 that ensured that any and all of BP’s decisions about drilling operations

or temporary abandonment of deep sea wells did not favor cost or schedule considerations over

potential risks to safety.

INTERROGATORY NO. 4:

          Please IDENTIFY who at BP made the decision to displace to seawater at 3,367’ below

mud level prior to performing a negative pressure test on the MACONDO WELL, and

DESCRIBE in detail the basis of his/her/their decision.

INTERROGATORY NO. 5:

          Please IDENTIFY all PERSONS with whom Robert Kaluza or Donald Vidrine spoke

by telephone on April 20 and 21, 2010 REGARDING conditions on the DEEPWATER

HORIZON and DESCRIBE in detail the time and the substance of each such conversation.

INTERROGATORY NO. 6:

          Please STATE whether YOU believe that the initial flow of hydrocarbons into the

MACONDO WELL on April 20, 2010 did or did not come through the shoe track barrier and

DESCRIBE in detail the basis for YOUR belief.

INTERROGATORY NO. 7:

          Please STATE whether YOU believe there was hydrocarbon flow through the seal

assembly during the INCIDENT on April 20, 2010, and DESCRIBE in detail the basis for

YOUR belief.

INTERROGATORY NO. 8:

          Please STATE why YOU did not perform a float collar test after cementing to

determine or understand whether there was a barrier, to hydrocarbons flow up the wellbore,



                                                13
A/73621580.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 39 of 148




and DESCRIBE what procedure YOU were following (if CFR 250.404-5, please STATE what

part of this regulation YOU feel YOU fulfilled and how).

INTERROGATORY NO. 9:

          Please DESCRIBE in detail why there was no monitoring of the mud pits on the

DEEPWATER HORIZON on April 20, 2010 during all or any part of the period of time from

13:28 hours (when the offloading to the supply vessel M/V Damon Bankston began) to 21:10

hours (when the returns were routed overboard), and specifically IDENTIFY the period of time

during which monitoring did not occur.

INTERROGATORY NO. 10:

          Please DESCRIBE each and every step taken to control or shut in the MACONDO

WELL on April 20, 2010, giving the time of day each such step was taken and by whom.

INTERROGATORY NO. 11:

          Please IDENTIFY and DESCRIBE in detail YOUR well control and well shut-in

protocols and DESCRIBE in detail what those protocols state REGARDING how to respond to

loss of well control.

INTERROGATORY NO. 12:

          Please IDENTIFY every PERSON who made the decision on April 20, 2010 to divert

flow from the MACONDO WELL through the mud gas separator rather than the starboard

diverter and DESCRIBE in detail the basis for that decision.

INTERROGATORY NO. 13:

          Please IDENTIFY who, if anyone, attempted to operate the emergency disconnect

system on April 20, 2010, prior to the first explosion on the DEEPWATER HORIZON, or after,

and DESCRIBE in detail the reasons for doing so or not doing so.



                                               14
A/73621580.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 40 of 148




INTERROGATORY NO. 14:

          Please IDENTIFY which of YOUR EMPLOYEES were informed of or involved with

planning for temporary-well abandonment procedures for the MACONDO WELL from March

1 through April 20, 2010, DESCRIBE in detail their roles in the planning, and DESCRIBE in

detail any changes, recommendations or misgivings about those procedures that were

communicated by or to YOUR EMPLOYEES, and by and to whom.

INTERROGATORY NO. 15:

          Beginning with the MACONDO WELL temporary abandonment procedures, plan

and/or steps discussed by YOUR EMPLOYEES by email or otherwise on April 12, 2010,

DESCRIBE in detail each temporary abandonment procedure, plan and/or step YOU decided

upon or changed between April 12 and the April 20th explosion on the DEEPWATER

HORIZON, and the specific reasons for and basis on which YOU changed or revised each such

procedure, plan and/or step.

INTERROGATORY NO. 16:

          Please DESCRIBE in detail all “kicks” experienced on the DEEPWATER HORIZON or

with the MACONDO WELL from February 1, 2010 through April 20, 2010; IDENTIFY each

PERSON who experienced, monitored and/or reported such kicks; and DESCRIBE in detail all

actions taken in response to such kicks.

INTERROGATORY NO. 17:

          Please STATE whether it has been YOUR policy or standard procedure since 2000 that

closing the annular preventer should be the first step taken during well control events on the

DEEPWATER HORIZON and on the other deepwater drilling rigs leased, contracted, or used

by YOU and, if so, DESCRIBE in detail the basis for the policy and/or procedure.



                                               15
A/73621580.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 41 of 148




INTERROGATORY NO. 18:

          Please DESCRIBE in detail all follow-up steps that YOU took following YOUR 2009

audit of the DEEPWATER HORIZON (including the DEEPWATER HORIZON BLOWOUT

PREVENTER), that showed TRANSOCEAN was behind on maintenance of certain items on

the DEEPWATER HORIZON and that the BOP had not been inspected or certified for a

number of years, to ensure that the DEEPWATER HORIZON BLOWOUT PREVENTER

maintenance had been brought up-to-date and was appropriate.

INTERROGATORY NO. 19:

          Please IDENTIFY the companies that provided service for any COMMUNICATIONS

devices, including but not limited to telephones, cellular phones, smart phones, and

Blackberries, that were in the possession of any PERSONS aboard the DEEPWATER

HORIZON or the M/V Damon Bankston on April 20 and 21, 2010, and the telephone numbers

for each such device.

INTERROGATORY NO. 20:

          Please IDENTIFY, for the month of April 2010, the type of device by which any of

YOUR EMPLOYEES on the DEEPWATER HORIZON communicated with anyone on shore

(wireless phone, satellite phone, Blackberries, or any similar devices), the telephone number of

that device, and the COMMUNICATIONS provider for that telephone number, and the

PERSON to whom that device belonged or was assigned.

INTERROGATORY NO. 21:

          Did YOU confirm that all relevant lab test results had been obtained and considered by

the HALLIBURTON in-house cementing engineer before cement placement proceeded at the

MACONDO WELL, and if so, DESCRIBE in detail how you performed that confirmation in-



                                                 16
A/73621580.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 42 of 148




cluding the IDENTITY of all COMMUNICATIONS or DOCUMENTS RELATED TO such

confirmation.

INTERROGATORY NO. 22:

          DESCRIBE in detail what quality assurance YOU did to ensure that potential flaws and

weaknesses in the cement slurry design for the MACONDO WELL were identified.

INTERROGATORY NO. 23:

          DESCRIBE in detail what lab tests of the cement YOU reviewed and relied upon for

the MACONDO WELL, and DESCRIBE in detail why you did not ask for further tests.

INTERROGATORY NO. 24:

          DESCRIBE in detail why YOUR MACONDO WELL team allowed the cement

placement to proceed on April 19 and 20, 2010 after your review of lab tests and results.

                     REQUEST FOR PRODUCTION OF DOCUMENTS

REQUEST FOR PRODUCTION NO. 1:

          Please produce all DOCUMENTS reviewed by YOU in connection with preparation of

YOUR responses to each of the Interrogatories set forth above.

REQUEST FOR PRODUCTION NO. 2:

          Please produce all DOCUMENTS RELATING TO required or recommended practices

to prevent or minimize pollution during the course of drilling or operating a well.

REQUEST FOR PRODUCTION NO. 3:

          Please produce all DOCUMENTS RELATING TO planned activities, and activities

undertaken, on the DEEPWATER HORIZON during the period from April 14 through April 25,

2010.

REQUEST FOR PRODUCTION NO. 4:

          Please produce all DOCUMENTS reflecting, or considered by YOU in connection

                                                17
A/73621580.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 43 of 148




with, pre-cement job evaluation of the design and volume of cement to be used for the final

production casing string.

REQUEST FOR PRODUCTION NO. 5:

          Please produce all DOCUMENTS reflecting, or considered by YOU in connection

with, pre-cement job evaluation of the potential for contamination of the cement job for the

final production casing string.

REQUEST FOR PRODUCTION NO. 6:

          Please produce all DOCUMENTS reflecting, or considered by YOU in connection

with, pre-cement job evaluation of the amount of time that should elapse in order to permit the

cement job on the final casing string to strengthen before commencing further operations on

the MACONDO WELL.

REQUEST FOR PRODUCTION NO. 7:

          Please produce all DOCUMENTS reflecting policies, practices or procedures for when

(and under what circumstances) and how a float collar should be tested to determine whether it

has converted properly or has been damaged during conversion attempts.

REQUEST FOR PRODUCTION NO. 8:

          WITH RESPECT TO the MACONDO WELL, please produce all DOCUMENTS

reflecting discussion, or evaluation, of whether there was, or would be, sufficient differential

pressure between the cement in the final casing string and the fluid in the annulus to determine

whether the float collar was properly converted.

REQUEST FOR PRODUCTION NO. 9:

          Please produce all DOCUMENTS reflecting policies, practices or procedures

REGARDING displacement of kill weight mud to seawater before a well has successfully

passed a negative test.

                                               18
A/73621580.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 44 of 148




REQUEST FOR PRODUCTION NO. 10:

          Please produce all DOCUMENTS reflecting policies, practices or procedures in

connection with, or concerns or issues REGARDING, the conduct of simultaneous activities

on a rig, MODU or platform that might interfere with or prevent monitoring of fluid gains or

losses in a well.

REQUEST FOR PRODUCTION NO. 11:

          Please produce all of YOUR temporary abandonment plans, and drafts of such plans,

for any DEEPWATER WELL in the Gulf of Mexico during the last ten years.

REQUEST FOR PRODUCTION NO. 12:

          Please produce all DOCUMENTS discussing, or reflecting, evaluation by YOU of a

change from a long string design to a tie-back with liner during the course of drilling any

DEEPWATER WELL in the Gulf of Mexico during the last ten years.

REQUEST FOR PRODUCTION NO. 13:

          Please produce all DOCUMENTS discussing, reflecting or RELATING TO YOUR

decision not to conduct a cement bond log for the MACONDO WELL and DOCUMENTS

RELATING TO or IDENTIFYING any PERSONS involved in that decision

REQUEST FOR PRODUCTION NO. 14:

          Please produce all DOCUMENTS evidencing or RELATING TO YOUR internal rules

and procedures for deepwater drilling of wells.

REQUEST FOR PRODUCTION NO. 15:

          Please produce all DOCUMENTS, including invoices, RELATING TO YOUR

response activities RELATED TO the spill resulting from the INCIDENT.




                                                  19
A/73621580.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 45 of 148




REQUEST FOR PRODUCTION NO. 16:

          Please produce all DOCUMENTS RELATING TO training of YOUR engineers who

design DEEPWATER WELLS, including but not limited to training required before being

hired by BP as well as training given by or at BP after hire.

REQUEST FOR PRODUCTION NO. 17:

          Please produce all DOCUMENTS RELATING TO training of YOUR personnel who

act as well site leaders on DEEPWATER WELLS, including but not limited to training

required before being hired by BP as well as training given by or at BP after hire.

REQUEST FOR PRODUCTION NO. 18:

          Please produce all DOCUMENTS RELATING TO training of YOUR personnel who

act as well team leaders on DEEPWATER WELLS, including but not limited to training

required before being hired by BP as well as training given by or at BP after hire.

REQUEST FOR PRODUCTION NO. 19:

          Please produce all DOCUMENTS RELATING TO the qualifications of YOUR

personnel who designed the MACONDO WELL or modified its design during drilling, or

acted as well site leaders or well team leaders.

REQUEST FOR PRODUCTION NO. 20:

          Please produce all DOCUMENTS RELATING TO the specific training of YOUR

personnel, before or after hire by BP, who designed the MACONDO WELL or modified its

design during drilling, or acted as well site leaders or well team leaders.

REQUEST FOR PRODUCTION NO. 21:

          Please produce all telephone logs or records that YOU have, or have obtained from the

companies that provided service, for the month of April 2010 that relate to any

COMMUNICATIONS devices used by any of YOUR EMPLOYEE on the DEEPWATER

                                                   20
A/73621580.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 46 of 148




HORIZON to communicate with anyone on shore (wireless phone, satellite phone,

Blackberries, or any similar devices).

REQUEST FOR PRODUCTION NO. 22:

          Please produce all DOCUMENTS that are or RELATE TO internal discussions

(including emails) about what YOU would be or would not be telling MOEX OFFSHORE,

MOEX USA or ANADARKO about the drilling process, conditions, changes, progress, or

problems at the MACONDO WELL, prior to May 1, 2010.

REQUEST FOR PRODUCTION NO. 23:

          Please produce all DOCUMENTS that are or RELATE TO “stop the job” incidents

called for by BP EMPLOYEES or by other workers on MODU rigs used, leased, or contracted

by BP that RELATED TO well kicks, to movement of mud on the rig (either between pits or

overboard).

REQUEST FOR PRODUCTION NO. 24:

          WITH RESPECT TO YOUR December 8, 2010 response to PLAINTIFFS’

Interrogatory No. 29, please produce all DOCUMENTS that are or RELATE TO internal

discussions (including emails) YOU had REGARDING “BLOWOUT PREVENTER[s] that

did not seal a well as intended” (whether RELATING TO the Ixtoc I well, the Silvertip well,

the AC 901 well, the WR 543 well, or any other well that had issues with BLOWOUT

PREVENTERS).

REQUEST FOR PRODUCTION NO. 25:

          Please produce all DOCUMENTS that RELATE TO other DEEPWATER WELLS

drilled by YOU in the last 10 years in which YOU displaced to seawater before locking down

the hanger.



                                             21
A/73621580.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 47 of 148




REQUEST FOR PRODUCTION NO. 26:

          Please produce all DOCUMENTS that are or RELATE TO approval YOU obtained

from MMS to displace to seawater and set a cement plug at about 8367 feet (+/-3300’ BML)

WITH RESPECT TO the MACONDO WELL.

REQUEST FOR PRODUCTION NO. 27:

          Please produce all DOCUMENTS that are or RELATE TO requests YOU have made to

MMS to displace to seawater and set a cement plug at +/-3300 feet BML WITH RESPECT TO

any DEEPWATER WELL YOU have drilled other than the MACONDO WELL, including but

not limited to any denials of such requests.

REQUEST FOR PRODUCTION NO. 28:

          Please produce all DOCUMENTS pertaining to who has authority on YOUR MODU

operations to deviate from YOUR written drilling plans or procedures.

REQUEST FOR PRODUCTION NO. 29:

          Please produce any and all interview notes reflecting statements by Mark Hafle

following the INCIDENT, including but not limited to interviews conducted by or on behalf of

the BP investigation team.

///

///

///

///

///

///

///

///

                                               22
A/73621580.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 48 of 148




REQUEST FOR PRODUCTION NO. 30:

          To the extent not previously produced, please produce any DOCUMENTS RELATING

TO any activities at or affecting the MACONDO WELL, including but not limited to, any

investigations; observations; instructions; assessments; development of protocols, procedures,

or "lessons learned" analyses; audits; self-evaluations; summaries of activities, logs, and

guidance documents.

Dated: January 7, 2011

                                                   Respectfully submitted,



                                                   ________/s/ Ky E. Kirby__________

                                                   Ky E. Kirby
                                                   Ky.Kirby@bingham.com
                                                   Warren Anthony Fitch
                                                   Tony.Fitch@bingham.com
                                                   Michael B. Wigmore
                                                   Michael.Wigmore@bingham.com
                                                   BINGHAM MCCUTCHEN LLP
                                                   2020 K Street, NW
                                                   Washington, DC 20006-1806
                                                   Telephone (202) 373-6000
                                                   Facsimile (202) 373-6001

                                                   James J. Dragna
                                                   Jim.Dragna@bingham.com
                                                   BINGHAM MCCUTCHEN LLP
                                                   355 South Grand Avenue
                                                   Suite 4400
                                                   Los Angeles, California 90071-3106
                                                   Telephone (213) 680-6436
                                                   Facsimile (213) 680-8636




                                              23
A/73621580.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 49 of 148




                                          Deborah D. Kuchler, T.A. (La. Bar No.
                                          17013)
                                          Janika Polk (La. Bar No. 27608)
                                          Robert Guidry (La. Bar No. 28064)
                                          KUCHLER POLK SCHELL
                                          WEINER & RICHESON, LLC
                                          1615 Poydras Street, Suite 1300
                                          New Orleans, LA 70112

                                          ATTORNEYS FOR MOEX
                                          OFFSHORE 2007 LLC




                                     24
A/73621580.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 50 of 148




                               CERTIFICATE OF SERVICE


          I hereby certify that the above and foregoing Defendant MOEX OFFSHORE 2007

LLC’S Interrogatories and Requests for Production of Documents to Defendants BP

AMERICA INC., BP AMERICA PRODUCTION COMPANY, BP EXPLORATION &

PRODUCTION INC., and B.P., P.L.C., have been served on All Counsel by electronically

uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order No. 12,

on this 7th day of January, 2011.


                                          __________/s/_Ky E. Kirby____________




                                           25
A/73621580.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 51 of 148




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL by the                MDL NO. 2179
OIL RIG “DEEPWATER
HORIZON” in the GULF OF                SECTION: J
MEXICO, on
APRIL 20, 2010                         JUDGE BARBIER
                                       MAG. JUDGE SHUSHAN


THIS DOCUMENT RELATES TO ALL CASES

   DEFENDANT ANADARKO E&P COMPANY LP’S FIRST REQUESTS FOR
ADMISSIONS TO BP AMERICA INC., BP AMERICA PRODUCTION COMPANY,
         BP EXPLORATION AND PRODUCTION INC., B.P. P.L.C.
                     (COLLECTIVELY, “BP”)

          Pursuant to Rules 26 and 36 of the Federal Rules of Civil Procedure, Defendant

Anadarko E&P Company LP (“AE&P”) through undersigned Counsel, requests that Defendant

BP answer the following Requests for Admission completely and under oath, within thirty (30)

days hereof, at the offices of Bingham McCutchen LLP, 355 South Grand Avenue, Suite 4400,

Los Angeles, California 90071-3106, or at such other time and place as may be agreed upon by

counsel for the aforesaid parties.

                                      DEFINITIONS

          (a)   “MACONDO WELL” means that exploratory well being drilled within the

MACONDO PROSPECT pursuant to Lease OCS-G 32306.

          (b)   “MACONDO PROSPECT” means the oil and gas prospect located within

Mississippi Canyon Block 252, abbreviated MC252 in the Gulf of Mexico, off the coast of

Louisiana, subject to Lease OCS-G 32306.




A/74044467.1
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 52 of 148




          (c)   “YOU,” “YOUR,” or “BP,” means, without limitation, BP Exploration and

Production, Inc., BP America, Inc., BP America Production Company, and              BP, P.L.C.,

including its predecessors, successors, subsidiaries, departments, divisions, attorneys,

accountants, and current and former directors, officers, EMPLOYEES, agents, representatives

and PERSONS acting on its behalf.

          (d)   “PERSON” means, without limitation, any and every natural individual, each

and every association, partnership, joint venture, corporation, professional corporation, trust

and any and every other identifiable entity.

          (e)   “EMPLOYEE” means, without limitation, any current or former officer,

director, executive, manager, secretary, staff member, messenger or other PERSON who is or

was employed or subcontracted by YOU or has acted on YOUR behalf.

          (f)   “REGARDING,” or “CONCERNING,” means, without limitation, the

following concepts: discussing, describing, reflecting, dealing with, pertaining to, analyzing,

evaluating, estimating, constituting, studying, surveying, projecting, assessing, recording,

summarizing, criticizing, reporting, commenting or otherwise involving, in whole or in part.

          (g)   “COMMUNICATION” means, without limitation, any writing transmitted

between PERSONS or any oral conversation of any kind or character, including, by way of

example and without limitation, personal conversations, telephone conversations, letters,

MEETINGS,         memoranda,       telegraphic,       telex,   COMPUTER       and     facsimile

COMMUNICATIONS or transmittals of DOCUMENTS, ESI (as defined in section (j)) and all

DOCUMENTS CONCERNING such writings or oral conversations. “COMMUNICATION”

as used herein specifically includes internal writings, oral conversations or MEETINGS among

the officers, board members, EMPLOYEES or other representatives of any defendant.



                                                  2
A/74044467.1
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 53 of 148




          (h)   “DOCUMENT” means, without limitation, the original and all non-identical

copies of all writings, including any and all drafts, alterations and modifications, changes and

amendments of any of the foregoing whether handwritten, typed, printed or otherwise

produced in any format including, but not limited to, paper or ESI. This definition also

includes, without limitation, books, records, manuals, statements, minutes, letters,

correspondence, memoranda, legal pleadings, calendars, diaries, travel records, lists, tax

returns, schedules, press releases, directives, agreements, contracts, print-outs, studies,

summaries, records of telephone conversations, telegrams, notes, reports, compilations,

notebooks, work papers, graphs, graphics, transcripts, charts, blueprints, timelines, pamphlets,

brochures, circulars, manuals, instructions, ledgers, drawings, sketches, photographs,

videotapes, film and sound reproductions, COMPUTER discs (including but not limited to,

CDs, CD-Rs, DVDs, DVD-Rest, floppy discs, hard discs and hard drives), flash drives, pen

drives, thumb drives, programming instructions, sales, advertising and promotional literature,

agreements or minutes of MEETINGS, telephone conversations or other conversation or

COMMUNICATION in YOUR possession, custody or CONTROL, or in the possession,

custody or CONTROL of YOUR predecessors, successors, officers, directors, shareholders,

EMPLOYEES, agents, representatives and attorneys. This definition also includes non-printed

matter such as voice records and reproductions, film impressions, photographs, videos,

negatives, slides, microfilms, microfiches, e-mail, and other things that DOCUMENT or record

ideas, words or impressions. The term “DOCUMENT” further includes all punch cards, tapes,

disks, or records used in electronic data processing, together with the programming instructions

and other written materials necessary to understand or use such punch cards, tapes, disks or

other recordings, and further includes ESI (as defined in section (j)) data or data compilation in



                                                 3
A/74044467.1
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 54 of 148




electronic or other form that can be printed through proper programming or decoding of the

electronic or mechanical data storage facility, including metadata.

          (i)   “MEETING” means, without limitation, any assembly, convocation, encounter

or contemporaneous presence of two or more PERSONS for any purpose, whether planned or

scheduled in advance, including written exchanges through internet/web based chat, including

AOL Instant Messenger, or similar programs, electronic “bulletin board” programs, or

internet/web based video chat, including Skype, or similar programs.

          (j)   “ELECTRONICALLY STORED INFORMATION” or “ESI” means the

original (or identical duplicate when the original is not available), and any non-identical copies

(whether non-identical because of notes made on copies or attached comments, annotations,

marks, transmission notations, or highlighting of any kind) of writings and data compilations in

any form, and of every kind and description whether inscribed by mechanical, facsimile,

electronic, magnetic, digital or other means.        ESI includes, by way of example only,

COMPUTER programs (whether private, commercial, or work-in progress), programming

notes or instructions, activity listings of electronic mail receipts and transmittals, output

resulting from the use of any software program, including word processing DOCUMENTS,

spreadsheets, database files, charts, graphs and outlines, electronic mail displaying full email

aliases (not merely “display names”), electronic calendars, IM logs, PBX logs, DOCUMENT

management system data, operating systems, all metadata, source code of all types, peripheral

drivers, PIF files, batch files, ASCII files, and any and all miscellaneous files and file

fragments, regardless of the media on which they reside and regardless of whether said ESI

consists in an active file, deleted file or fragment. ESI includes any and all items stored on

COMPUTER memories, hard disks, floppy disks, CD-ROMs, removable media such as Zip

disks, Jaz cartridges, Bernoulli Boxes and their equivalent, magnetic tapes of all types disks,

                                                 4
A/74044467.1
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 55 of 148




microfiche, punched cards, punched tape, COMPUTER chips, including, EPROM, PROM

RAM and ROM, on or in any other vehicle for digital data storage and transmittal. The term

ESI also includes the file, folder tabs and containers and labels appended to, or associated with,

any physical storage device associated with each original and copy.

          (k)   “COMPUTER” means, without limitation, all devices utilizing microchips to

facilitate processing, analysis, or storage of data, including micro COMPUTERS (also known

as personal COMPUTERS), laptop COMPUTERS, portable COMPUTERS, notebook

COMPUTERS, palmtop COMPUTERS (also known as personal digital assistants or PDA’s),

iPads, mini COMPUTERS and mainframe COMPUTERS.

          (l)   “CONTROL” means, without limitation, the ownership, possession, or custody

of the DOCUMENT, or the right to secure the DOCUMENT or copy thereof from any

PERSON or public and private entity having physical possession thereof.

          (m)   “And” as well as “or” should be construed either disjunctively or conjunctively

so that each request is given its broadest possible application. If, for example, a request calls

for information about “A” or “B,” YOU should produce all information about A and all

information about B, as well as all information about collectively A and B. In other words,

both “and” and “or” should be read as “and/or.”

          (n)   “Any” should be construed, when possible, to mean “any and all.”

          (o)   “Including” is used to emphasize the type of information requested and should

not be construed as limiting the interrogatory or requests for production in any way.

“Including” should be read as “including, but not limited to.”

          (p)   “Each” should be construed to include the word “every,” and “every” should be

construed to include the word “each.”



                                                  5
A/74044467.1
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 56 of 148




          (q)   A plural noun or pronoun should be construed as a singular noun, and a singular

noun should be construed as a plural noun or pronoun, so that each request should be given its

broadest possible application.

          (r)   The use of a verb in any tense should be construed to be the use of a verb in all

other tenses so that each request should be given its broadest possible applications.

          (s)   Words of one gender shall be construed to include words of all genders so that

each request in the request for production of DOCUMENTS shall be given its broadest

possible application.

          (t)   Definitions provided herein apply to any grammatical variance of the term or

phrase defined.

                                 REQUESTS FOR ADMISSION

REQUEST FOR ADMISSION NO. 1:

Please admit that AE&P personnel never visited the Marianas or Deepwater Horizon rigs

during the drilling of the MACONDO WELL.

REQUEST FOR ADMISSION NO. 2:

Please admit that AE&P did not participate in developing the cement design for the

MACONDO WELL production casing.

REQUEST FOR ADMISSION NO. 3:

Please admit that AE&P did not participate in approving the cement design for the

MACONDO WELL production casing.

REQUEST FOR ADMISSION NO. 4:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform AE&P that in Halliburton’s April 15, 2010 MACONDO WELL production casing



                                                 6
A/74044467.1
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 57 of 148




OptiCem report, Halliburton advised using twenty-one (21) centralizers on the production

casing at the MACONDO WELL.

REQUEST FOR ADMISSION NO. 5:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform AE&P that Halliburton had run an OptiCem model for the MACONDO WELL

production casing cement job that concluded the use of seven (7) centralizers would lead to a

severe gas flow problem.

REQUEST FOR ADMISSION NO. 6:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform AE&P of the results of any of the tests run by Halliburton in connection with the

MACONDO WELL production casing cement job.

REQUEST FOR ADMISSION NO. 7:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform AE&P that any stability tests run by Halliburton in connection the MACONDO

WELL production casing cement job had failed.

REQUEST FOR ADMISSION NO. 8:

Please admit that prior to pumping cement for the production casing at the MACONDO WELL

YOU did not review any cement lab test reports that showed the cement used would be stable.

REQUEST FOR ADMISSION NO. 9:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform AE&P of YOUR decision not to spot heavy mud in the rat hole prior to pumping

the cement for the MACONDO WELL production casing.




                                              7
A/74044467.1
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 58 of 148




REQUEST FOR ADMISSION NO. 10:

Please admit that YOU did not inform AE&P of YOUR planned procedure for cementing the

MACONDO WELL production casing in advance of the pumping of the cement for the

MACONDO WELL production casing.

REQUEST FOR ADMISSION NO. 11:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform AE&P of YOUR decision to violate YOUR own internal guidance policy that

requires pumping annular cement 1,000 feet above the pay zone unless a cement evaluation is

performed.

REQUEST FOR ADMISSION NO. 12:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform AE&P that a Cement Bond Log was not run on the MACONDO WELL production

casing cement.

REQUEST FOR ADMISSION NO. 13:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform AE&P of YOUR decision to pump the MACONDO WELL production casing

cement without reviewing any cement lab results to verify foam stability.

REQUEST FOR ADMISSION NO. 14:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform AE&P of YOUR decision to resume well operations within sixteen (16) hours of

pumping the cement for the MACONDO WELL production casing.

REQUEST FOR ADMISSION NO. 15:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform AE&P that 450 barrels of 16 ppg lost circulation material pill consisting of Form-a-

                                               8
A/74044467.1
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 59 of 148




Set and Form-a Squeeze was used as a spacer material during the temporary abandonment

process at the MACONDO WELL.

REQUEST FOR ADMISSION NO. 16:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform AE&P of the decision to set the surface cement plug in seawater at approximately

3,300 feet below the mudline.

REQUEST FOR ADMISSION NO. 17:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform AE&P about the decision to set the Lockdown Sleeve after displacing

approximately 3,300 feet of mud with seawater below the mud line.

REQUEST FOR ADMISSION NO. 18:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform AE&P of any of YOUR planned operational procedures for temporary

abandonment of the MACONDO WELL between April 12, 2010 and April 20, 2010.

REQUEST FOR ADMISSION NO. 19:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform AE&P of any changes YOU made to the planned operational procedures for

temporary abandonment of the MACONDO WELL between April 12, 2010 and April 20,

2010.

REQUEST FOR ADMISSION NO. 20:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform AE&P that YOU did not intend to follow the April 16, 2010 MMS approved APM

for temporary abandonment of the MACONDO WELL.



                                              9
A/74044467.1
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 60 of 148




REQUEST FOR ADMISSION NO. 21:

Please admit that AE&P was not involved in developing any of the temporary abandonment

plans for the MACONDO WELL which existed between April 12, 2010 and April 20, 2010.

REQUEST FOR ADMISSION NO. 22:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not provide AE&P with any of the temporary abandonment operational procedures for the

MACONDO WELL which existed between April 12, 2010 and April 20, 2010.

REQUEST FOR ADMISSION NO. 23:

Please admit that YOU did not include AE&P in any COMMUNICATIONS REGARDING

the procedure for performing the negative pressure tests that were performed on April 20, 2010

on the Deepwater Horizon.

REQUEST FOR ADMISSION NO. 24:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform AE&P of any results of the negative pressure tests performed during the temporary

abandonment procedures at the MACONDO WELL.

REQUEST FOR ADMISSION NO. 25:

Please admit that AE&P was not involved in the daily operations at the MACONDO WELL.

REQUEST FOR ADMISSION NO. 26:

Please admit that AE&P did not make operational decisions REGARDING the MACONDO

WELL.

REQUEST FOR ADMISSION NO. 27:

Please admit that during the period of January 1, 2010 to the explosion on the Deepwater

Horizon on April 20, 2010, YOU did not inform AE&P of changes to YOUR personnel

involved with the MACONDO WELL.

                                              10
A/74044467.1
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 61 of 148




REQUEST FOR ADMISSION NO. 28:

Please admit that YOU had sole responsibility to determine BP personnel issues with respect to

MACONDO WELL design and operations.

REQUEST FOR ADMISSION NO. 29:

Please admit that AE&P had no obligation to monitor well activity on INSITE Anywhere,

including on April 20, 2010.

REQUEST FOR ADMISSION NO. 30:

Please admit that YOU had no requirement that AE&P monitor well activity on INSITE

Anywhere, including on April 20, 2010.

REQUEST FOR ADMISSION NO. 31:

Please admit that, per YOUR Guidance for Sharing of Drilling, Completion and Interventions

Information with Co-Owners [BP-HZN-2179MDL00315197-315206], YOU could not share

certain technical work with AE&P as set forth therein.



Dated: April 4, 2011


                                                    Respectfully submitted,

                                                    _/s/_Ky E. Kirby____________

                                                    Ky E. Kirby
                                                    Ky.Kirby@bingham.com
                                                    Warren Anthony Fitch
                                                    Tony.Fitch@bingham.com
                                                    BINGHAM MCCUTCHEN LLP
                                                    2020 K Street, NW
                                                    Washington, DC 20006-1806
                                                    Telephone (202) 373-6000
                                                    Facsimile (202) 373-6001

                                                    James J. Dragna
                                                    Jim.Dragna@bingham.com

                                               11
A/74044467.1
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 62 of 148




                                          BINGHAM MCCUTCHEN LLP
                                          355 South Grand Avenue
                                          Suite 4400
                                          Los Angeles, California 90071-3106
                                          Telephone (213) 680-6436
                                          Facsimile (213) 680-8636

                                          Deborah D. Kuchler, T.A. (La. Bar No.
                                          17013)
                                          Janika Polk (La. Bar No. 27608)
                                          Robert Guidry (La. Bar No. 28064)
                                          KUCHLER POLK SCHELL
                                          WEINER & RICHESON, LLC
                                          1615 Poydras Street, Suite 1300
                                          New Orleans, LA 70112

                                          ATTORNEYS FOR ANADARKO
                                          E&P COMPANY LP




                                     12
A/74044467.1
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 63 of 148




                               CERTIFICATE OF SERVICE


I hereby certify that the above and foregoing Defendant Anadarko E&P Company LP’s First

Requests for Admissions to Defendants BP America Inc., BP America Production

Company, BP Exploration & Production Inc., and B.P., P.L.C., have been served on All

Counsel by electronically uploading the same to Lexis Nexis File & Serve in accordance with

Pretrial Order No. 12, on this 4th day of April, 2011.


                                              _/s/_Ky E. Kirby____________




                                                13
A/74044467.1
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 64 of 148




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL by the                  MDL NO. 2179
OIL RIG “DEEPWATER
HORIZON” in the GULF OF                  SECTION: J
MEXICO, on
APRIL 20, 2010                           JUDGE BARBIER
                                         MAG. JUDGE SHUSHAN




THIS DOCUMENT RELATES TO ALL CASES

  DEFENDANT ANADARKO E&P COMPANY LP’S INTERROGATORIES AND
 REQUESTS FOR PRODUCTION OF DOCUMENTS TO BP AMERICA INC., BP
AMERICA PRODUCTION COMPANY, BP EXPLORATION AND PRODUCTION
               INC., B.P. P.L.C. (COLLECTIVELY, “BP”)

          Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Defendant

Anadarko E&P Company LP (“AE&P”) through undersigned Counsel, requests that Defendant

BP answer the following interrogatory and request for production of documents (collectively

“Requests”) under oath in accordance with the following Instructions and Definitions, within

thirty (30) days hereof, at the offices of Bingham McCutchen LLP, 355 South Grand Avenue,

Suite 4400, Los Angeles, California 90071-3106, or at such other time and place as may be

agreed upon by counsel for the aforesaid parties.

                                      INSTRUCTIONS

          (a)   Pursuant to Rule 26(e) of the Federal Rules of Civil Procedure, these requests

are continuing in nature so that if, after answering, YOU acquire additional responsive

knowledge or information or determine that an answer YOU provided was false, incomplete, or

misleading, YOU are to serve supplemental or amended answers as soon as reasonably



A/74046907.1
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 65 of 148




possible after acquiring such additional knowledge or information.                    Furthermore,

DOCUMENTS or ELECTRONICALLY STORED INFORMATION (“ESI”) prepared prior to

or subsequent to the period covered by these requests, but which nonetheless relate or refer

thereto, are to be included in YOUR response.

          (b)   If YOU allege that any Request is in any manner ambiguous, YOU are

instructed to DESCRIBE in detail the reasons for YOUR allegations, including but not limited

to, each interpretation to which YOU allege the specific request for discovery is subject.

                                        DEFINITIONS

As used herein, the following terms are defined as follows:

          (c)   “YOU,” “YOUR,” or “BP,” means, without limitation, BP Exploration and

Production, Inc., BP America, Inc., BP America Production Company, and BP, P.L.C.,

including its predecessors, successors, subsidiaries, departments, divisions, attorneys,

accountants, and current and former directors, officers, EMPLOYEES, agents, representatives

and PERSONS acting on its behalf.

          (d)   “PERSON” means, without limitation, any and every natural individual, each

and every association, partnership, joint venture, corporation, professional corporation, trust

and any and every other identifiable entity.

          (e)   “EMPLOYEE” means, without limitation, any current or former officer,

director, executive, manager, secretary, staff member, messenger or other PERSON who is or

was employed or subcontracted by YOU or has acted on YOUR behalf.

          (f)   “COMMUNICATION” means, without limitation, any writing transmitted

between PERSONS or any oral conversation of any kind or character, including, by way of

example and without limitation, personal conversations, telephone conversations, letters,

MEETINGS,         memoranda,       telegraphic,       telex,   COMPUTER         and      facsimile

                                                  2
A/74046907.1
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 66 of 148




COMMUNICATIONS or transmittals of DOCUMENTS, ESI (as defined in section (i)) and all

DOCUMENTS CONCERNING such writings or oral conversations. “COMMUNICATION”

as used herein specifically includes internal writings, oral conversations or MEETINGS among

the officers, board members, EMPLOYEES or other representatives of any defendant.

          (g)   “DOCUMENT” means, without limitation, the original and all non-identical

copies of all writings, including any and all drafts, alterations and modifications, changes and

amendments of any of the foregoing whether handwritten, typed, printed or otherwise

produced in any format including, but not limited to, paper or ESI. This definition also

includes, without limitation, books, records, manuals, statements, minutes, letters,

correspondence, memoranda, legal pleadings, calendars, diaries, travel records, lists, tax

returns, schedules, press releases, directives, agreements, contracts, print-outs, studies,

summaries, records of telephone conversations, telegrams, notes, reports, compilations,

notebooks, work papers, graphs, graphics, transcripts, charts, blueprints, timelines, pamphlets,

brochures, circulars, manuals, instructions, ledgers, drawings, sketches, photographs,

videotapes, film and sound reproductions, COMPUTER discs (including but not limited to,

CDs, CD-Rs, DVDs, DVD-Rest, floppy discs, hard discs and hard drives), flash drives, pen

drives, thumb drives, programming instructions, sales, advertising and promotional literature,

agreements or minutes of MEETINGS, telephone conversations or other conversation or

COMMUNICATION in YOUR possession, custody or CONTROL, or in the possession,

custody or CONTROL of YOUR predecessors, successors, officers, directors, shareholders,

EMPLOYEES, agents, representatives and attorneys. This definition also includes non-printed

matter such as voice records and reproductions, film impressions, photographs, videos,

negatives, slides, microfilms, microfiches, e-mail, and other things that DOCUMENT or record

ideas, words or impressions. The term “DOCUMENT” further includes all punch cards, tapes,

                                                3
A/74046907.1
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 67 of 148




disks, or records used in electronic data processing, together with the programming instructions

and other written materials necessary to understand or use such punch cards, tapes, disks or

other recordings, and further includes ESI (as defined in section (i)) data or data compilation in

electronic or other form that can be printed through proper programming or decoding of the

electronic or mechanical data storage facility, including metadata.

          (h)   “MEETING” means, without limitation, any assembly, convocation, encounter

or contemporaneous presence of two or more PERSONS for any purpose, whether planned or

scheduled in advance, including written exchanges through internet/web based chat, including

AOL Instant Messenger, or similar programs, electronic “bulletin board” programs, or

internet/web based video chat, including Skype, or similar programs.

          (i)   “ELECTRONICALLY STORED INFORMATION” or “ESI” means the

original (or identical duplicate when the original is not available), and any non-identical copies

(whether non-identical because of notes made on copies or attached comments, annotations,

marks, transmission notations, or highlighting of any kind) of writings and data compilations in

any form, and of every kind and description whether inscribed by mechanical, facsimile,

electronic, magnetic, digital or other means. ESI includes, by way of example only,

COMPUTER programs (whether private, commercial, or work-in progress), programming

notes or instructions, activity listings of electronic mail receipts and transmittals, output

resulting from the use of any software program, including word processing DOCUMENTS,

spreadsheets, database files, charts, graphs and outlines, electronic mail displaying full email

aliases (not merely “display names”), electronic calendars, IM logs, PBX logs, DOCUMENT

management system data, operating systems, all metadata, source code of all types, peripheral

drivers, PIF files, batch files, ASCII files, and any and all miscellaneous files and file

fragments, regardless of the media on which they reside and regardless of whether said ESI

                                                 4
A/74046907.1
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 68 of 148




consists in an active file, deleted file or fragment. ESI includes any and all items stored on

COMPUTER memories, hard disks, floppy disks, CD-ROMs, removable media such as Zip

disks, Jaz cartridges, Bernoulli Boxes and their equivalent, magnetic tapes of all types disks,

microfiche, punched cards, punched tape, COMPUTER chips, including, EPROM, PROM

RAM and ROM, on or in any other vehicle for digital data storage and transmittal. The term

ESI also includes the file, folder tabs and containers and labels appended to, or associated with,

any physical storage device associated with each original and copy.

          (j)   “COMPUTER” means, without limitation, all devices utilizing microchips to

facilitate processing, analysis, or storage of data, including micro COMPUTERS (also known

as personal COMPUTERS), laptop COMPUTERS, portable COMPUTERS, notebook

COMPUTERS, palmtop COMPUTERS (also known as personal digital assistants or PDA’s),

iPads, mini COMPUTERS and mainframe COMPUTERS.

          (k)   “CONTROL” means, without limitation, the ownership, possession, or custody

of the DOCUMENT, or the right to secure the DOCUMENT or copy thereof from any

PERSON or public and private entity having physical possession thereof.

          (l)   “RELATING TO,” or “CONCERNING,” means, without limitation, the

following concepts: discussing, describing, reflecting, dealing with, pertaining to, analyzing,

evaluating, estimating, constituting, studying, surveying, projecting, assessing, recording,

summarizing, criticizing, reporting, commenting or otherwise involving, in whole or in part.

          (m)   “IDENTIFY” and “IDENTITY” when used in reference to a PERSON means to

STATE the PERSON’S: (1) Full name; (2) Present or last known employment position,

including the employer name; (3) Job title and/or description; and (4) Contact information.

          (n)   “STATE” means, without limitation, to set forth in full and complete detail all

knowledge and information in YOUR possession, custody or control RELATING TO the

                                                 5
A/74046907.1
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 69 of 148




subject matter of the interrogatory, including without limitation the source and basis of YOUR

knowledge and information if not otherwise evident from YOUR answer to the interrogatory

and the IDENTITY of each DOCUMENT and each COMMUNICATION on which YOU rely

to any extent in making YOUR answer.

          (o)   “And” as well as “or” should be construed either disjunctively or conjunctively

so that each request is given its broadest possible application. If, for example, a request calls

for information about “A” or “B,” YOU should produce all information about A and all

information about B, as well as all information about collectively A and B. In other words,

both “and” and “or” should be read as “and/or.”

          (p)   “Each” should be construed to include the word “every,” and “every” should be

construed to include the word “each.”

          (q)   A plural noun or pronoun should be construed as a singular noun, and a singular

noun should be construed as a plural noun or pronoun, so that each request should be given its

broadest possible application.

          (r)   The use of a verb in any tense should be construed to be the use of a verb in all

other tenses so that each request should be given its broadest possible applications.

          (s)   Words of one gender shall be construed to include words of all genders so that

each request in the request for production of DOCUMENTS shall be given its broadest

possible application.

          (t)   Definitions provided herein apply to any grammatical variance of the term or

phrase defined.




                                                  6
A/74046907.1
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 70 of 148




                                INTERROGATORIES

INTERROGATORY NO. 1:

For each of AE&P’s First Requests for Admissions served on April 4, 2011 that YOU do not

unqualifiedly admit, STATE with particularity all facts which support YOUR response;

IDENTIFY all PERSONS having knowledge of such facts; and IDENTIFY all DOCUMENTS

reflecting such facts.

                    REQUEST FOR PRODUCTION OF DOCUMENTS

REQUEST FOR PRODUCTION NO. 1:

Please produce all DOCUMENTS IDENTIFIED in YOUR response to Interrogatory No. 1.



Dated: April 4, 2011                            Respectfully submitted,

                                                /s/_Ky E. Kirby_________

                                                Ky E. Kirby
                                                Ky.Kirby@bingham.com
                                                Warren Anthony Fitch
                                                Tony.Fitch@bingham.com
                                                BINGHAM MCCUTCHEN LLP
                                                2020 K Street, NW
                                                Washington, DC 20006-1806
                                                Telephone (202) 373-6000
                                                Facsimile (202) 373-6001

                                                James J. Dragna
                                                Jim.Dragna@bingham.com
                                                BINGHAM MCCUTCHEN LLP
                                                355 South Grand Avenue
                                                Suite 4400
                                                Los Angeles, California 90071-3106
                                                Telephone (213) 680-6436
                                                Facsimile (213) 680-8636

                                                Deborah D. Kuchler, T.A. (La. Bar No.
                                                17013)
                                                Janika Polk (La. Bar No. 27608)
                                                Robert Guidry (La. Bar No. 28064)

                                            7
A/74046907.1
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 71 of 148




                                         KUCHLER POLK SCHELL
                                         WEINER & RICHESON, LLC
                                         1615 Poydras Street, Suite 1300
                                         New Orleans, LA 70112

                                         ATTORNEYS FOR ANADARKO
                                         E&P COMPANY LP




                                     8
A/74046907.1
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 72 of 148




                               CERTIFICATE OF SERVICE


I hereby certify that the above and foregoing Defendant Anadarko E&P Company LP’s

Interrogatories and Requests for Production of Documents to Defendants BP America Inc.,

BP America Production Company, BP Exploration & Production Inc., and B.P., P.L.C.,

have been served on All Counsel by electronically uploading the same to Lexis Nexis File &

Serve in accordance with Pretrial Order No. 12, on this 4th day of April, 2011.


                                             ___/s/_Ky E. Kirby______________




                                                9
A/74046907.1
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 73 of 148




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL by the                  MDL NO. 2179
OIL RIG “DEEPWATER
HORIZON” in the GULF OF                  SECTION: J
MEXICO, on
APRIL 20, 2010                           JUDGE BARBIER
                                         MAG. JUDGE SHUSHAN




THIS DOCUMENT RELATES TO ALL CASES

 DEFENDANT ANADARKO PETROLEUM CORPORATION’S SECOND SET OF
INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS
   TO BP AMERICA INC., BP AMERICA PRODUCTION COMPANY, BP
EXPLORATION AND PRODUCTION INC., B.P. P.L.C. (COLLECTIVELY, “BP”)

          Pursuant to Rules 26, 33 and 34 of the Federal Rules of Civil Procedure, Defendant

Anadarko Petroleum Corporation (“Anadarko”) through undersigned Counsel, requests that

Defendant BP answer the following Interrogatories and Requests for Production of Documents

(collectively “Requests”) under oath and produce the documents specified hereinafter, in

accordance with the following Instructions and Definitions, within thirty (30) days hereof, at

the offices of Bingham McCutchen LLP, 355 South Grand Avenue, Suite 4400, Los Angeles,

California 90071-3106, or at such other time and place as may be agreed upon by counsel for

the aforesaid parties.

                                      INSTRUCTIONS

          (a)   Pursuant to Rule 26(e) of the Federal Rules of Civil Procedure, these Requests

for production are continuing in nature so that if, after answering, YOU acquire additional

responsive knowledge or information or determine that an answer YOU provided was false,



A/74024401.3
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 74 of 148




incomplete, or misleading, YOU are to serve supplemental or amended answers as soon as

reasonably possible after acquiring such additional knowledge or information. Furthermore,

DOCUMENTS or ELECTRONICALLY STORED INFORMATION (“ESI”) prepared prior to

or subsequent to the period covered by these interrogatories, but which nonetheless relate or

refer thereto, are to be included in YOUR response.

          (b)   As defined below, YOU are to produce all DOCUMENTS in YOUR

possession, custody or CONTROL.              Production of DOCUMENTS shall be in

conformance with all procedures and formats set forth by the Court.

          (c)   All ESI responses to these discovery requests shall be produced in accordance

with Pretrial Order No. 16.

          (d)   All produced DOCUMENTS shall have a legible, unique page identifier (“Bates

Number”) electronically “burned” onto each image at a location that does not obliterate,

conceal, or interfere with any information from the source DOCUMENT. No other legend or

stamp will be placed on the DOCUMENT image other than a confidentiality legend (where

applicable) redactions (consistent with the Stipulated Protective Order in this matter, or any

other protective orders agreed to in the future), and the Bates Number identified above. The

confidential legend shall be “burned” onto the DOCUMENT’S image at a location that does

not obliterate or obscure any information from the source DOCUMENT. WITH RESPECT

TO the identification of files produced in their native format, the parties shall confer on an

appropriate method for applying a unique identifier to each file produced.

          (e)   Each page image file shall be named with the unique Bates Number of the page

of DOCUMENT, followed by the extension “.TIF.” In the event the Bates Number contains a

symbol and/or character that cannot be included in a file name, the symbol and/or character

will be omitted from the file name.

                                                2
A/74024401.3
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 75 of 148




          (f)   If YOU refuse to respond to any of these Requests based on a claim of

privilege, YOU shall provide a “Privilege Log” that complies with the provisions of Pretrial

Order No. 14.

          (g)   If YOU or any of YOUR attorneys, agents, or representatives at any time had

possession or CONTROL of a DOCUMENT requested and that DOCUMENT has been lost,

destroyed, or purged or is not presently in YOUR possession, custody, or CONTROL,

IDENTIFY the DOCUMENT and DESCRIBE the circumstances surrounding the loss,

destruction, purge, or separation from YOUR possession, custody, or CONTROL, indicating

the dates that those circumstances occurred.

          (h)   If YOU allege that any request is in any manner ambiguous, YOU are instructed

to DESCRIBE in detail the reasons for YOUR allegations, including but not limited to, each

interpretation to which YOU allege the specific request for discovery is subject.

Notwithstanding any of the foregoing, YOU are instructed to respond, to the best of YOUR

ability, to the request for production and produce the DOCUMENTS requested.

                                       DEFINITIONS

As used herein, the following terms are defined as follows:

          (i)   “MACONDO WELL” means that exploratory well being drilled within the

MACONDO PROSPECT pursuant to Lease OCS-G 32306.

          (j)   “MACONDO PROSPECT” means the oil and gas prospect located within

Mississippi Canyon Block 252, abbreviated MC252 in the Gulf of Mexico, off the coast of

Louisiana, subject to Lease OCS-G 32306.

          (k)   “BOP” or “BLOWOUT PREVENTER” means, without limitation, the large

valve device(s) designed and used to ensure safety through the sealing, controlling, and



                                                3
A/74024401.3
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 76 of 148




monitoring of oil and gas wells including the associated, monitoring, warning, electronic, and

hydraulic systems.

          (l)   “YOU,” “YOUR,” or “BP,” means, without limitation, BP Exploration and

Production, Inc., BP America, Inc., BP America Production Company, and BP, P.L.C.,

including its predecessors, successors, subsidiaries, departments, divisions, attorneys,

accountants, and current and former directors, officers, EMPLOYEES, agents, representatives

and PERSONS acting on its behalf.

          (m)   “ANADARKO” means, without limitation, Anadarko Petroleum Corporation

and Anadarko E&P Company, including its predecessors, successors, subsidiaries,

departments, divisions, attorneys, accountants, and current and former directors, officers,

EMPLOYEES, agents, representatives and PERSONS acting on its behalf.

          (n)   “PERSON” means, without limitation, any and every natural individual, each

and every association, partnership, joint venture, corporation, professional corporation, trust

and any and every other identifiable entity.

          (o)   “EMPLOYEE” means, without limitation, any current or former officer,

director, executive, manager, secretary, staff member, messenger or other PERSON who is or

was employed or subcontracted by YOU or has acted on YOUR behalf.

          (p)   “COMMUNICATION” means, without limitation, any writing transmitted

between PERSONS or any oral conversation of any kind or character, including, by way of

example and without limitation, personal conversations, telephone conversations, letters,

MEETINGS,         memoranda,       telegraphic,       telex,   COMPUTER      and     facsimile

COMMUNICATIONS or transmittals of DOCUMENTS, ESI (as defined in section (s)) and all

DOCUMENTS CONCERNING such writings or oral conversations. “COMMUNICATION”



                                                  4
A/74024401.3
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 77 of 148




as used herein specifically includes internal writings, oral conversations or MEETINGS among

the officers, board members, EMPLOYEES or other representatives of any defendant.

          (q)   “DOCUMENT” means, without limitation, the original and all non-identical

copies of all writings, including any and all drafts, alterations and modifications, changes and

amendments of any of the foregoing whether handwritten, typed, printed or otherwise

produced in any format including, but not limited to, paper or ESI. This definition also

includes, without limitation, books, records, manuals, statements, minutes, letters,

correspondence, memoranda, legal pleadings, calendars, diaries, travel records, lists, tax

returns, schedules, press releases, directives, agreements, contracts, print-outs, studies,

summaries, records of telephone conversations, telegrams, notes, reports, compilations,

notebooks, work papers, graphs, graphics, transcripts, charts, blueprints, timelines, pamphlets,

brochures, circulars, manuals, instructions, ledgers, drawings, sketches, photographs,

videotapes, film and sound reproductions, COMPUTER discs (including but not limited to,

CDs, CD-Rs, DVDs, DVD-Rest, floppy discs, hard discs and hard drives), flash drives, pen

drives, thumb drives, programming instructions, sales, advertising and promotional literature,

agreements or minutes of MEETINGS, telephone conversations or other conversation or

COMMUNICATION in YOUR possession, custody or CONTROL, or in the possession,

custody or CONTROL of YOUR predecessors, successors, officers, directors, shareholders,

EMPLOYEES, agents, representatives and attorneys. This definition also includes non-printed

matter such as voice records and reproductions, film impressions, photographs, videos,

negatives, slides, microfilms, microfiches, e-mail, and other things that DOCUMENT or record

ideas, words or impressions. The term “DOCUMENT” further includes all punch cards, tapes,

disks, or records used in electronic data processing, together with the programming instructions

and other written materials necessary to understand or use such punch cards, tapes, disks or

                                                5
A/74024401.3
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 78 of 148




other recordings, and further includes ESI (as defined in section (s)) data or data compilation in

electronic or other form that can be printed through proper programming or decoding of the

electronic or mechanical data storage facility, including metadata.

          (r)   “MEETING” means, without limitation, any assembly, convocation, encounter

or contemporaneous presence of two or more PERSONS for any purpose, whether planned or

scheduled in advance, including written exchanges through internet/web based chat, including

AOL Instant Messenger, or similar programs, electronic “bulletin board” programs, or

internet/web based video chat, including Skype, or similar programs.

          (s)   “ELECTRONICALLY STORED INFORMATION” or “ESI” means the

original (or identical duplicate when the original is not available), and any non-identical copies

(whether non-identical because of notes made on copies or attached comments, annotations,

marks, transmission notations, or highlighting of any kind) of writings and data compilations in

any form, and of every kind and description whether inscribed by mechanical, facsimile,

electronic, magnetic, digital or other means. ESI includes, by way of example only,

COMPUTER programs (whether private, commercial, or work-in progress), programming

notes or instructions, activity listings of electronic mail receipts and transmittals, output

resulting from the use of any software program, including word processing DOCUMENTS,

spreadsheets, database files, charts, graphs and outlines, electronic mail displaying full email

aliases (not merely “display names”), electronic calendars, IM logs, PBX logs, DOCUMENT

management system data, operating systems, all metadata, source code of all types, peripheral

drivers, PIF files, batch files, ASCII files, and any and all miscellaneous files and file

fragments, regardless of the media on which they reside and regardless of whether said ESI

consists in an active file, deleted file or fragment. ESI includes any and all items stored on

COMPUTER memories, hard disks, floppy disks, CD-ROMs, removable media such as Zip

                                                 6
A/74024401.3
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 79 of 148




disks, Jaz cartridges, Bernoulli Boxes and their equivalent, magnetic tapes of all types,

microfiche, punched cards, punched tape, COMPUTER chips, including, EPROM, PROM

RAM and ROM, on or in any other vehicle for digital data storage and transmittal. The term

ESI also includes the file, folder tabs and containers and labels appended to, or associated with,

any physical storage device associated with each original and copy.

          (t)   “COMPUTER” means, without limitation, all devices utilizing microchips to

facilitate processing, analysis, or storage of data, including micro COMPUTERS (also known

as personal COMPUTERS), laptop COMPUTERS, portable COMPUTERS, notebook

COMPUTERS, palmtop COMPUTERS (also known as personal digital assistants or PDA’s),

iPads, mini COMPUTERS and mainframe COMPUTERS.

          (u)   “CONTROL” means, without limitation, the ownership, possession, or custody

of the DOCUMENT, or the right to secure the DOCUMENT or copy thereof from any

PERSON or public and private entity having physical possession thereof.

          (v)   “RELATING TO,” “REGARDING,” “CONCERNING,” or “WITH RESPECT

TO” means, without limitation, the following concepts: discussing, describing, reflecting,

dealing with, pertaining to, analyzing, evaluating, estimating, constituting, studying, surveying,

projecting, assessing, recording, summarizing, criticizing, reporting, commenting or otherwise

involving, in whole or in part.

          (w)   “IDENTIFY” and “IDENTITY” when used in reference to a PERSON means to

STATE the PERSON’S: (1) Full name; (2) Present or last known employment position,

including the employer name; (3) Job title and/or description; and (4) Contact information.

          (x)   “IDENTIFY” and “IDENTITY” when used WITH RESPECT TO a

COMMUNICATION other than a writing means to STATE: (1) The full name of any

PERSON who was a party to the COMMUNICATION; (2) The type of COMMUNICATION,

                                                 7
A/74024401.3
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 80 of 148




e.g., telephone conversation, letter, telegram, teletype, telecopy, written memorandum, face-to-

face conversation, or any other form; and the full name of any PERSONS participating therein,

along with the date, duration, location(s) and the substance of the COMMUNICATION.

          (y)    “DESCRIBE” means, in the case of an act, event, transaction, relationship,

thing or occurrence, to IDENTIFY dates, places, PERSONS involved, and means employed;

IDENTIFY YOUR sources of information CONCERNING such act, event, transaction, thing

or occurrence, including the date YOU received such information; IDENTIFY each PERSON

having knowledge of such act, event, transaction, thing or occurrence; and IDENTIFY each

COMMUNICATION and each DOCUMENT RELATING TO such act, event, transaction,

thing or occurrence.

          (z)    “STATE” means, without limitation, to set forth in full and complete detail all

knowledge and information in YOUR possession, custody or CONTROL RELATING TO the

subject matter of the interrogatory, including without limitation the source and basis of YOUR

knowledge and information if not otherwise evident from YOUR answer to the interrogatory

and the IDENTITY of each DOCUMENT and each COMMUNICATION on which YOU rely

to any extent in making YOUR answer.

          (aa)   “And” as well as “or” should be construed either disjunctively or conjunctively

so that each request is given its broadest possible application. If, for example, a request calls

for information about “A” or “B,” YOU should produce all information about A and all

information about B, as well as all information about collectively A and B. In other words,

both “and” and “or” should be read as “and/or.”

          (bb)   “Any” should be construed, when possible, to mean “any and all.”




                                                  8
A/74024401.3
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 81 of 148




          (cc)   “Including” is used to emphasize the type of information requested and should

not be construed as limiting the interrogatory or requests for production in any way.

“Including” should be read as “including, but not limited to.”

          (dd)   “Each” should be construed to include the word “every,” and “every” should be

construed to include the word “each.”

          (ee)   A plural noun or pronoun should be construed as a singular noun, and a singular

noun should be construed as a plural noun or pronoun, so that each request should be given its

broadest possible application.

          (ff)   The use of a verb in any tense should be construed to be the use of a verb in all

other tenses so that each request should be given its broadest possible applications.

          (gg)   Words of one gender shall be construed to include words of all genders so that

each request in the request for production of DOCUMENTS shall be given its broadest

possible application.

          (hh)   Definitions provided herein apply to any grammatical variance of the term or

phrase defined.

                                     INTERROGATORIES

INTERROGATORY NO. 26

Please IDENTIFY each COMMUNICATION YOUR EMPLOYEES had with ANADARKO,

on or before April 21, 2010, RELATING TO operations on or at the Deepwater Horizon in

connection with the MACONDO WELL. Such operations include, but are not limited to,

design, drilling, cementing, temporary abandonment, rig and BOP maintenance, audits, float

collar conversion, addressing lost circulation, bottoms up procedures, evaluating cement

composition and integrity, well monitoring, and performing and interpreting negative and

positive pressure tests; IDENTIFY all PERSONS involved in such COMMUNICATIONS and

                                                  9
A/74024401.3
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 82 of 148




DESCRIBE in detail the substance of each such COMMUNICATION and any response to or

result from such COMMUNICATION.

INTERROGATORY NO. 27:

DESCRIBE in detail any and all information provided either orally or in writing by YOUR

EMPLOYEES to ANADARKO, on or before April 21, 2010, REGARDING operations on or

at the Deepwater Horizon in connection with the MACONDO WELL.              Such operations

include, but are not limited to, design, drilling, cementing, temporary abandonment, rig and

BOP maintenance, audits, float collar conversion, addressing lost circulation, bottoms up

procedures, evaluating cement composition and integrity, well monitoring, and performing and

interpreting negative and positive pressure; IDENTIFY each of YOUR EMPLOYEES who

provided such information and the IDENTITY of the PERSON at ANADARKO to whom such

information was provided.

INTERROGATORY NO. 28:

Please describe how YOU decided what information YOU would provide to ANADARKO

RELATING TO the Deepwater Horizon or the MACONDO WELL prior to April 21, 2010.

IDENTIFY all EMPLOYEES involved in decisions RELATING TO the sharing of

information with ANADARKO.

INTERROGATORY NO. 29:

Please IDENTIFY any written or unwritten guidelines, procedures, or protocols YOU used to

determine what information CONCERNING activities RELATING TO the Deepwater

Horizon or the MACONDO WELL YOU would provide to ANADARKO. IDENTIFY who

developed these guidelines, procedures, or protocols and who was responsible for carrying

them out.



                                             10
A/74024401.3
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 83 of 148




INTERROGATORY NO. 30:

For each of Anadarko Petroleum Corporation’s First Request for Admission served on April 4,

2011 that YOU do not unqualifiedly admit, STATE with particularity all facts which support

YOUR response; IDENTIFY all PERSONS having knowledge of such facts; and IDENTIFY

all DOCUMENTS reflecting such facts.

                   REQUESTS FOR PRODUCTION OF DOCUMENTS

REQUEST FOR PRODUCTION NO. 29:

Please produce all DOCUMENTS provided by YOUR EMPLOYEES to ANADARKO prior to

April 21, 2010 RELATING TO operations on or at the Deepwater Horizon in connection with

the MACONDO WELL. Such operations include, but are not limited to, design, drilling,

cementing, temporary abandonment, rig and BOP maintenance, audits, float collar conversion,

addressing lost circulation, bottoms up procedures, evaluating cement composition and

integrity, well monitoring, and performing and interpreting negative and positive pressure tests.

REQUEST FOR PRODUCTION NO. 30:

Please produce all DOCUMENTS provided by ANADARKO to YOUR EMPLOYEES prior to

April 21, 2010 RELATING TO operations on or at the Deepwater Horizon in connection with

the MACONDO WELL. Such operations include, but are not limited to, design, drilling,

cementing, temporary abandonment, rig and BOP maintenance, audits, float collar conversion,

addressing lost circulation, bottoms up procedures, evaluating cement composition and

integrity, well monitoring, and performing and interpreting negative and positive pressure.

REQUEST FOR PRODUCTION NO. 31:

Please produce all DOCUMENTS RELATING TO COMMUNICATIONS between YOUR

EMPLOYEES and ANADARKO prior to April 21, 2010 REGARDING operations on or at the

Deepwater Horizon in connection with the MACONDO WELL. Such operations include, but

                                                11
A/74024401.3
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 84 of 148




are not limited to, design, drilling, cementing, temporary abandonment, rig and BOP

maintenance, audits, float collar conversion, addressing lost circulation, bottoms up

procedures, evaluating cement composition and integrity, well monitoring, and performing and

interpreting negative and positive pressure tests.

REQUEST FOR PRODUCTION NO. 32:

Please produce all DOCUMENTS evidencing or RELATING TO information provided by

YOUR EMPLOYEES to ANADARKO prior to April 21, 2010 REGARDING operations on or

at the Deepwater Horizon in connection with the MACONDO WELL.                   Such operations

include, but are not limited to, design, drilling, cementing, temporary abandonment, rig and

BOP maintenance, audits, float collar conversion, addressing lost circulation, bottoms up

procedures, evaluating cement composition and integrity, well monitoring, and performing and

interpreting negative and positive pressure tests.

REQUEST FOR PRODUCTION NO. 33:

Please produce any DOCUMENTS RELATING TO YOUR decisions CONCERNING

whether to provide information REGARDING the Deepwater Horizon or MACONDO WELL

to ANADARKO.

REQUEST FOR PRODUCTION NO. 34:

Please produce all DOCUMENTS IDENTIFIED in YOUR response to Interrogatory No. 30.


Dated: April 4, 2011
                                                      Respectfully submitted,

                                                      /s/_Ky E. Kirby___________

                                                      Ky E. Kirby
                                                      Ky.Kirby@bingham.com
                                                      Warren Anthony Fitch
                                                      Tony.Fitch@bingham.com
                                                      BINGHAM MCCUTCHEN LLP

                                                 12
A/74024401.3
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 85 of 148




                                          2020 K Street, NW
                                          Washington, DC 20006-1806
                                          Telephone (202) 373-6000
                                          Facsimile (202) 373-6001

                                          James J. Dragna
                                          Jim.Dragna@bingham.com
                                          BINGHAM MCCUTCHEN LLP
                                          355 South Grand Avenue
                                          Suite 4400
                                          Los Angeles, California 90071-3106
                                          Telephone (213) 680-6436
                                          Facsimile (213) 680-8636

                                          Deborah D. Kuchler, T.A. (La. Bar No.
                                          17013)
                                          Janika Polk (La. Bar No. 27608)
                                          Robert Guidry (La. Bar No. 28064)
                                          KUCHLER POLK SCHELL
                                          WEINER & RICHESON, LLC
                                          1615 Poydras Street, Suite 1300
                                          New Orleans, LA 70112

                                          ATTORNEYS FOR ANADARKO
                                          PETROLEUM CORPORATION




                                     13
A/74024401.3
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 86 of 148




                               CERTIFICATE OF SERVICE


I hereby certify that the above and foregoing Defendant Anadarko Petroleum Corporation’s

Second Set of Interrogatories and Requests for Production of Documents to Defendants BP

America Inc., BP America Production Company, BP Exploration & Production Inc., and

B.P., P.L.C., have been served on All Counsel by electronically uploading the same to Lexis

Nexis File & Serve in accordance with Pretrial Order No. 12, on this 4th day of April, 2011.


                                             ___/s/_Ky E. Kirby_________




                                               14
A/74024401.3
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 87 of 148




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL by the                MDL NO. 2179
OIL RIG “DEEPWATER
HORIZON” in the GULF OF                SECTION: J
MEXICO, on
APRIL 20, 2010                         JUDGE BARBIER
                                       MAG. JUDGE SHUSHAN




THIS DOCUMENT RELATES TO ALL CASES

  DEFENDANT ANADARKO PETROLEUM CORPORATION’S FIRST REQUESTS
   FOR ADMISSIONS TO BP AMERICA INC., BP AMERICA PRODUCTION
    COMPANY, BP EXPLORATION AND PRODUCTION INC., B.P. P.L.C.
                      (COLLECTIVELY, “BP”)


Pursuant to Rules 26 and 36 of the Federal Rules of Civil Procedure, Defendant Anadarko

Petroleum Corporation (“APC”) through undersigned Counsel, requests that Defendant BP

answer the following Requests for Admission completely and under oath, within thirty (30)

days hereof, at the offices of Bingham McCutchen LLP, 355 South Grand Avenue, Suite 4400,

Los Angeles, California 90071-3106, or at such other time and place as may be agreed upon by

counsel for the aforesaid parties.

                                      DEFINITIONS

          (a)   “MACONDO WELL” means that exploratory well being drilled within the

MACONDO PROSPECT pursuant to Lease OCS-G 32306.

          (b)   “MACONDO PROSPECT” means the oil and gas prospect located within

Mississippi Canyon Block 252, abbreviated MC252 in the Gulf of Mexico, off the coast of

Louisiana, subject to Lease OCS-G 32306.




A/74027735.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 88 of 148




          (c)   “YOU,” “YOUR,” or “BP,” means, without limitation, BP Exploration and

Production, Inc., BP America, Inc., BP America Production Company, and BP, P.L.C.,

including its predecessors, successors, subsidiaries, departments, divisions, attorneys,

accountants, and current and former directors, officers, EMPLOYEES, agents, representatives

and PERSONS acting on its behalf.

          (d)   “PERSON” means, without limitation, any and every natural individual, each

and every association, partnership, joint venture, corporation, professional corporation, trust

and any and every other identifiable entity.

          (e)   “EMPLOYEE” means, without limitation, any current or former officer,

director, executive, manager, secretary, staff member, messenger or other PERSON who is or

was employed or subcontracted by YOU or has acted on YOUR behalf.

          (f)   “REGARDING,” or “CONCERNING,” means, without limitation, the

following concepts: discussing, describing, reflecting, dealing with, pertaining to, analyzing,

evaluating, estimating, constituting, studying, surveying, projecting, assessing, recording,

summarizing, criticizing, reporting, commenting or otherwise involving, in whole or in part.

          (g)   “COMMUNICATION” means, without limitation, any writing transmitted

between PERSONS or any oral conversation of any kind or character, including, by way of

example and without limitation, personal conversations, telephone conversations, letters,

MEETINGS,         memoranda,       telegraphic,       telex,   COMPUTER       and     facsimile

COMMUNICATIONS or transmittals of DOCUMENTS, ESI (as defined in section (j)) and all

DOCUMENTS CONCERNING such writings or oral conversations. “COMMUNICATION”

as used herein specifically includes internal writings, oral conversations or MEETINGS among

the officers, board members, EMPLOYEES or other representatives of any defendant.



                                                  2
A/74027735.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 89 of 148




          (h)   “DOCUMENT” means, without limitation, the original and all non-identical

copies of all writings, including any and all drafts, alterations and modifications, changes and

amendments of any of the foregoing whether handwritten, typed, printed or otherwise

produced in any format including, but not limited to, paper or ESI. This definition also

includes, without limitation, books, records, manuals, statements, minutes, letters,

correspondence, memoranda, legal pleadings, calendars, diaries, travel records, lists, tax

returns, schedules, press releases, directives, agreements, contracts, print-outs, studies,

summaries, records of telephone conversations, telegrams, notes, reports, compilations,

notebooks, work papers, graphs, graphics, transcripts, charts, blueprints, timelines, pamphlets,

brochures, circulars, manuals, instructions, ledgers, drawings, sketches, photographs,

videotapes, film and sound reproductions, COMPUTER discs (including but not limited to,

CDs, CD-Rs, DVDs, DVD-Rest, floppy discs, hard discs and hard drives), flash drives, pen

drives, thumb drives, programming instructions, sales, advertising and promotional literature,

agreements or minutes of MEETINGS, telephone conversations or other conversation or

COMMUNICATION in YOUR possession, custody or CONTROL, or in the possession,

custody or CONTROL of YOUR predecessors, successors, officers, directors, shareholders,

EMPLOYEES, agents, representatives and attorneys. This definition also includes non-printed

matter such as voice records and reproductions, film impressions, photographs, videos,

negatives, slides, microfilms, microfiches, e-mail, and other things that DOCUMENT or record

ideas, words or impressions. The term “DOCUMENT” further includes all punch cards, tapes,

disks, or records used in electronic data processing, together with the programming instructions

and other written materials necessary to understand or use such punch cards, tapes, disks or

other recordings, and further includes ESI (as defined in section (j)) data or data compilation in



                                                 3
A/74027735.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 90 of 148




electronic or other form that can be printed through proper programming or decoding of the

electronic or mechanical data storage facility, including metadata.

          (i)   “MEETING” means, without limitation, any assembly, convocation, encounter

or contemporaneous presence of two or more PERSONS for any purpose, whether planned or

scheduled in advance, including written exchanges through internet/web based chat, including

AOL Instant Messenger, or similar programs, electronic “bulletin board” programs, or

internet/web based video chat, including Skype, or similar programs.

          (j)   “ELECTRONICALLY STORED INFORMATION” or “ESI” means the

original (or identical duplicate when the original is not available), and any non-identical copies

(whether non-identical because of notes made on copies or attached comments, annotations,

marks, transmission notations, or highlighting of any kind) of writings and data compilations in

any form, and of every kind and description whether inscribed by mechanical, facsimile,

electronic, magnetic, digital or other means.        ESI includes, by way of example only,

COMPUTER programs (whether private, commercial, or work-in progress), programming

notes or instructions, activity listings of electronic mail receipts and transmittals, output

resulting from the use of any software program, including word processing DOCUMENTS,

spreadsheets, database files, charts, graphs and outlines, electronic mail displaying full email

aliases (not merely “display names”), electronic calendars, IM logs, PBX logs, DOCUMENT

management system data, operating systems, all metadata, source code of all types, peripheral

drivers, PIF files, batch files, ASCII files, and any and all miscellaneous files and file

fragments, regardless of the media on which they reside and regardless of whether said ESI

consists in an active file, deleted file or fragment. ESI includes any and all items stored on

COMPUTER memories, hard disks, floppy disks, CD-ROMs, removable media such as Zip

disks, Jaz cartridges, Bernoulli Boxes and their equivalent, magnetic tapes of all types disks,

                                                 4
A/74027735.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 91 of 148




microfiche, punched cards, punched tape, COMPUTER chips, including, EPROM, PROM

RAM and ROM, on or in any other vehicle for digital data storage and transmittal. The term

ESI also includes the file, folder tabs and containers and labels appended to, or associated with,

any physical storage device associated with each original and copy.

          (k)   “COMPUTER” means, without limitation, all devices utilizing microchips to

facilitate processing, analysis, or storage of data, including micro COMPUTERS (also known

as personal COMPUTERS), laptop COMPUTERS, portable COMPUTERS, notebook

COMPUTERS, palmtop COMPUTERS (also known as personal digital assistants or PDA’s),

iPads, mini COMPUTERS and mainframe COMPUTERS.

          (l)   “CONTROL” means, without limitation, the ownership, possession, or custody

of the DOCUMENT, or the right to secure the DOCUMENT or copy thereof from any

PERSON or public and private entity having physical possession thereof.

          (m)   “And” as well as “or” should be construed either disjunctively or conjunctively

so that each request is given its broadest possible application. If, for example, a request calls

for information about “A” or “B,” YOU should produce all information about A and all

information about B, as well as all information about collectively A and B. In other words,

both “and” and “or” should be read as “and/or.”

          (n)   “Any” should be construed, when possible, to mean “any and all.”

          (o)   “Including” is used to emphasize the type of information requested and should

not be construed as limiting the interrogatory or requests for production in any way.

“Including” should be read as “including, but not limited to.”

          (p)   “Each” should be construed to include the word “every,” and “every” should be

construed to include the word “each.”



                                                  5
A/74027735.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 92 of 148




          (q)   A plural noun or pronoun should be construed as a singular noun, and a singular

noun should be construed as a plural noun or pronoun, so that each request should be given its

broadest possible application.

          (r)   The use of a verb in any tense should be construed to be the use of a verb in all

other tenses so that each request should be given its broadest possible applications.

          (s)   Words of one gender shall be construed to include words of all genders so that

each request in the request for production of DOCUMENTS shall be given its broadest

possible application.

          (t)   Definitions provided herein apply to any grammatical variance of the term or

phrase defined.

                                 REQUESTS FOR ADMISSION

REQUEST FOR ADMISSION NO. 1:

Please admit that APC personnel never visited the Marinas or Deepwater Horizon rigs during

the drilling of the MACONDO WELL.

REQUEST FOR ADMISSION NO. 2:

Please admit that APC did not participate in developing the cement design for the MACONDO

WELL production casing.

REQUEST FOR ADMISSION NO. 3:

Please admit that APC did not participate in approving the cement design for the MACONDO

WELL production casing.

REQUEST FOR ADMISSION NO. 4:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform APC that in Halliburton’s April 15, 2010 MACONDO WELL production casing



                                                 6
A/74027735.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 93 of 148




OptiCem report, Halliburton advised using twenty-one (21) centralizers on the production

casing at the MACONDO WELL.

REQUEST FOR ADMISSION NO. 5:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform APC that Halliburton had run an OptiCem model for the MACONDO WELL

production casing cement job that concluded the use of seven (7) centralizers would lead to a

severe gas flow problem.

REQUEST FOR ADMISSION NO. 6:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform APC of the results of any of the tests run by Halliburton in connection with the

MACONDO WELL production casing cement job.

REQUEST FOR ADMISSION NO. 7:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform APC that any stability tests run by Halliburton in connection the MACONDO

WELL production casing cement job had failed.

REQUEST FOR ADMISSION NO. 8:

Please admit that prior to pumping cement for the production casing at the MACONDO WELL

YOU did not review any cement lab test reports that showed the cement used would be stable.

REQUEST FOR ADMISSION NO. 9:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform APC of YOUR decision not to spot heavy mud in the rat hole prior to pumping the

cement for the MACONDO WELL production casing.




                                              7
A/74027735.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 94 of 148




REQUEST FOR ADMISSION NO. 10:

Please admit that YOU did not inform APC of YOUR planned procedure for cementing the

MACONDO WELL production casing in advance of the pumping of the cement for the

MACONDO WELL production casing.

REQUEST FOR ADMISSION NO. 11:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform APC of YOUR decision to violate YOUR own internal guidance policy that

requires pumping annular cement 1,000 feet above the pay zone unless a cement evaluation is

performed.

REQUEST FOR ADMISSION NO. 12:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform APC that a Cement Bond Log was not run on the MACONDO WELL production

casing cement.

REQUEST FOR ADMISSION NO. 13:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform APC of YOUR decision to pump the MACONDO WELL production casing cement

without reviewing any cement lab results to verify foam stability.

REQUEST FOR ADMISSION NO. 14:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform APC of YOUR decision to resume well operations within sixteen (16) hours of

pumping the cement for the MACONDO WELL production casing.

REQUEST FOR ADMISSION NO. 15:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform APC that 450 barrels of 16 ppg lost circulation material pill consisting of Form-a-

                                                8
A/74027735.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 95 of 148




Set and Form-a Squeeze was used as a spacer material during the temporary abandonment

process at the MACONDO WELL.

REQUEST FOR ADMISSION NO. 16:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform APC of the decision to set the surface cement plug in seawater at approximately

3,300 feet below the mudline.

REQUEST FOR ADMISSION NO. 17:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform APC about the decision to set the Lockdown Sleeve after displacing approximately

3,300 feet of mud with seawater below the mud line.

REQUEST FOR ADMISSION NO. 18:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform APC of any of YOUR planned operational procedures for temporary abandonment

of the MACONDO WELL between April 12, 2010 and April 20, 2010.

REQUEST FOR ADMISSION NO. 19:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform APC of any changes YOU made to the planned operational procedures for

temporary abandonment of the MACONDO WELL between April 12, 2010 and April 20,

2010.

REQUEST FOR ADMISSION NO. 20:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform APC that YOU did not intend to follow the April 16, 2010 MMS approved APM

for temporary abandonment of the MACONDO WELL.



                                              9
A/74027735.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 96 of 148




REQUEST FOR ADMISSION NO. 21:

Please admit that APC was not involved in developing any of the temporary abandonment

plans for the MACONDO WELL which existed between April 12, 2010 and April 20, 2010.

REQUEST FOR ADMISSION NO. 22:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not provide APC with any of the temporary abandonment operational procedures for the

MACONDO WELL which existed between April 12, 2010 and April 20, 2010.

REQUEST FOR ADMISSION NO. 23:

Please admit that YOU did not include APC in any COMMUNICATIONS REGARDING the

procedure for performing the negative pressure tests that were performed on April 20, 2010 on

the Deepwater Horizon.

REQUEST FOR ADMISSION NO. 24:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform APC of any results of the negative pressure tests performed during the temporary

abandonment procedures at the MACONDO WELL.

REQUEST FOR ADMISSION NO. 25:

Please admit that APC was not involved in the daily operations at the MACONDO WELL.

REQUEST FOR ADMISSION NO. 25:

Please admit that APC did not make operational decisions REGARDING the MACONDO

WELL.

REQUEST FOR ADMISSION NO. 27:

Please admit that during the period of January 1, 2010 to the explosion on the Deepwater

Horizon on April 20, 2010, YOU did not inform APC of changes to YOUR personnel involved

with the MACONDO WELL.

                                              10
A/74027735.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 97 of 148




REQUEST FOR ADMISSION NO. 28:

Please admit that YOU had sole responsibility to determine BP personnel issues with respect to

MACONDO WELL design and operations.

REQUEST FOR ADMISSION NO. 29:

Please admit that APC had no obligation to monitor well activity on INSITE Anywhere,

including on April 20, 2010.

REQUEST FOR ADMISSION NO. 30:

Please admit that YOU had no requirement that APC monitor well activity on INSITE

Anywhere, including on April 20, 2010.

REQUEST FOR ADMISSION NO. 31:

Please admit that, per YOUR Guidance for Sharing of Drilling, Completion and Interventions

Information with Co-Owners [BP-HZN-2179MDL00315197-315206], YOU could not share

certain technical work with APC as set forth therein.



Dated: April 4, 2011


                                                    Respectfully submitted,

                                                    __/s/_Ky E. Kirby____________

                                                    Ky E. Kirby
                                                    Ky.Kirby@bingham.com
                                                    Warren Anthony Fitch
                                                    Tony.Fitch@bingham.com
                                                    BINGHAM MCCUTCHEN LLP
                                                    2020 K Street, NW
                                                    Washington, DC 20006-1806
                                                    Telephone (202) 373-6000
                                                    Facsimile (202) 373-6001

                                                    James J. Dragna
                                                    Jim.Dragna@bingham.com

                                               11
A/74027735.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 98 of 148




                                          BINGHAM MCCUTCHEN LLP
                                          355 South Grand Avenue
                                          Suite 4400
                                          Los Angeles, California 90071-3106
                                          Telephone (213) 680-6436
                                          Facsimile (213) 680-8636

                                          Deborah D. Kuchler, T.A. (La. Bar No.
                                          17013)
                                          Janika Polk (La. Bar No. 27608)
                                          Robert Guidry (La. Bar No. 28064)
                                          KUCHLER POLK SCHELL
                                          WEINER & RICHESON, LLC
                                          1615 Poydras Street, Suite 1300
                                          New Orleans, LA 70112

                                          ATTORNEYS FOR ANADARKO
                                          PETROLEUM CORPORATION




                                     12
A/74027735.2
  Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 99 of 148




                               CERTIFICATE OF SERVICE


I hereby certify that the above and foregoing Defendant Anadarko Petroleum Corporation’s

First Requests for Admissions to Defendants BP America Inc., BP America Production

Company, BP Exploration & Production Inc., and B.P., P.L.C., have been served on All

Counsel by electronically uploading the same to Lexis Nexis File & Serve in accordance with

Pretrial Order No. 12, on this 4th day of April, 2011.


                                              _/s/_Ky E. Kirby____________




                                                13
A/74027735.2
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 100 of 148




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL by the                  MDL NO. 2179
OIL RIG “DEEPWATER
HORIZON” in the GULF OF                  SECTION: J
MEXICO, on
APRIL 20, 2010                           JUDGE BARBIER
                                         MAG. JUDGE SHUSHAN


THIS DOCUMENT RELATES TO ALL CASES

       DEFENDANT MOEX OFFSHORE 2007 LLC’S SECOND SET OF
INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS
   TO BP AMERICA INC., BP AMERICA PRODUCTION COMPANY, BP
EXPLORATION AND PRODUCTION INC., B.P. P.L.C. (COLLECTIVELY, “BP”)

          Pursuant to Rules 26, 33 and 34 of the Federal Rules of Civil Procedure, Defendant

MOEX Offshore 2007 LLC through undersigned Counsel, requests that Defendant BP answer

the following Interrogatories and Requests for Production of Documents (collectively

”Requests”) under oath and produce the documents specified hereinafter, in accordance with

the following Instructions and Definitions, within thirty (30) days hereof, at the offices of

Bingham McCutchen LLP, 355 South Grand Avenue, Suite 4400, Los Angeles, California

90071-3106, or at such other time and place as may be agreed upon by counsel for the

aforesaid parties.

                                      INSTRUCTIONS

          (a)   Pursuant to Rule 26(e) of the Federal Rules of Civil Procedure, these Requests

are continuing in nature so that if, after answering, YOU acquire additional responsive

knowledge or information or determine that an answer YOU provided was false, incomplete, or

misleading, YOU are to serve supplemental or amended answers as soon as reasonably

possible after acquiring such additional knowledge or information.               Furthermore,


A/74040204.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 101 of 148




DOCUMENTS or ELECTRONICALLY STORED INFORMATION (“ESI”) prepared prior to

or subsequent to the period covered by these Requests, but which nonetheless relate or refer

thereto, are to be included in YOUR response.

          (b)   As defined below, YOU are to produce all DOCUMENTS in YOUR

possession, custody or CONTROL.              Production of DOCUMENTS shall be in

conformance with all procedures and formats set forth by the Court.

          (c)   All ESI responses to these discovery requests shall be produced in accordance

with Pretrial Order No. 16.

          (d)   All produced DOCUMENTS shall have a legible, unique page identifier (“Bates

Number”) electronically “burned” onto each image at a location that does not obliterate,

conceal, or interfere with any information from the source DOCUMENT. No other legend or

stamp will be placed on the DOCUMENT image other than a confidentiality legend (where

applicable) redactions (consistent with the Stipulated Protective Order in this matter, or any

other protective orders agreed to in the future), and the Bates Number identified above. The

confidential legend shall be “burned” onto the DOCUMENT’S image at a location that does

not obliterate or obscure any information from the source DOCUMENT. WITH RESPECT

TO the identification of files produced in their native format, the parties shall confer on an

appropriate method for applying a unique identifier to each file produced.

          (e)   Each page image file shall be named with the unique Bates Number of the page

of DOCUMENT, followed by the extension “.TIF.” In the event the Bates Number contains a

symbol and/or character that cannot be included in a file name, the symbol and/or character

will be omitted from the file name.




                                                2
A/74040204.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 102 of 148




          (f)   If YOU refuse to respond to any of these Requests based on a claim of

privilege, YOU shall provide a “Privilege Log” that complies with the provisions of Pretrial

Order No. 14.

          (g)   If YOU or any of YOUR attorneys, agents, or representatives at any time had

possession or CONTROL of a DOCUMENT requested and that DOCUMENT has been lost,

destroyed, or purged or is not presently in YOUR possession, custody, or CONTROL,

IDENTIFY the DOCUMENT and DESCRIBE the circumstances surrounding the loss,

destruction, purge, or separation from YOUR possession, custody, or CONTROL, indicating

the dates that those circumstances occurred.

          (h)   If YOU allege that any request is in any manner ambiguous, YOU are instructed

to DESCRIBE in detail the reasons for YOUR allegations, including but not limited to, each

interpretation to which YOU allege the specific request for discovery is subject.

Notwithstanding any of the foregoing, YOU are instructed to respond, to the best of YOUR

ability, to the request for production and produce the DOCUMENTS requested.

                                       DEFINITIONS

As used herein, the following terms are defined as follows:

          (i)   “MACONDO WELL” means that exploratory well being drilled within the

MACONDO PROSPECT pursuant to Lease OCS-G 32306.

          (j)   “MACONDO PROSPECT” means the oil and gas prospect located within

Mississippi Canyon Block 252, abbreviated MC252 in the Gulf of Mexico, off the coast of

Louisiana, subject to Lease OCS-G 32306.

          (k)   “BOP” or “BLOWOUT PREVENTER” means, without limitation, the large

valve device(s) designed and used to ensure safety through the sealing, controlling, and



                                                3
A/74040204.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 103 of 148




monitoring of oil and gas wells including the associated, monitoring, warning, electronic, and

hydraulic systems.

          (l)   “YOU,” “YOUR,” or “BP,” means, without limitation, BP Exploration and

Production, Inc., BP America, Inc., BP America Production Company, and BP, P.L.C.,

including its predecessors, successors, subsidiaries, departments, divisions, attorneys,

accountants, and current and former directors, officers, EMPLOYEES, agents, representatives

and PERSONS acting on its behalf.

          (m)   “PERSON” means, without limitation, any and every natural individual, each

and every association, partnership, joint venture, corporation, professional corporation, trust

and any and every other identifiable entity.

          (n)   “EMPLOYEE” means, without limitation, any current or former officer,

director, executive, manager, secretary, staff member, messenger or other PERSON who is or

was employed or subcontracted by YOU or has acted on YOUR behalf.

          (o)   “COMMUNICATION” means, without limitation, any writing transmitted

between PERSONS or any oral conversation of any kind or character, including, by way of

example and without limitation, personal conversations, telephone conversations, letters,

MEETINGS,         memoranda,       telegraphic,       telex,   COMPUTER       and     facsimile

COMMUNICATIONS or transmittals of DOCUMENTS, ESI (as defined in section (r)) and all

DOCUMENTS CONCERNING such writings or oral conversations. “COMMUNICATION”

as used herein specifically includes internal writings, oral conversations or MEETINGS among

the officers, board members, EMPLOYEES or other representatives of any defendant.

          (p)   “DOCUMENT” means, without limitation, the original and all non-identical

copies of all writings, including any and all drafts, alterations and modifications, changes and

amendments of any of the foregoing whether handwritten, typed, printed or otherwise

                                                  4
A/74040204.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 104 of 148




produced in any format including, but not limited to, paper or ESI. This definition also

includes, without limitation, books, records, manuals, statements, minutes, letters,

correspondence, memoranda, legal pleadings, calendars, diaries, travel records, lists, tax

returns, schedules, press releases, directives, agreements, contracts, print-outs, studies,

summaries, records of telephone conversations, telegrams, notes, reports, compilations,

notebooks, work papers, graphs, graphics, transcripts, charts, blueprints, timelines, pamphlets,

brochures, circulars, manuals, instructions, ledgers, drawings, sketches, photographs,

videotapes, film and sound reproductions, COMPUTER discs (including but not limited to,

CDs, CD-Rs, DVDs, DVD-Rest, floppy discs, hard discs and hard drives), flash drives, pen

drives, thumb drives, programming instructions, sales, advertising and promotional literature,

agreements or minutes of MEETINGS, telephone conversations or other conversation or

COMMUNICATION in YOUR possession, custody or CONTROL, or in the possession,

custody or CONTROL of YOUR predecessors, successors, officers, directors, shareholders,

EMPLOYEES, agents, representatives and attorneys. This definition also includes non-printed

matter such as voice records and reproductions, film impressions, photographs, videos,

negatives, slides, microfilms, microfiches, e-mail, and other things that DOCUMENT or record

ideas, words or impressions. The term “DOCUMENT” further includes all punch cards, tapes,

disks, or records used in electronic data processing, together with the programming instructions

and other written materials necessary to understand or use such punch cards, tapes, disks or

other recordings, and further includes ESI (as defined in section (r)) data or data compilation in

electronic or other form that can be printed through proper programming or decoding of the

electronic or mechanical data storage facility, including metadata.

          (q)   “MEETING” means, without limitation, any assembly, convocation, encounter

or contemporaneous presence of two or more PERSONS for any purpose, whether planned or

                                                 5
A/74040204.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 105 of 148




scheduled in advance, including written exchanges through internet/web based chat, including

AOL Instant Messenger, or similar programs, electronic “bulletin board” programs, or

internet/web based video chat, including Skype, or similar programs.

          (r)   “ELECTRONICALLY STORED INFORMATION” or “ESI” means the

original (or identical duplicate when the original is not available), and any non-identical copies

(whether non-identical because of notes made on copies or attached comments, annotations,

marks, transmission notations, or highlighting of any kind) of writings and data compilations in

any form, and of every kind and description whether inscribed by mechanical, facsimile,

electronic, magnetic, digital or other means. ESI includes, by way of example only,

COMPUTER programs (whether private, commercial, or work-in progress), programming

notes or instructions, activity listings of electronic mail receipts and transmittals, output

resulting from the use of any software program, including word processing DOCUMENTS,

spreadsheets, database files, charts, graphs and outlines, electronic mail displaying full email

aliases (not merely “display names”), electronic calendars, IM logs, PBX logs, DOCUMENT

management system data, operating systems, all metadata, source code of all types, peripheral

drivers, PIF files, batch files, ASCII files, and any and all miscellaneous files and file

fragments, regardless of the media on which they reside and regardless of whether said ESI

consists in an active file, deleted file or fragment. ESI includes any and all items stored on

COMPUTER memories, hard disks, floppy disks, CD-ROMs, removable media such as Zip

disks, Jaz cartridges, Bernoulli Boxes and their equivalent, magnetic tapes of all types disks,

microfiche, punched cards, punched tape, COMPUTER chips, including, EPROM, PROM

RAM and ROM, on or in any other vehicle for digital data storage and transmittal. The term

ESI also includes the file, folder tabs and containers and labels appended to, or associated with,

any physical storage device associated with each original and copy.

                                                 6
A/74040204.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 106 of 148




          (s)   “COMPUTER” means, without limitation, all devices utilizing microchips to

facilitate processing, analysis, or storage of data, including micro COMPUTERS (also known

as personal COMPUTERS), laptop COMPUTERS, portable COMPUTERS, notebook

COMPUTERS, palmtop COMPUTERS (also known as personal digital assistants or PDA’s),

iPads, mini COMPUTERS and mainframe COMPUTERS.

          (t)   “CONTROL” means, without limitation, the ownership, possession, or custody

of the DOCUMENT, or the right to secure the DOCUMENT or copy thereof from any

PERSON or public and private entity having physical possession thereof.

          (s)   “MOEX OFFSHORE” means, without limitation, MOEX Offshore 2007, LLC

including its predecessors, successors, subsidiaries, departments, divisions, attorneys,

accountants, and current and former directors, officers, EMPLOYEES, agents, representatives

and PERSONS acting on its behalf.

          (t)   “MOEX USA” means, without limitation, MOEX USA Corporation including

its predecessors, successors, subsidiaries, departments, divisions, attorneys, accountants, and

current and former directors, officers, EMPLOYEES, agents, representatives and PERSONS

acting on its behalf.

          (u)   “RELATING TO,” “REGARDING,” “CONCERNING,” or “WITH RESPECT

TO” means, without limitation, the following concepts: discussing, describing, reflecting,

dealing with, pertaining to, analyzing, evaluating, estimating, constituting, studying, surveying,

projecting, assessing, recording, summarizing, criticizing, reporting, commenting or otherwise

involving, in whole or in part.

          (v)   “IDENTIFY” and “IDENTITY” when used in reference to a PERSON means to

STATE the PERSON’S: (1) Full name; (2) Present or last known employment position,

including the employer name; (3) Job title and/or description; and (4) Contact information.

                                                 7
A/74040204.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 107 of 148




          (w)   “IDENTIFY” and “IDENTITY” when used WITH RESPECT TO a

COMMUNICATION other than a writing means to STATE: (1) The full name of any

PERSON who was a party to the COMMUNICATION; (2) The type of COMMUNICATION,

e.g., telephone conversation, letter, telegram, teletype, telecopy, written memorandum, face-to-

face conversation, or any other form; and the full name of any PERSONS participating therein,

along with the date, duration, location(s) and the substance of the COMMUNICATION.

          (x)   “DESCRIBE” means, in the case of an act, event, transaction, relationship,

thing or occurrence, to IDENTIFY dates, places, PERSONS involved, and means employed;

IDENTIFY YOUR sources of information CONCERNING such act, event, transaction, thing

or occurrence, including the date YOU received such information; IDENTIFY each PERSON

having knowledge of such act, event, transaction, thing or occurrence; and IDENTIFY each

COMMUNICATION and each DOCUMENT RELATING TO such act, event, transaction,

thing or occurrence.

          (y)   “STATE” means, without limitation, to set forth in full and complete detail all

knowledge and information in YOUR possession, custody or CONTROL RELATING TO the

subject matter of the interrogatory, including without limitation the source and basis of YOUR

knowledge and information if not otherwise evident from YOUR answer to the interrogatory

and the IDENTITY of each DOCUMENT and each COMMUNICATION on which YOU rely

to any extent in making YOUR answer.

          (z)   “And” as well as “or” should be construed either disjunctively or conjunctively

so that each request is given its broadest possible application. If, for example, a request calls

for information about “A” or “B,” YOU should produce all information about A and all

information about B, as well as all information about collectively A and B. In other words,

both “and” and “or” should be read as “and/or.”

                                                  8
A/74040204.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 108 of 148




          (aa)   “Any” should be construed, when possible, to mean “any and all.”

          (bb)   “Including” is used to emphasize the type of information requested and should

not be construed as limiting the interrogatory or requests for production in any way.

“Including” should be read as “including, but not limited to.”

          (cc)   “Each” should be construed to include the word “every,” and “every” should be

construed to include the word “each.”

          (dd)   A plural noun or pronoun should be construed as a singular noun, and a singular

noun should be construed as a plural noun or pronoun, so that each request should be given its

broadest possible application.

          (ee)   The use of a verb in any tense should be construed to be the use of a verb in all

other tenses so that each request should be given its broadest possible applications.

          (ff)   Words of one gender shall be construed to include words of all genders so that

each request in the request for production of DOCUMENTS shall be given its broadest

possible application.

          (gg)   Definitions provided herein apply to any grammatical variance of the term or

phrase defined.

                                     INTERROGATORIES

INTERROGATORY NO. 26

Please IDENTIFY each COMMUNICATION YOUR EMPLOYEES had with MOEX

OFFSHORE or MOEX USA, on or before April 21, 2010, RELATING TO operations on or at

the Deepwater Horizon in connection with the MACONDO WELL. Such operations include,

but are not limited to, design, drilling, cementing, temporary abandonment, rig and BOP

maintenance, audits, float collar conversion, addressing lost circulation, bottoms up

procedures, evaluating cement composition and integrity, well monitoring, and performing and

                                                  9
A/74040204.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 109 of 148




interpreting negative and positive pressure tests; IDENTIFY all PERSONS involved in such

COMMUNICATIONS            and   DESCRIBE      in   detail   the   substance   of   each   such

COMMUNICATION and any response to or result from such COMMUNICATION.

INTERROGATORY NO. 27:

DESCRIBE in detail any and all information provided either orally or in writing by YOUR

EMPLOYEES to MOEX OFFSHORE or MOEX USA, on or before April 21, 2010,

REGARDING operations on or at the Deepwater Horizon in connection with the MACONDO

WELL. Such operations include, but are not limited to, design, drilling, cementing, temporary

abandonment, rig and BOP maintenance, audits, float collar conversion, addressing lost

circulation, bottoms up procedures, evaluating cement composition and integrity, well

monitoring, and performing and interpreting negative and positive pressure; IDENTIFY each

of YOUR EMPLOYEES who provided such information and the IDENTITY of the PERSON

at MOEX OFFSHORE or MOEX USA to whom such information was provided.

INTERROGATORY NO. 28:

Please describe how YOU decided what information YOU would provide to MOEX

OFFSHORE or MOEX USA RELATING TO the Deepwater Horizon or the MACONDO

WELL. IDENTIFY all EMPLOYEES involved in decisions RELATING TO the sharing of

information with MOEX OFFSHORE or MOEX USA.

INTERROGATORY NO. 29:

Please IDENTIFY any written or unwritten guidelines, procedures, or protocols YOU used to

determine what information CONCERNING activities RELATING TO the Deepwater

Horizon or the MACONDO WELL YOU would provide to MOEX OFFSHORE or MOEX

USA. IDENTIFY who developed these guidelines, procedures, or protocols and who was

responsible for carrying them out.

                                              10
A/74040204.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 110 of 148




INTERROGATORY NO. 30:

For each of MOEX OFFSHORE 2007 LLC’s First Request for Admissions served on April 4,

2011, that YOU do not unqualifiedly admit, STATE with particularity all facts which support

YOUR response; IDENTIFY all PERSONS having knowledge of such facts; and IDENTIFY

all DOCUMENTS reflecting such facts.

                         REQUESTS FOR PRODUCTION OF DOCUMENTS

REQUEST FOR PRODUCTION NO. 29:

Please produce all DOCUMENTS provided by YOUR EMPLOYEES to MOEX OFFSHORE

or MOEX USA prior to April 21, 2010 RELATING TO operations on or at the Deepwater

Horizon in connection with the MACONDO WELL. Such operations include, but are not

limited to, design, drilling, cementing, temporary abandonment, rig and BOP maintenance,

audits, float collar conversion, addressing lost circulation, bottoms up procedures, evaluating

cement composition and integrity, well monitoring, and performing and interpreting negative

and positive pressure tests

REQUEST FOR PRODUCTION NO. 30:

Please produce all DOCUMENTS provided by MOEX OFFSHORE or MOEX USA to YOUR

EMPLOYEES prior to April 21, 2010 RELATING TO operations on or at the Deepwater

Horizon in connection with the MACONDO WELL. Such operations include, but are not

limited to, design, drilling, cementing, temporary abandonment, rig and BOP maintenance,

audits, float collar conversion, addressing lost circulation, bottoms up procedures, evaluating

cement composition and integrity, well monitoring, and performing and interpreting negative

and positive pressure.

REQUEST FOR PRODUCTION NO. 31:

Please produce all DOCUMENTS RELATING TO COMMUNICATIONS between YOUR

                                               11
A/74040204.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 111 of 148




EMPLOYEES and MOEX OFFSHORE or MOEX USA prior to April 21, 2010 REGARDING

operations on or at the Deepwater Horizon in connection with the MACONDO WELL. Such

operations include, but are not limited to, design, drilling, cementing, temporary abandonment,

rig and BOP maintenance, audits, float collar conversion, addressing lost circulation, bottoms

up procedures, evaluating cement composition and integrity, well monitoring, and performing

and interpreting negative and positive pressure tests.

REQUEST FOR PRODUCTION NO. 32:

Please produce all DOCUMENTS evidencing or RELATING TO information provided by

YOUR EMPLOYEES to MOEX OFFSHORE or MOEX USA prior to April 21, 2010

REGARDING operations on or at the Deepwater Horizon in connection with the MACONDO

WELL. Such operations include, but are not limited to, design, drilling, cementing, temporary

abandonment, rig and BOP maintenance, audits, float collar conversion, addressing lost

circulation, bottoms up procedures, evaluating cement composition and integrity, well

monitoring, and performing and interpreting negative and positive pressure tests.

REQUEST FOR PRODUCTION NO. 33:

Please produce any DOCUMENTS RELATING TO YOUR decisions CONCERNING

whether to provide information REGARDING the Deepwater Horizon or MACONDO WELL

to MOEX OFFSHORE or MOEX USA.

REQUEST FOR PRODUCTION NO. 34:

Please produce all DOCUMENTS IDENTIFIED in YOUR response to Interrogatory No. 30.


Dated: April 4, 2011
                                                         Respectfully submitted,

                                                         /s/_Ky E. Kirby____________

                                                         Ky E. Kirby

                                                12
A/74040204.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 112 of 148




                                         Ky.Kirby@bingham.com
                                         Warren Anthony Fitch
                                         Tony.Fitch@bingham.com
                                         BINGHAM MCCUTCHEN LLP
                                         2020 K Street, NW
                                         Washington, DC 20006-1806
                                         Telephone (202) 373-6000
                                         Facsimile (202) 373-6001

                                         James J. Dragna
                                         Jim.Dragna@bingham.com
                                         BINGHAM MCCUTCHEN LLP
                                         355 South Grand Avenue
                                         Suite 4400
                                         Los Angeles, California 90071-3106
                                         Telephone (213) 680-6436
                                         Facsimile (213) 680-8636

                                         Deborah D. Kuchler, T.A. (La. Bar No.
                                         17013)
                                         Janika Polk (La. Bar No. 27608)
                                         Robert Guidry (La. Bar No. 28064)
                                         KUCHLER POLK SCHELL
                                         WEINER & RICHESON, LLC
                                         1615 Poydras Street, Suite 1300
                                         New Orleans, LA 70112

                                         ATTORNEYS FOR MOEX
                                         OFFSHORE 2007 LLC




                                    13
A/74040204.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 113 of 148




                               CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing Defendant MOEX Offshore 2007 LLC’s Second

Set of Interrogatories and Requests for Production of Documents to Defendants BP America

Inc., BP America Production Company, BP Exploration & Production Inc., and B.P.,

P.L.C., have been served on All Counsel by electronically uploading the same to Lexis Nexis

File & Serve in accordance with Pretrial Order No. 12, on this 4th day of April, 2011.


                                             /s/_Ky E. Kirby__________




                                               14
A/74040204.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 114 of 148




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL by the                  MDL NO. 2179
OIL RIG “DEEPWATER
HORIZON” in the GULF OF                  SECTION: J
MEXICO, on
APRIL 20, 2010                           JUDGE BARBIER
                                         MAG. JUDGE SHUSHAN


THIS DOCUMENT RELATES TO ALL CASES

     DEFENDANT MOEX OFFSHORE 2007 LLC’S FIRST REQUESTS FOR
ADMISSIONS TO BP AMERICA INC., BP AMERICA PRODUCTION COMPANY,
         BP EXPLORATION AND PRODUCTION INC., B.P. P.L.C.
                     (COLLECTIVELY, “BP”)

Pursuant to Rules 26 and 36 of the Federal Rules of Civil Procedure, Defendant MOEX

Offshore 2007 LLC (“MOEX OFFSHORE”) through undersigned Counsel, requests that

Defendant BP answer the following Requests for Admission completely and under oath, within

thirty (30) days hereof, at the offices of Bingham McCutchen LLP, 355 South Grand Avenue,

Suite 4400, Los Angeles, California 90071-3106, or at such other time and place as may be

agreed upon by counsel for the aforesaid parties.

                                       DEFINITIONS

          (a)   “MACONDO WELL” means that exploratory well being drilled within the

MACONDO PROSPECT pursuant to Lease OCS-G 32306.

          (b)   “MACONDO PROSPECT” means the oil and gas prospect located within

Mississippi Canyon Block 252, abbreviated MC252 in the Gulf of Mexico, off the coast of

Louisiana, subject to Lease OCS-G 32306.

          (c)   “YOU,” “YOUR,” or “BP,” means, without limitation, BP Exploration and

Production, Inc., BP America, Inc., BP America Production Company, and BP, P.L.C.,

A/74040296.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 115 of 148




including its predecessors, successors, subsidiaries, departments, divisions, attorneys,

accountants, and current and former directors, officers, EMPLOYEES, agents, representatives

and PERSONS acting on its behalf.

          (d)   “PERSON” means, without limitation, any and every natural individual, each

and every association, partnership, joint venture, corporation, professional corporation, trust

and any and every other identifiable entity.

          (e)   “EMPLOYEE” means, without limitation, any current or former officer,

director, executive, manager, secretary, staff member, messenger or other PERSON who is or

was employed or subcontracted by YOU or has acted on YOUR behalf.

          (f)   “REGARDING,” or “CONCERNING,” means, without limitation, the

following concepts: discussing, describing, reflecting, dealing with, pertaining to, analyzing,

evaluating, estimating, constituting, studying, surveying, projecting, assessing, recording,

summarizing, criticizing, reporting, commenting or otherwise involving, in whole or in part.

          (g)   “COMMUNICATION” means, without limitation, any writing transmitted

between PERSONS or any oral conversation of any kind or character, including, by way of

example and without limitation, personal conversations, telephone conversations, letters,

MEETINGS,         memoranda,       telegraphic,       telex,   COMPUTER       and     facsimile

COMMUNICATIONS or transmittals of DOCUMENTS, ESI (as defined in section (j)) and all

DOCUMENTS CONCERNING such writings or oral conversations. “COMMUNICATION”

as used herein specifically includes internal writings, oral conversations or MEETINGS among

the officers, board members, EMPLOYEES or other representatives of any defendant.

          (h)   “DOCUMENT” means, without limitation, the original and all non-identical

copies of all writings, including any and all drafts, alterations and modifications, changes and

amendments of any of the foregoing whether handwritten, typed, printed or otherwise

                                                  2
A/74040296.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 116 of 148




produced in any format including, but not limited to, paper or ESI. This definition also

includes, without limitation, books, records, manuals, statements, minutes, letters,

correspondence, memoranda, legal pleadings, calendars, diaries, travel records, lists, tax

returns, schedules, press releases, directives, agreements, contracts, print-outs, studies,

summaries, records of telephone conversations, telegrams, notes, reports, compilations,

notebooks, work papers, graphs, graphics, transcripts, charts, blueprints, timelines, pamphlets,

brochures, circulars, manuals, instructions, ledgers, drawings, sketches, photographs,

videotapes, film and sound reproductions, COMPUTER discs (including but not limited to,

CDs, CD-Rs, DVDs, DVD-Rest, floppy discs, hard discs and hard drives), flash drives, pen

drives, thumb drives, programming instructions, sales, advertising and promotional literature,

agreements or minutes of MEETINGS, telephone conversations or other conversation or

COMMUNICATION in YOUR possession, custody or CONTROL, or in the possession,

custody or CONTROL of YOUR predecessors, successors, officers, directors, shareholders,

EMPLOYEES, agents, representatives and attorneys. This definition also includes non-printed

matter such as voice records and reproductions, film impressions, photographs, videos,

negatives, slides, microfilms, microfiches, e-mail, and other things that DOCUMENT or record

ideas, words or impressions. The term “DOCUMENT” further includes all punch cards, tapes,

disks, or records used in electronic data processing, together with the programming instructions

and other written materials necessary to understand or use such punch cards, tapes, disks or

other recordings, and further includes ESI (as defined in section (j)) data or data compilation in

electronic or other form that can be printed through proper programming or decoding of the

electronic or mechanical data storage facility, including metadata.

          (i)   “MEETING” means, without limitation, any assembly, convocation, encounter

or contemporaneous presence of two or more PERSONS for any purpose, whether planned or

                                                 3
A/74040296.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 117 of 148




scheduled in advance, including written exchanges through internet/web based chat, including

AOL Instant Messenger, or similar programs, electronic “bulletin board” programs, or

internet/web based video chat, including Skype, or similar programs.

          (j)   “ELECTRONICALLY STORED INFORMATION” or “ESI” means the

original (or identical duplicate when the original is not available), and any non-identical copies

(whether non-identical because of notes made on copies or attached comments, annotations,

marks, transmission notations, or highlighting of any kind) of writings and data compilations in

any form, and of every kind and description whether inscribed by mechanical, facsimile,

electronic, magnetic, digital or other means.        ESI includes, by way of example only,

COMPUTER programs (whether private, commercial, or work-in progress), programming

notes or instructions, activity listings of electronic mail receipts and transmittals, output

resulting from the use of any software program, including word processing DOCUMENTS,

spreadsheets, database files, charts, graphs and outlines, electronic mail displaying full email

aliases (not merely “display names”), electronic calendars, IM logs, PBX logs, DOCUMENT

management system data, operating systems, all metadata, source code of all types, peripheral

drivers, PIF files, batch files, ASCII files, and any and all miscellaneous files and file

fragments, regardless of the media on which they reside and regardless of whether said ESI

consists in an active file, deleted file or fragment. ESI includes any and all items stored on

COMPUTER memories, hard disks, floppy disks, CD-ROMs, removable media such as Zip

disks, Jaz cartridges, Bernoulli Boxes and their equivalent, magnetic tapes of all types disks,

microfiche, punched cards, punched tape, COMPUTER chips, including, EPROM, PROM

RAM and ROM, on or in any other vehicle for digital data storage and transmittal. The term

ESI also includes the file, folder tabs and containers and labels appended to, or associated with,

any physical storage device associated with each original and copy.

                                                 4
A/74040296.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 118 of 148




          (k)   “COMPUTER” means, without limitation, all devices utilizing microchips to

facilitate processing, analysis, or storage of data, including micro COMPUTERS (also known

as personal COMPUTERS), laptop COMPUTERS, portable COMPUTERS, notebook

COMPUTERS, palmtop COMPUTERS (also known as personal digital assistants or PDA’s),

iPads, mini COMPUTERS and mainframe COMPUTERS.

          (l)   “CONTROL” means, without limitation, the ownership, possession, or custody

of the DOCUMENT, or the right to secure the DOCUMENT or copy thereof from any

PERSON or public and private entity having physical possession thereof.

          (m)   “And” as well as “or” should be construed either disjunctively or conjunctively

so that each request is given its broadest possible application. If, for example, a request calls

for information about “A” or “B,” YOU should produce all information about A and all

information about B, as well as all information about collectively A and B. In other words,

both “and” and “or” should be read as “and/or.”

          (n)   “Any” should be construed, when possible, to mean “any and all.”

          (o)   “Including” is used to emphasize the type of information requested and should

not be construed as limiting the interrogatory or requests for production in any way.

“Including” should be read as “including, but not limited to.”

          (p)   “Each” should be construed to include the word “every,” and “every” should be

construed to include the word “each.”

          (q)   A plural noun or pronoun should be construed as a singular noun, and a singular

noun should be construed as a plural noun or pronoun, so that each request should be given its

broadest possible application.

          (r)   The use of a verb in any tense should be construed to be the use of a verb in all

other tenses so that each request should be given its broadest possible applications.

                                                  5
A/74040296.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 119 of 148




          (s)   Words of one gender shall be construed to include words of all genders so that

each request in the request for production of DOCUMENTS shall be given its broadest

possible application.

          (t)   Definitions provided herein apply to any grammatical variance of the term or

phrase defined.

                               REQUESTS FOR ADMISSION

REQUEST FOR ADMISSION NO. 1:

Please admit that MOEX OFFSHORE personnel never visited the Marianas or Deepwater

Horizon rigs during the drilling of the MACONDO WELL.

REQUEST FOR ADMISSION NO. 2:

Please admit that MOEX OFFSHORE did not participate in developing the cement design for

the MACONDO WELL production casing.

REQUEST FOR ADMISSION NO. 3:

Please admit that MOEX OFFSHORE did not participate in approving the cement design for

the MACONDO WELL production casing.

REQUEST FOR ADMISSION NO. 4:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform MOEX OFFSHORE that in Halliburton’s April 15, 2010 MACONDO WELL

production casing OptiCem report, Halliburton advised using twenty-one (21) centralizers on

the production casing at the MACONDO WELL.

REQUEST FOR ADMISSION NO. 5:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform MOEX OFFSHORE that Halliburton had run an OptiCem model for the



                                                6
A/74040296.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 120 of 148




MACONDO WELL production casing cement job that concluded the use of seven (7)

centralizers would lead to a severe gas flow problem.

REQUEST FOR ADMISSION NO. 6:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform MOEX OFFSHORE of the results of any of the tests run by Halliburton in

connection with the MACONDO WELL production casing cement job.

REQUEST FOR ADMISSION NO. 7:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform MOEX OFFSHORE that any stability tests run by Halliburton in connection the

MACONDO WELL production casing cement job had failed.

REQUEST FOR ADMISSION NO. 8:

Please admit that prior to pumping cement for the production casing at the MACONDO WELL

YOU did not review any cement lab test reports that showed the cement used would be stable.

REQUEST FOR ADMISSION NO. 9:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform MOEX OFFSHORE of YOUR decision not to spot heavy mud in the rat hole prior to

pumping the cement for the MACONDO WELL production casing.

REQUEST FOR ADMISSION NO. 10:

Please admit that YOU did not inform MOEX OFFSHORE of YOUR planned procedure for

cementing the MACONDO WELL production casing in advance of the pumping of the cement

for the MACONDO WELL production casing.

REQUEST FOR ADMISSION NO. 11:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform MOEX OFFSHORE of YOUR decision to violate YOUR own internal guidance

                                               7
A/74040296.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 121 of 148




policy that requires pumping annular cement 1,000 feet above the pay zone unless a cement

evaluation is performed.

REQUEST FOR ADMISSION NO. 12:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform MOEX OFFSHORE that a Cement Bond Log was not run on the MACONDO

WELL production casing cement.

REQUEST FOR ADMISSION NO. 13:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform MOEX OFFSHORE of YOUR decision to pump the MACONDO WELL

production casing cement without reviewing any cement lab results to verify foam stability.

REQUEST FOR ADMISSION NO. 14:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform MOEX OFFSHORE of YOUR decision to resume well operations within sixteen

(16) hours of pumping the cement for the MACONDO WELL production casing.

REQUEST FOR ADMISSION NO. 15:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform MOEX OFFSHORE that 450 barrels of 16 ppg lost circulation material pill

consisting of Form-a-Set and Form-a Squeeze was used as a spacer material during the

temporary abandonment process at the MACONDO WELL.

REQUEST FOR ADMISSION NO. 16:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform MOEX OFFSHORE of the decision to set the surface cement plug in seawater at

approximately 3,300 feet below the mudline.



                                               8
A/74040296.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 122 of 148




REQUEST FOR ADMISSION NO. 17:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform MOEX OFFSHORE about the decision to set the Lockdown Sleeve after displacing

approximately 3,300 feet of mud with seawater below the mud line.

REQUEST FOR ADMISSION NO. 18:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform MOEX OFFSHORE of any of YOUR planned operational procedures for

temporary abandonment of the MACONDO WELL between April 12, 2010 and April 20,

2010.

REQUEST FOR ADMISSION NO. 19:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform MOEX OFFSHORE of any changes YOU made to the planned operational

procedures for temporary abandonment of the MACONDO WELL between April 12, 2010 and

April 20, 2010.

REQUEST FOR ADMISSION NO. 20:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform MOEX OFFSHORE that YOU did not intend to follow the April 16, 2010 MMS

approved APM for temporary abandonment of the MACONDO WELL.

REQUEST FOR ADMISSION NO. 21:

Please admit that MOEX OFFSHORE was not involved in developing any of the temporary

abandonment plans for the MACONDO WELL which existed between April 12, 2010 and

April 20, 2010.




                                              9
A/74040296.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 123 of 148




REQUEST FOR ADMISSION NO. 22:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not provide MOEX OFFSHORE with any of the temporary abandonment operational

procedures for the MACONDO WELL which existed between April 12, 2010 and April 20,

2010.

REQUEST FOR ADMISSION NO. 23:

Please admit that YOU did not include MOEX OFFSHORE in any COMMUNICATIONS

REGARDING the procedure for performing the negative pressure tests that were performed on

April 20, 2010 on the Deepwater Horizon.

REQUEST FOR ADMISSION NO. 24:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform MOEX OFFSHORE of any results of the negative pressure tests performed during

the temporary abandonment procedures at the MACONDO WELL.

REQUEST FOR ADMISSION NO. 25:

Please admit that MOEX OFFSHORE was not involved in the daily operations at the

MACONDO WELL.

REQUEST FOR ADMISSION NO. 26:

Please admit that MOEX OFFSHORE did not make operational decisions REGARDING the

MACONDO WELL.

REQUEST FOR ADMISSION NO. 25:

Please admit that during the period of January 1, 2010 to the explosion on the Deepwater

Horizon on April 20, 2010, YOU did not inform MOEX OFFSHORE of changes to YOUR

personnel involved with the MACONDO WELL.



                                             10
A/74040296.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 124 of 148




REQUEST FOR ADMISSION NO. 28:

Please admit that YOU had sole responsibility to determine BP personnel issues with respect to

MACONDO WELL design and operations.

REQUEST FOR ADMISSION NO. 29:

Please admit that MOEX OFFSHORE had no obligation to monitor well activity on INSITE

Anywhere, including on April 20, 2010.

REQUEST FOR ADMISSION NO. 30:

Please admit that YOU had no requirement that MOEX OFFSHORE monitor well activity on

INSITE Anywhere, including on April 20, 2010.

REQUEST FOR ADMISSION NO. 31:

Please admit that, per YOUR Guidance for Sharing of Drilling, Completion and Interventions

Information with Co-Owners [BP-HZN-2179MDL00315197-315206], YOU could not share

certain technical work with MOEX OFFSHORE as set forth therein.



Dated: April 4, 2011


                                                   Respectfully submitted,

                                                   _/s/_Ky E. Kirby____________

                                                   Ky E. Kirby
                                                   Ky.Kirby@bingham.com
                                                   Warren Anthony Fitch
                                                   Tony.Fitch@bingham.com
                                                   BINGHAM MCCUTCHEN LLP
                                                   2020 K Street, NW
                                                   Washington, DC 20006-1806
                                                   Telephone (202) 373-6000
                                                   Facsimile (202) 373-6001

                                                   James J. Dragna
                                                   Jim.Dragna@bingham.com

                                              11
A/74040296.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 125 of 148




                                                 BINGHAM MCCUTCHEN LLP
                                                 355 South Grand Avenue
                                                 Suite 4400
                                                 Los Angeles, California 90071-3106
                                                 Telephone (213) 680-6436
                                                 Facsimile (213) 680-8636

                                                 Deborah D. Kuchler, T.A. (La. Bar No.
                                                 17013)
                                                 Janika Polk (La. Bar No. 27608)
                                                 Robert Guidry (La. Bar No. 28064)
                                                 KUCHLER POLK SCHELL
                                                 WEINER & RICHESON, LLC
                                                 1615 Poydras Street, Suite 1300
                                                 New Orleans, LA 70112

                                                 ATTORNEYS FOR MOEX
                                                 OFFSHORE 2007 LLC




                             CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing Defendant MOEX Offshore 2007 LLC’S First Set

of Requests for Admissions to Defendants BP America Inc., BP America Production Com-

pany, BP Exploration & Production Inc., and B.P., P.L.C., have been served on All Counsel


                                            12
A/74040296.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 126 of 148




by electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial

Order No. 12, on this 4th day of April, 2011.


                                                _/s/_Ky E. Kirby____________




                                                 13
A/74040296.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 127 of 148




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL by the                MDL NO. 2179
OIL RIG “DEEPWATER
HORIZON” in the GULF OF                SECTION: J
MEXICO, on
APRIL 20, 2010                         JUDGE BARBIER
                                       MAG. JUDGE SHUSHAN


THIS DOCUMENT RELATES TO ALL CASES

     DEFENDANT MOEX USA CORPORATION’S FIRST REQUESTS FOR
ADMISSIONS TO BP AMERICA INC., BP AMERICA PRODUCTION COMPANY,
         BP EXPLORATION AND PRODUCTION INC., B.P. P.L.C.
                     (COLLECTIVELY, “BP”)

Pursuant to Rules 26 and 36 of the Federal Rules of Civil Procedure, Defendant MOEX USA

Corporation (“MOEX USA”) through undersigned Counsel, requests that Defendant BP

answer the following Requests for Admission completely and under oath, within thirty (30)

days hereof, at the offices of Bingham McCutchen LLP, 355 South Grand Avenue, Suite 4400,

Los Angeles, California 90071-3106, or at such other time and place as may be agreed upon by

counsel for the aforesaid parties.

                                      DEFINITIONS

          (a)   “MACONDO WELL” means that exploratory well being drilled within the

MACONDO PROSPECT pursuant to Lease OCS-G 32306.

          (b)   “MACONDO PROSPECT” means the oil and gas prospect located within

Mississippi Canyon Block 252, abbreviated MC252 in the Gulf of Mexico, off the coast of

Louisiana, subject to Lease OCS-G 32306.

          (c)   “YOU,” “YOUR,” or “BP,” means, without limitation, BP Exploration and

Production, Inc., BP America, Inc., BP America Production Company, and BP, P.L.C.,

A/74047046.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 128 of 148




including its predecessors, successors, subsidiaries, departments, divisions, attorneys,

accountants, and current and former directors, officers, EMPLOYEES, agents, representatives

and PERSONS acting on its behalf.

          (d)   “PERSON” means, without limitation, any and every natural individual, each

and every association, partnership, joint venture, corporation, professional corporation, trust

and any and every other identifiable entity.

          (e)   “EMPLOYEE” means, without limitation, any current or former officer,

director, executive, manager, secretary, staff member, messenger or other PERSON who is or

was employed or subcontracted by YOU or has acted on YOUR behalf.

          (f)   “REGARDING,” or “CONCERNING,” means, without limitation, the

following concepts: discussing, describing, reflecting, dealing with, pertaining to, analyzing,

evaluating, estimating, constituting, studying, surveying, projecting, assessing, recording,

summarizing, criticizing, reporting, commenting or otherwise involving, in whole or in part.

          (g)   “COMMUNICATION” means, without limitation, any writing transmitted

between PERSONS or any oral conversation of any kind or character, including, by way of

example and without limitation, personal conversations, telephone conversations, letters,

MEETINGS,         memoranda,       telegraphic,       telex,   COMPUTER       and     facsimile

COMMUNICATIONS or transmittals of DOCUMENTS, ESI (as defined in section (j)) and all

DOCUMENTS CONCERNING such writings or oral conversations. “COMMUNICATION”

as used herein specifically includes internal writings, oral conversations or MEETINGS among

the officers, board members, EMPLOYEES or other representatives of any defendant.

          (h)   “DOCUMENT” means, without limitation, the original and all non-identical

copies of all writings, including any and all drafts, alterations and modifications, changes and

amendments of any of the foregoing whether handwritten, typed, printed or otherwise

                                                  2
A/74047046.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 129 of 148




produced in any format including, but not limited to, paper or ESI. This definition also

includes, without limitation, books, records, manuals, statements, minutes, letters,

correspondence, memoranda, legal pleadings, calendars, diaries, travel records, lists, tax

returns, schedules, press releases, directives, agreements, contracts, print-outs, studies,

summaries, records of telephone conversations, telegrams, notes, reports, compilations,

notebooks, work papers, graphs, graphics, transcripts, charts, blueprints, timelines, pamphlets,

brochures, circulars, manuals, instructions, ledgers, drawings, sketches, photographs,

videotapes, film and sound reproductions, COMPUTER discs (including but not limited to,

CDs, CD-Rs, DVDs, DVD-Rest, floppy discs, hard discs and hard drives), flash drives, pen

drives, thumb drives, programming instructions, sales, advertising and promotional literature,

agreements or minutes of MEETINGS, telephone conversations or other conversation or

COMMUNICATION in YOUR possession, custody or CONTROL, or in the possession,

custody or CONTROL of YOUR predecessors, successors, officers, directors, shareholders,

EMPLOYEES, agents, representatives and attorneys. This definition also includes non-printed

matter such as voice records and reproductions, film impressions, photographs, videos,

negatives, slides, microfilms, microfiches, e-mail, and other things that DOCUMENT or record

ideas, words or impressions. The term “DOCUMENT” further includes all punch cards, tapes,

disks, or records used in electronic data processing, together with the programming instructions

and other written materials necessary to understand or use such punch cards, tapes, disks or

other recordings, and further includes ESI (as defined in section (j)) data or data compilation in

electronic or other form that can be printed through proper programming or decoding of the

electronic or mechanical data storage facility, including metadata.

          (i)   “MEETING” means, without limitation, any assembly, convocation, encounter

or contemporaneous presence of two or more PERSONS for any purpose, whether planned or

                                                 3
A/74047046.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 130 of 148




scheduled in advance, including written exchanges through internet/web based chat, including

AOL Instant Messenger, or similar programs, electronic “bulletin board” programs, or

internet/web based video chat, including Skype, or similar programs.

          (j)   “ELECTRONICALLY STORED INFORMATION” or “ESI” means the

original (or identical duplicate when the original is not available), and any non-identical copies

(whether non-identical because of notes made on copies or attached comments, annotations,

marks, transmission notations, or highlighting of any kind) of writings and data compilations in

any form, and of every kind and description whether inscribed by mechanical, facsimile,

electronic, magnetic, digital or other means.        ESI includes, by way of example only,

COMPUTER programs (whether private, commercial, or work-in progress), programming

notes or instructions, activity listings of electronic mail receipts and transmittals, output

resulting from the use of any software program, including word processing DOCUMENTS,

spreadsheets, database files, charts, graphs and outlines, electronic mail displaying full email

aliases (not merely “display names”), electronic calendars, IM logs, PBX logs, DOCUMENT

management system data, operating systems, all metadata, source code of all types, peripheral

drivers, PIF files, batch files, ASCII files, and any and all miscellaneous files and file

fragments, regardless of the media on which they reside and regardless of whether said ESI

consists in an active file, deleted file or fragment. ESI includes any and all items stored on

COMPUTER memories, hard disks, floppy disks, CD-ROMs, removable media such as Zip

disks, Jaz cartridges, Bernoulli Boxes and their equivalent, magnetic tapes of all types disks,

microfiche, punched cards, punched tape, COMPUTER chips, including, EPROM, PROM

RAM and ROM, on or in any other vehicle for digital data storage and transmittal. The term

ESI also includes the file, folder tabs and containers and labels appended to, or associated with,

any physical storage device associated with each original and copy.

                                                 4
A/74047046.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 131 of 148




          (k)   “COMPUTER” means, without limitation, all devices utilizing microchips to

facilitate processing, analysis, or storage of data, including micro COMPUTERS (also known

as personal COMPUTERS), laptop COMPUTERS, portable COMPUTERS, notebook

COMPUTERS, palmtop COMPUTERS (also known as personal digital assistants or PDA’s),

iPads, mini COMPUTERS and mainframe COMPUTERS.

          (l)   “CONTROL” means, without limitation, the ownership, possession, or custody

of the DOCUMENT, or the right to secure the DOCUMENT or copy thereof from any

PERSON or public and private entity having physical possession thereof.

          (m)   “And” as well as “or” should be construed either disjunctively or conjunctively

so that each request is given its broadest possible application. If, for example, a request calls

for information about “A” or “B,” YOU should produce all information about A and all

information about B, as well as all information about collectively A and B. In other words,

both “and” and “or” should be read as “and/or.”

          (n)   “Any” should be construed, when possible, to mean “any and all.”

          (o)   “Including” is used to emphasize the type of information requested and should

not be construed as limiting the interrogatory or requests for production in any way.

“Including” should be read as “including, but not limited to.”

          (p)   “Each” should be construed to include the word “every,” and “every” should be

construed to include the word “each.”

          (q)   A plural noun or pronoun should be construed as a singular noun, and a singular

noun should be construed as a plural noun or pronoun, so that each request should be given its

broadest possible application.

          (r)   The use of a verb in any tense should be construed to be the use of a verb in all

other tenses so that each request should be given its broadest possible applications.

                                                  5
A/74047046.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 132 of 148




          (s)   Words of one gender shall be construed to include words of all genders so that

each request in the request for production of DOCUMENTS shall be given its broadest

possible application.

          (t)   Definitions provided herein apply to any grammatical variance of the term or

phrase defined.

                               REQUESTS FOR ADMISSION

REQUEST FOR ADMISSION NO. 1:

Please admit that MOEX USA personnel never visited the Marianas or Deepwater Horizon

rigs during the drilling of the MACONDO WELL.

REQUEST FOR ADMISSION NO. 2:

Please admit that MOEX USA did not participate in developing the cement design for the

MACONDO WELL production casing.

REQUEST FOR ADMISSION NO. 3:

Please admit that MOEX USA did not participate in approving the cement design for the

MACONDO WELL production casing.

REQUEST FOR ADMISSION NO. 4:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform MOEX USA that in Halliburton’s April 15, 2010 MACONDO WELL production

casing OptiCem report, Halliburton advised using twenty-one (21) centralizers on the

production casing at the MACONDO WELL.

REQUEST FOR ADMISSION NO. 5:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform MOEX USA that Halliburton had run an OptiCem model for the MACONDO



                                                6
A/74047046.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 133 of 148




WELL production casing cement job that concluded the use of seven (7) centralizers would

lead to a severe gas flow problem.

REQUEST FOR ADMISSION NO. 6:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform MOEX USA of the results of any of the tests run by Halliburton in connection with

the MACONDO WELL production casing cement job.

REQUEST FOR ADMISSION NO. 7:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform MOEX USA that any stability tests run by Halliburton in connection the

MACONDO WELL production casing cement job had failed.

REQUEST FOR ADMISSION NO. 8:

Please admit that prior to pumping cement for the production casing at the MACONDO WELL

YOU did not review any cement lab test reports that showed the cement used would be stable.

REQUEST FOR ADMISSION NO. 9:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform MOEX USA of YOUR decision not to spot heavy mud in the rat hole prior to

pumping the cement for the MACONDO WELL production casing.

REQUEST FOR ADMISSION NO. 10:

Please admit that YOU did not inform MOEX USA of YOUR planned procedure for

cementing the MACONDO WELL production casing in advance of the pumping of the cement

for the MACONDO WELL production casing.

REQUEST FOR ADMISSION NO. 11:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform MOEX USA of YOUR decision to violate YOUR own internal guidance policy that

                                              7
A/74047046.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 134 of 148




requires pumping annular cement 1,000 feet above the pay zone unless a cement evaluation is

performed.

REQUEST FOR ADMISSION NO. 12:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform MOEX USA that a Cement Bond Log was not run on the MACONDO WELL

production casing cement.

REQUEST FOR ADMISSION NO. 13:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform MOEX USA of YOUR decision to pump the MACONDO WELL production

casing cement without reviewing any cement lab results to verify foam stability.

REQUEST FOR ADMISSION NO. 14:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform MOEX USA of YOUR decision to resume well operations within sixteen (16)

hours of pumping the cement for the MACONDO WELL production casing.

REQUEST FOR ADMISSION NO. 15:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform MOEX USA that 450 barrels of 16 ppg lost circulation material pill consisting of

Form-a-Set and Form-a Squeeze was used as a spacer material during the temporary

abandonment process at the MACONDO WELL.

REQUEST FOR ADMISSION NO. 16:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform MOEX USA of the decision to set the surface cement plug in seawater at

approximately 3,300 feet below the mudline.



                                               8
A/74047046.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 135 of 148




REQUEST FOR ADMISSION NO. 17:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform MOEX USA about the decision to set the Lockdown Sleeve after displacing

approximately 3,300 feet of mud with seawater below the mud line.

REQUEST FOR ADMISSION NO. 18:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform MOEX USA of any of YOUR planned operational procedures for temporary

abandonment of the MACONDO WELL between April 12, 2010 and April 20, 2010.

REQUEST FOR ADMISSION NO. 19:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform MOEX USA of any changes YOU made to the planned operational procedures for

temporary abandonment of the MACONDO WELL between April 12, 2010 and April 20,

2010.

REQUEST FOR ADMISSION NO. 20:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform MOEX USA that YOU did not intend to follow the April 16, 2010 MMS approved

APM for temporary abandonment of the MACONDO WELL.

REQUEST FOR ADMISSION NO. 21:

Please admit that MOEX USA was not involved in developing any of the temporary

abandonment plans for the MACONDO WELL which existed between April 12, 2010 and

April 20, 2010.




                                              9
A/74047046.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 136 of 148




REQUEST FOR ADMISSION NO. 22:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not provide MOEX USA with any of the temporary abandonment operational procedures for

the MACONDO WELL which existed between April 12, 2010 and April 20, 2010.

REQUEST FOR ADMISSION NO. 23:

Please admit that YOU did not include MOEX USA in any COMMUNICATIONS

REGARDING the procedure for performing the negative pressure tests that were performed on

April 20, 2010 on the Deepwater Horizon.

REQUEST FOR ADMISSION NO. 24:

Please admit that prior to the explosion on the Deepwater Horizon on April 20, 2010, YOU did

not inform MOEX USA of any results of the negative pressure tests performed during the

temporary abandonment procedures at the MACONDO WELL.

REQUEST FOR ADMISSION NO. 25:

Please admit that MOEX USA was not involved in the daily operations at the MACONDO

WELL.

REQUEST FOR ADMISSION NO. 26:

Please admit that MOEX USA did not make operational decisions REGARDING the

MACONDO WELL.

REQUEST FOR ADMISSION NO. 27:

Please admit that during the period of January 1, 2010 to the explosion on the Deepwater

Horizon on April 20, 2010, YOU did not inform MOEX USA of changes to YOUR personnel

involved with the MACONDO WELL.




                                             10
A/74047046.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 137 of 148




REQUEST FOR ADMISSION NO. 28:

Please admit that YOU had sole responsibility to determine BP personnel issues with respect to

MACONDO WELL design and operations.

REQUEST FOR ADMISSION NO. 29:

Please admit that MOEX USA had no obligation to monitor well activity on INSITE

Anywhere, including on April 20, 2010.

REQUEST FOR ADMISSION NO. 30:

Please admit that YOU had no requirement that MOEX USA monitor well activity on INSITE

Anywhere, including on April 20, 2010.

REQUEST FOR ADMISSION NO. 31:

Please admit that, per YOUR Guidance for Sharing of Drilling, Completion and Interventions

Information with Co-Owners [BP-HZN-2179MDL00315197-315206], YOU could not share

certain technical work with MOEX USA as set forth therein.



Dated: April 4, 2011


                                                   Respectfully submitted,

                                                   _/s/_Ky E. Kirby____________

                                                   Ky E. Kirby
                                                   Ky.Kirby@bingham.com
                                                   Warren Anthony Fitch
                                                   Tony.Fitch@bingham.com
                                                   BINGHAM MCCUTCHEN LLP
                                                   2020 K Street, NW
                                                   Washington, DC 20006-1806
                                                   Telephone (202) 373-6000
                                                   Facsimile (202) 373-6001

                                                   James J. Dragna
                                                   Jim.Dragna@bingham.com

                                              11
A/74047046.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 138 of 148




                                                  BINGHAM MCCUTCHEN LLP
                                                  355 South Grand Avenue
                                                  Suite 4400
                                                  Los Angeles, California 90071-3106
                                                  Telephone (213) 680-6436
                                                  Facsimile (213) 680-8636

                                                  Deborah D. Kuchler, T.A. (La. Bar No.
                                                  17013)
                                                  Janika Polk (La. Bar No. 27608)
                                                  Robert Guidry (La. Bar No. 28064)
                                                  KUCHLER POLK SCHELL
                                                  WEINER & RICHESON, LLC
                                                  1615 Poydras Street, Suite 1300
                                                  New Orleans, LA 70112

                                                  ATTORNEYS FOR MOEX
                                                  USA CORPORATION




                             CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing Defendant MOEX USA Corporation’s First Set of

Requests for Admissions to Defendants BP America Inc., BP America Production Com-

pany, BP Exploration & Production Inc., and B.P., P.L.C., have been served on All Counsel


                                             12
A/74047046.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 139 of 148




by electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial

Order No. 12, on this 4th day of April, 2011.


                                                ____/s/_Ky E. Kirby____________




                                                 13
A/74047046.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 140 of 148




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL by the                   MDL NO. 2179
OIL RIG “DEEPWATER
HORIZON” in the GULF OF                   SECTION: J
MEXICO, on
APRIL 20, 2010                            JUDGE BARBIER
                                          MAG. JUDGE SHUSHAN

THIS DOCUMENT RELATES TO ALL CASES

   DEFENDANT MOEX USA CORPORATION’S INTERROGATORIES AND
 REQUESTS FOR PRODUCTION OF DOCUMENTS TO BP AMERICA INC., BP
     AMERICA PRODUCTION COMPANY, BP EXPLORATION AND
        PRODUCTION INC., B.P. P.L.C. (COLLECTIVELY, “BP”)


          Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Defendant MOEX

USA Corporation (“MOEX USA”) through undersigned Counsel, requests that Defendant BP

answer the following interrogatory and request for production of documents (“Requests”)

under oath in accordance with the following Instructions and Definitions, within thirty (30)

days hereof, at the offices of Bingham McCutchen LLP, 355 South Grand Avenue, Suite 4400,

Los Angeles, California 90071-3106, or at such other time and place as may be agreed upon by

counsel for the aforesaid parties.

                                       INSTRUCTIONS

          (a)    Pursuant to Rule 26(e) of the Federal Rules of Civil Procedure, these Requests

are continuing in nature so that if, after answering, YOU acquire additional responsive

knowledge or information or determine that an answer YOU provided was false, incomplete, or

misleading, YOU are to serve supplemental or amended answers as soon as reasonably

possible after acquiring such additional knowledge or information.                Furthermore,



A/74046877.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 141 of 148




DOCUMENTS or ELECTRONICALLY STORED INFORMATION (“ESI”) prepared prior to

or subsequent to the period covered by these Requests, but which nonetheless relate or refer

thereto, are to be included in YOUR response.

          (b)   If YOU allege that any Request is in any manner ambiguous, YOU are

instructed to DESCRIBE in detail the reasons for YOUR allegations, including but not limited

to, each interpretation to which YOU allege the specific request for discovery is subject.

                                        DEFINITIONS

As used herein, the following terms are defined as follows:

          (c)   “YOU,” “YOUR,” or “BP,” means, without limitation, BP Exploration and

Production, Inc., BP America, Inc., BP America Production Company, and BP, P.L.C.,

including its predecessors, successors, subsidiaries, departments, divisions, attorneys,

accountants, and current and former directors, officers, EMPLOYEES, agents, representatives

and PERSONS acting on its behalf.

          (d)   “PERSON” means, without limitation, any and every natural individual, each

and every association, partnership, joint venture, corporation, professional corporation, trust

and any and every other identifiable entity.

          (e)   “EMPLOYEE” means, without limitation, any current or former officer,

director, executive, manager, secretary, staff member, messenger or other PERSON who is or

was employed or subcontracted by YOU or has acted on YOUR behalf.

          (f)   “COMMUNICATION” means, without limitation, any writing transmitted

between PERSONS or any oral conversation of any kind or character, including, by way of

example and without limitation, personal conversations, telephone conversations, letters,

MEETINGS,         memoranda,       telegraphic,       telex,   COMPUTER         and     facsimile

COMMUNICATIONS or transmittals of DOCUMENTS, ESI (as defined in section (i)) and all

                                                  2
A/74046877.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 142 of 148




DOCUMENTS CONCERNING such writings or oral conversations. “COMMUNICATION”

as used herein specifically includes internal writings, oral conversations or MEETINGS among

the officers, board members, EMPLOYEES or other representatives of any defendant.

          (g)   “DOCUMENT” means, without limitation, the original and all non-identical

copies of all writings, including any and all drafts, alterations and modifications, changes and

amendments of any of the foregoing whether handwritten, typed, printed or otherwise

produced in any format including, but not limited to, paper or ESI. This definition also

includes, without limitation, books, records, manuals, statements, minutes, letters,

correspondence, memoranda, legal pleadings, calendars, diaries, travel records, lists, tax

returns, schedules, press releases, directives, agreements, contracts, print-outs, studies,

summaries, records of telephone conversations, telegrams, notes, reports, compilations,

notebooks, work papers, graphs, graphics, transcripts, charts, blueprints, timelines, pamphlets,

brochures, circulars, manuals, instructions, ledgers, drawings, sketches, photographs,

videotapes, film and sound reproductions, COMPUTER discs (including but not limited to,

CDs, CD-Rs, DVDs, DVD-Rest, floppy discs, hard discs and hard drives), flash drives, pen

drives, thumb drives, programming instructions, sales, advertising and promotional literature,

agreements or minutes of MEETINGS, telephone conversations or other conversation or

COMMUNICATION in YOUR possession, custody or CONTROL, or in the possession,

custody or CONTROL of YOUR predecessors, successors, officers, directors, shareholders,

EMPLOYEES, agents, representatives and attorneys. This definition also includes non-printed

matter such as voice records and reproductions, film impressions, photographs, videos,

negatives, slides, microfilms, microfiches, e-mail, and other things that DOCUMENT or record

ideas, words or impressions. The term “DOCUMENT” further includes all punch cards, tapes,

disks, or records used in electronic data processing, together with the programming instructions

                                                3
A/74046877.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 143 of 148




and other written materials necessary to understand or use such punch cards, tapes, disks or

other recordings, and further includes ESI (as defined in section (i)) data or data compilation in

electronic or other form that can be printed through proper programming or decoding of the

electronic or mechanical data storage facility, including metadata.

          (h)   “MEETING” means, without limitation, any assembly, convocation, encounter

or contemporaneous presence of two or more PERSONS for any purpose, whether planned or

scheduled in advance, including written exchanges through internet/web based chat, including

AOL Instant Messenger, or similar programs, electronic “bulletin board” programs, or

internet/web based video chat, including Skype, or similar programs.

          (i)   “ELECTRONICALLY STORED INFORMATION” or “ESI” means the

original (or identical duplicate when the original is not available), and any non-identical copies

(whether non-identical because of notes made on copies or attached comments, annotations,

marks, transmission notations, or highlighting of any kind) of writings and data compilations in

any form, and of every kind and description whether inscribed by mechanical, facsimile,

electronic, magnetic, digital or other means. ESI includes, by way of example only,

COMPUTER programs (whether private, commercial, or work-in progress), programming

notes or instructions, activity listings of electronic mail receipts and transmittals, output

resulting from the use of any software program, including word processing DOCUMENTS,

spreadsheets, database files, charts, graphs and outlines, electronic mail displaying full email

aliases (not merely “display names”), electronic calendars, IM logs, PBX logs, DOCUMENT

management system data, operating systems, all metadata, source code of all types, peripheral

drivers, PIF files, batch files, ASCII files, and any and all miscellaneous files and file

fragments, regardless of the media on which they reside and regardless of whether said ESI

consists in an active file, deleted file or fragment. ESI includes any and all items stored on

                                                 4
A/74046877.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 144 of 148




COMPUTER memories, hard disks, floppy disks, CD-ROMs, removable media such as Zip

disks, Jaz cartridges, Bernoulli Boxes and their equivalent, magnetic tapes of all types disks,

microfiche, punched cards, punched tape, COMPUTER chips, including, EPROM, PROM

RAM and ROM, on or in any other vehicle for digital data storage and transmittal. The term

ESI also includes the file, folder tabs and containers and labels appended to, or associated with,

any physical storage device associated with each original and copy.

          (j)   “COMPUTER” means, without limitation, all devices utilizing microchips to

facilitate processing, analysis, or storage of data, including micro COMPUTERS (also known

as personal COMPUTERS), laptop COMPUTERS, portable COMPUTERS, notebook

COMPUTERS, palmtop COMPUTERS (also known as personal digital assistants or PDA’s),

iPads, mini COMPUTERS and mainframe COMPUTERS.

          (k)   “CONTROL” means, without limitation, the ownership, possession, or custody

of the DOCUMENT, or the right to secure the DOCUMENT or copy thereof from any

PERSON or public and private entity having physical possession thereof.

          (l)   “RELATING TO,” or “CONCERNING” means, without limitation, the

following concepts: discussing, describing, reflecting, dealing with, pertaining to, analyzing,

evaluating, estimating, constituting, studying, surveying, projecting, assessing, recording,

summarizing, criticizing, reporting, commenting or otherwise involving, in whole or in part.

          (m)   “IDENTIFY” and “IDENTITY” when used in reference to a PERSON means to

STATE the PERSON’S: (1) Full name; (2) Present or last known employment position,

including the employer name; (3) Job title and/or description; and (4) Contact information.

          (n)   “STATE” means, without limitation, to set forth in full and complete detail all

knowledge and information in YOUR possession, custody or control RELATING TO the

subject matter of the interrogatory, including without limitation the source and basis of YOUR

                                                 5
A/74046877.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 145 of 148




knowledge and information if not otherwise evident from YOUR answer to the interrogatory

and the IDENTITY of each DOCUMENT and each COMMUNICATION on which YOU rely

to any extent in making YOUR answer.

          (o)   “And” as well as “or” should be construed either disjunctively or conjunctively

so that each request is given its broadest possible application. If, for example, a request calls

for information about “A” or “B,” YOU should produce all information about A and all

information about B, as well as all information about collectively A and B. In other words,

both “and” and “or” should be read as “and/or.”

          (p)     “Each” should be construed to include the word “every,” and “every” should be

construed to include the word “each.”

          (q)   A plural noun or pronoun should be construed as a singular noun, and a singular

noun should be construed as a plural noun or pronoun, so that each request should be given its

broadest possible application.

          (r)   The use of a verb in any tense should be construed to be the use of a verb in all

other tenses so that each request should be given its broadest possible applications.

          (s)   Words of one gender shall be construed to include words of all genders so that

each request in the request for production of DOCUMENTS shall be given its broadest

possible application.

          (t)   Definitions provided herein apply to any grammatical variance of the term or

phrase defined.




                                     INTERROGATORIES

                                                  6
A/74046877.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 146 of 148




INTERROGATORY NO. 1:

For each of MOEX USA’s First Requests for Admissions served on April 4, 2011 that YOU do

not unqualifiedly admit, STATE with particularity all facts which support YOUR response;

IDENTIFY all PERSONS having knowledge of such facts; and IDENTIFY all DOCUMENTS

reflecting such facts.

                    REQUEST FOR PRODUCTION OF DOCUMENTS

REQUEST FOR PRODUCTION NO. 1:

Please produce all DOCUMENTS IDENTIFIED in YOUR response to Interrogatory No. 1.



Dated: April 4, 2011

                                                Respectfully submitted,

                                                _/s/_Ky E. Kirby________

                                                Ky E. Kirby
                                                Ky.Kirby@bingham.com
                                                Warren Anthony Fitch
                                                Tony.Fitch@bingham.com
                                                BINGHAM MCCUTCHEN LLP
                                                2020 K Street, NW
                                                Washington, DC 20006-1806
                                                Telephone (202) 373-6000
                                                Facsimile (202) 373-6001

                                                James J. Dragna
                                                Jim.Dragna@bingham.com
                                                BINGHAM MCCUTCHEN LLP
                                                355 South Grand Avenue
                                                Suite 4400
                                                Los Angeles, California 90071-3106
                                                Telephone (213) 680-6436
                                                Facsimile (213) 680-8636

                                                Deborah D. Kuchler, T.A. (La. Bar No.
                                                17013)
                                                Janika Polk (La. Bar No. 27608)
                                                Robert Guidry (La. Bar No. 28064)

                                            7
A/74046877.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 147 of 148




                                         KUCHLER POLK SCHELL
                                         WEINER & RICHESON, LLC
                                         1615 Poydras Street, Suite 1300
                                         New Orleans, LA 70112

                                         ATTORNEYS FOR MOEX USA
                                         CORPORATION




                        CERTIFICATE OF SERVICE


                                     8
A/74046877.1
 Case 2:10-md-02179-CJB-DPC Document 1965-2 Filed 04/15/11 Page 148 of 148




I hereby certify that the above and foregoing Defendant MOEX USA Corporation’s

Interrogatories and Requests for Production of Documents to Defendants BP America Inc.,

BP America Production Company, BP Exploration & Production Inc., and B.P., P.L.C.,

have been served on All Counsel by electronically uploading the same to Lexis Nexis File &

Serve in accordance with Pretrial Order No. 12, on this 4th day of April, 2011.


                                             __/s/_Ky E. Kirby_________________




                                                9
A/74046877.1
